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                                                                             11-115


.~        1      A      AGENT ROSALES.

          2                    MR. CAMPOS:    YOUR HONOR, THAT IS IRRELEVANT.

          3                    THE COURT:    I AGREE THAT IT I5.

          4      Q      BY MS. BARRERA:      OKAY.   WELL, LETS TALK ABOUT WHAT

          S      HE DID TELL YOU AND SEE WHAT YOU BELIEVED AND WHAT YOU

          6      DIDN~T BELIEVE.      YOU DIDN~T BELIEVE MR. LOPEZ ALVAREZ WHEN

.
.         7     ~ HE TOLD YOU THAT ENRIQUE CAMARENA WAS ON THE TAKE, DID

          8      YOU?

          9      A      N0, I DIDN~T.

         10      Q      HE TOLD YOU THAT, DIDN 1 T HE?

         11      A      YES, NE DID.

         12      Q      BUT YOU DIDN~T BELIEVE THAT?

.
.        13      A      N0, I DIDNtT.

         14      Q      AND MR. LOPEZ ALVAREZ ALSO TOLD YOU THAT ENRIQUE

         15      CAMARENA HAD GIVEN AN IMMIGRATION VISA TO AN INFORMANT

.
.        16      NAMED REYES, DIDN►T HE?

         17      A      YES, MA'AM.

         18      Q      DID YOU BELIEVE THAT?

         19      A      YES.
.
.
         20      Q      YOU DID BELIEVE THAT?

         21      A      YES.

         22      Q      MR. LOPEZ ALVAREZ TOLD YOU THAT ENRIQUE CAMARENA HAD
.~
         23      GIVEN A VISA FOR. LIFE TO VARIOUS FEDERALES, FEDERAL AGENTS

         24      OF MEXICO, DIDNtT HE?

.        25      A      YES, HE SAID THAT.
.
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                                                                              11-116

           1       Q     AND DID YOU BELIEVE THAT?

           2      A      YES, MA'AM.

           3      Q      AND IN TERMS OF CHECKING WITH INTELLIGENCE, HAVE YOU

           4       CHECKED TO SEE WHETHER IT IS TRUE IF ENRIQUE CAMARENA GAVE

           5       A LIFE-LONG VISA TO VARIOUS FEDERAL AGENTS OF MEXICO?

           6       A     N0, MA'AM.

           7       Q     SO THAT IS SOMETHING YOU JUST CHOSE TO BELIEVE

           8       W ITHOUT LOOKING INTO IT ANY FURTHER?

           9       A     I DIDN'T HAVE TO BELIEVE IT.     IT WAS A STATEMENT TO

          10       ME.

          11       Q     AND YOU CHOSE TO BELIEVE THAT.     CORRECT?

          12       A     YES.

.
.         13       Q     BUT YOU DIDN'T CHECK ON IT ANY FURTHER?

          14       A     N0, I DIDN~T.

          15       Q     MR. REYNOSO, YOU HAVE BEEN IN A SITUATION WHEN YOU

L         16       HAVE MADE UP STORIES, HAVE YOU NOT?

          17       A     YES, MA'AM.

          18       Q     AND YOU HAVE MADE UP STORIES AS AN UNDERCOVER

          19       OFFICER.     CORRECT?

          20       A     YES, MA'AM.

          21       Q     AS AN UNDERCOVER OFFICER, YOU PLAY A PARTICULAR ROLEr

G         22       WHATEVER IT MIGHT BE, AND YOU TRY TO MAKE SOMEONE BELIEVE

          23     ~ THAT IS THE PERSON YOU REALLY ARE.      CORRECT?

          24     I~ A    YES, MA'AM.

.
.         25       Q     VERY MUCH LIKE AN ACTOR WOULD D0.       CORRECT?
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                                                                               11-117


,
..       1      A     YES, MA'AM.

         2      Q    . AND IN PLAYING THIS PARTICULAR ROLE, WHATEVER IT

         3      M IGHT BE, YOU MAKE UP STORIES, DONUT YOU?

         4      A     YES, MADAM.

         5      Q     AND YOU SAY THINGS THAT ARE NOT TRUE.       CORRECT?

         6      A     YES, MADAM.

.
~        7      Q     AND OTHER THAN YOUR ACTIVITIES AS AN UNDERCOVER

         8      OFFICER, HAVE YOU EVER MADE UP A STORY?

         9      A     UNDER WHAT CIRCUMSTANCES?

        10      Q     ANY OTHER CIRCUMSTANCES?        HAVE YOU EVER MADE UP A

        11      STORY OTHER THAN BEING AN UNDERCOVER OFFICER?

        12                    M R. CAMPOS:    YOUR HONOR, THAT IS IRRELEVANT.

        13                    THE COURT:     SUSTAINED.

        14      Q     BY MS. BARRERA:        IN YOUR CONVERSATIONS WITH FELLOW

        15      OFFICERS, YOU HAVE EMBELLISHED FACTS, HAVE YOU NOT?

        16                    MR. CAMPOS:     AGAIN, YOUR HONOR, IRRELEVANT.

        17                    THE COURT:     SUSTAINED.

        18      Q     BY MS. BARRERA:        IN YOUR PRIVATE DEALINGS, LIKE

        19      SOCIALLY, YOU HAVE BEEN IN A SITUATION WHERE YOU HAVE

        20      TRIED TO IMPRESS A FEMALE, PERHAPS, HAVE YOU NOT?

        21                    MR. CAMPOS:     OBJECTION, YOUR HONOR.   IRRELEVANT.

        22                    THE CQURT:     SUSTAINED.

        23      Q     BY MS. BARRERA:        YOU HAVE KNOWN PEOPLE THAT MAKE UP

        24      STORIES, DONUT YOU?

.
.       25                    MR. CAMPOS:     OBJECTION AGAIN, YOUR HONOR.




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                                                                             11-118

         1                    THE COURT:   SUSTAINED.

         2      Q     BY M5. BARRERA:      YOU KNEW THAT MR. LOPEZ ALVAREZ WAS

         3      M AKING UP STORIES' WHEN HE WAS SPEAKING TO YOU?

         4      A     N0, I DIDN'T.

         5      Q     YOU DID NOT THINK THAT?

         6      A     N0, MADAM.

L
         7      Q     DID IT OCCUR TO YOU THAT HE WAS MAKING UP STORIES AS

         8      HE WAS SPEAKING TO YOU?

         9      A     YES, MADAM.

        10      Q     IT DID OCCUR TO YOU?

        11      A     YES, MADAM.

        12      Q     DID IT OCCUR TO YOU THAT MR. LOPEZ ALVAREZ WAS TRYING

        13      TO IMPRESS YOU WITH WHAT BIG A MAN HE WAS?

        14      A     HE WAS JUST TELLING ME FACTS. .

        15      Q     RIGHT.     BUT HE WAS TELLING YOU FACTS TO TRY TO

.
.       16       I MPRESS YOU.    ISN~T THAT CORRECT?

        17     I A    I WAS ASKING QUESTIONS, AND HE WAS ANSWERING.

        18      Q     AND YOU WERE PLAYING THE ROLE -- WITHOUT GETTING REAL

.
.       19      SPECIFIC, YOU WERE PLAYING THE ROLE OF A CRIMINAL WHEN YOU

        20      SPOKE TO MR. LOPEZ ALVAREZ.       ISN~T THAT CORRECT?

        21      A     YES, I WAS.

        22      Q     SO YOU WERE UNDERCOVER PRETENDING TO BE A CRIMINAL?

        23      A     YES, MADAM.

        24      Q     .AND YOU KEPT BRINGING UP THE SUBJECT OF ENRIQUE

.~      25      CAMARENA WITH MR. LOPEZ ALVAREZ.        ISN~T THAT TRUE?




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                                                                             11-119

                                                           AT THE BEGINNING.
        1      A        HE STARTED BRINGING UP THE SUBJECT

        2      HE OPENED THE DOOR.
                                                           QUE CAMARENA,
        3      Q        YOU BROUGHT UP THE SUBJECT OF ENRI

-
.       4      HOWEVER, DIDN~T YOU?

         5      A       ORIGINALLY I DID NOT.
                                                         ABOUT THE SUPPOSED
         6      Q       YOU KEPT ENCOURAGING HIM TO TALK

,
.               CASE ABOUT ENRIQUE CAMARENA.          RIGHT?
         7

                A       I DIDN'T HAVE T0.     HE TALKED IiIMSELF.
         8
                                                           NOT?
         9      Q       YOU WOULD ENCOURAGE HIM, WOULD YOU

        10      A       I ASKED HIM QUESTIONS.
                                                           REALLY?   WHAT ELSE
        11      Q       AND YOU WOULD SAY, "OH, GEE.

                                  THINGS LIKE THAT.    RIGHT?
        12      HAPPENED?"

        13         A    YES.
                                                          TO KEEP TALKING?
        14         Q     YOU WERE TRYING TO ENCOURAGE HIM

        15         A     HE WAS VERY TALKATIVE.
                                                           E?
         16        Q     YOU FOUND HIM TO BE VERY TALKATIV

         17         A    YES, MADAM.
                                                             H THINGS.       ISN~T
         18         Q    YOU FOUND THAT HE LIKED TO EMBELLIS

         19         THAT TRUE?
                                                                     HE WAS TALKING.
         20         A    I DON'T KNOW IF HE WAS EMBELLISHING.
                                                             FROM YOU 70 KEEP
         21         Q    HE NEEDED VERY LITTLE ENCOURAGEMENT

.
.        22         TALKING.     ISN~T THAT TRUE?

         23         A    HE TALKED.     YES, MADAM.
                                                         THAT THAT FELT THEY
         24         Q    HAVE YOU EVER KNOWN PEOPLE LIKE
                                                         ONE?
~~       25         HAVE TO KEEP TALKING TO IMPRESS SOME
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                                                                             11-120


         I                   MR. CAMPOS:    OBJECTION.   IRRELEVANT, YOUR HONOR.

         2                   .THE COURT:   SUSTAINED.

         3      Q     BY M5. BARRERA:      DIDNtT YOU GET THE IMPRESSION, AGENT

         4      REYNOSO, THAT MR. LOPEZ WANTED YOU TO THINK HE WAS AN

         5      I MPORTANT PERSON?

         6                   MR. CAMPOS:    OBJECTION.   ASKED AND ANSWERED.

.~       7                   THE COURT:    SUSTAINED.

         8      Q     BY MS. BARRERA:      IN THE THINGS THAT MR. LOPEZ ALVAREZ

         9      TOLD YOU HE WAS SOMEWHAT INCONSISTENT AS HE RELATED THINGS

.,,     10      TO YOU, WASN~T HE?

        11      A     FROM -- WELL, DIFFERENT MEETINGS, YES, HE WAS.

        12      Q     SO HE WOULD TELL YOU ONE THING ONE TIME AND CHANGE IT

,.,     13      THE NEXT TIME AND TELL YOU SOMETHING TOTALLY DIFFERENT.

        14      I SN~T THAT TRUE?

        15      A     NaT TOTALLY DIFFERENT.       MAYBE CHANGE SOME THINGS.

,,,     16      Q     AND SOME OF THE THINGS HE WOULD TELL YOU DIDN'T SOUND

        T7      PROBABLE OR DIDN~t SOUND CONSISTENT WITH COMMON SENSE.

        18      I SN~T THAT TRUE?

        19      A     REGARDING THIS CASE, MA'AM?

        20      Q     YES.

a       21      A     I DONUT RECALL EVER -- WHAT HE WAS TELLING ME WAS NOT

~,       22     THAT OUT OF THE ORDINARY, WHAT HAPPENED IN THOSE EVENTS.

         23     Q     WELL, LET S TALK OF SPECIFICS THEN.         I BELIEVE YOU

         24      TESTIFIED THAT HE TOLD YOU THAT HE WORKED FOR ERNESTO

         25     FONSECA.       CORRECT?
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         1      A      YES, MADAM.

         2      Q      AND HE ALSO TOLD YOU THAT HE WORKED FOR RAFAEL CAR~-

         3      QUINTERO.       CORRECT?

         4      A      FROM TIME TO TIME, YES, MADAM.

         5      Q      NOW, DTDN~T THAT SEEM INCONSISTENT TO YOU OR UNLIKELY

         6      THAT A PERSON WOULD. WORK FOR TWO DIFFERENT INDIVIDUALS

,~,      ~      L IKE THAT?

         8      A      N0.     BECAUSE HE ALSO TOLD ME THAT THEY WERE BOTH OF

         9      THE SAME ORGANIZATION.

.
.       10      Q      BUT YOU DID SOME INVESTIGATION IN TERMS OF WMO

        11      E RNESTO FONSECA AND WHO RAFAEL CARO-QUINTERO WERE, DID YOU

        12      NOT?

.
.       13      A       YES.

        14      Q       AND DIDN~T YOUR INFORMATION DISCLOSE THAT BOTH OF

        15      THESE INDIVIDUALS WERE NARCOTICS TRAFFICKERS IN MEXICO?

        16      A       YES, MADAM.

        17      Q       AND DIDN~T YOUR INVESTIGATION DISCLOSE THAT BOTH OF

        18      T HOSE INDIVIDUALS WERE MAJOR NARCOTICS TRAFFICKERS IN

        19      THEIR OWN RIGHT?

        20      A       BATH OF THEM WERE MAJOR, YES, MAtAM.

        21      Q       BOTH OF THEM HAD PEOPLE WORKING FOR THEM.      ISN~T THAT

        22      TRUE?

        23      A       YES, MA ~ AM.

        24      Q       AND YOU WOULD THINK, BASED ON YOUR EXPERIENCE AS A

        25      DEA AGENT AND BASED ON YOUR INVESTIGATION, THAT SOMEONE
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                                                                           11-122

        1     WHO IS A MAJOR NARCOTICS TRAFFICKER WOULD EXPECT LOYALTY

        2     FROM THE PEOPLE THAT WORKED FOR THEM.        CORRECT?

        3     A       THEY EXCHANGE SERVICES IF THAT IS WHAT YOU WANT TO

       4      KNOW.     YES, THEY USE EACH OTHER S PEOPLE.

        5     Q       N0.   MY QUESTION TO YOU IS:   AS A DEA AGENT AND BASED

        6     UPON YOUR EXPERIENCE, COMMON SENSE WOULD INDICATE THAT

.~      7      THESE MAJOR NARCOTICS TRAFFICKERS WOULD EXPECT LOYALTY

        8     FROM THEIR MEN.       ISN~T THAT CORRECT?

        9      A      MY EXPERIENCE IS THAT TRAFFICKERS USE OTHER PEOPLE.

.
.      10      YES, THEY INTERCHANGE PEOPLE.

       11      Q      50 YOUR ANSWER IS N0, YOU WOULDN'T EXPECT THAT3

       12      A      IT IS NORMAL PROCEDURE FOR THEM TO USE THEIR

       13      S ERVICES.

       14      Q      50 IF THERE IS GOING TO BE A CONFRONTATION BETWEEN

       15      T WO MAJOR NARCOTICS TRAFFICKERS, ONE PERSON MAY END UP

       16      HAVING TO DEFEND BOTH MAJOR NARCOTICS TRAFFICKERS.         IS

       17      THAT TRUE?

       18      A      SOMETIMES..

       19      Q      THAT WOULD BE YOUR EXPERIENCE?

       20      A      YES, MA'AM.

       21      Q      MR. LOPEZ ALVAREZ AL50 TOLD YOU AN INCONSISTENT STORY

.      22      ABOUT THE AIRPORT INCIDENT INVOLVING HIS FATHER, DIDN'T
A
       23      HE?

       24      A      IN WHICH SENSE, MAtAM?

.      25      Q      WELL, ONE TIME I BELIEVE YOU TESTIFIED HOW HE TOLD
,
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                                                                          11-123

       1      YOU THAT CARD-QUINTERO WAS AT THE AIRPORT WITH HIS GIRL

       2      FRIEND, SARA, AND WANTED TO GET MARRIED.        RIGHT?

       3      A    TRUE.

.
,      4      Q    AND SQMEONE CONTACTED RAUL AND ASKED TO HAVE HIS

       5      FATHER, WHO IS A JUSTICE OF THE PEACE, GO TO THE AIRPORT

       6      TO MARRY RAFAEL CARD-QUINTERO AND SARA.         CORRECT?

       7      A    YES, MADAM.

       8      Q    AND MR. RAUL PICKED UP HIS FATHER, WAS ON HIS WAY TO

       9      THE AIRPORT, AND GOT A CALL PRESUMABLY ON THE RADIO AND

.
.     10      SAID, «NEVER MIND.    THEY HAVE CHANGED THEIR MINDS."

      11                   AND SO ME TOOK HIS FATHER BACK HOME, AND HE WENT

      12      BACK ON PATROL.    CORRECT?

      13      A    HE SAID THAT, YES, MA'AM.
,
.
      14      Q    AND RELATING TO THAT SAME STORY, THAT LATER ON HE GOT

      15      A CALL ON THE RADIO TO GO BACK TO HEADQUARTERS, AND HE

      16      WENT BACK TO HEADQUARTERS, AND THEN THERE WAS OTHER
.
~
      17      I NSTRUCTIONS IN TERMS OF WHERE TO G0.      CORRECT?

      18      A    YES, MA'AM.

      19      Q    NOW, AT YOUR SEPTEMBER 3RD MEETING THAT YOU HAD WITH

      20      MR. LOPEZ ALVAREZ, HE TOLD YOU HE WAS ON THE PLANE WITH

      21      CARD-QUINTERO, DIDN'T HE?

      22      A    HE MENTIONED THAT.       HE NEVER SAID HE WAS ON THE
.
.
      23      PLANE.   I DONUT RECALL HIM SAYING HE WAS ON THE PLANE.

      24      Q     WELL, WOULD IT REFRESH YOUR RECOLLECTION IF YOU COULD

      25      LOOK AT THE TRANSCRIPT OF SEPTEMBER 3RD?
.
.
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                                                                            11-124

,1     1      A     YES.

       2      Q     I BELIEVE IT IS IN FRONT OF YOU.       SEE IF THAT

       3      REFRESHES YOUR RECOLLECTION.       LET ME GET THE PAGE NUMBER.

       4      I T MIGHT ASSIST YOU.      IF YOU WOULD LOOK AT PAGE 71, ABOUT

       5      THE MIDDLE OF THE PAGE.

       6      A     YES, MA'AM.

       7      Q       ISN~T IT TRUE THAT AT THIS MEETING MR. LOPEZ ALVAREZ

       8      SAID -- WITH REFERENCE TO THE FEDERALES, HE SAID, "THEY

       9     ~, BACKED DOWN TO U5.     THERE WERE pNLY 11 OF U5."

.
.     10                     YOU SAID, "YOU WERE THERE?"

      11                     HE SAID, "WITH CARO,rr

      12                     YOUR QUESTION TO HIM WAS:   "ON THE PLANE?"

.     13                     H IS ANSWER WAS, "YES."   CaRRECT?
~
      14      A       YES.    AL50 IT WAS UNINTELLIGIBLE RIGHT AFTER THIS.      I

      15      DON►T KNOW WHAT WAS BEHIND THAT.

      16      Q       SO IF IT IS UNINTELLIGIBLE, YOU DONUT REALLY RECALL

      17      BECAUSE IT IS UNINTELLIGIBLE?

      18      A     I DONUT RECALL.      N0, MADAM.

.
.     19      Q       MR. LOPEZ ALVAREZ TOLD YOU WITH REGARD TO THE TORTURE

      20      OF ENRIQUE CAMARENA THAT IT HAD LASTED FOR ABOUT 24 HOURS.

      21      TRUE?

.
r     22      A       MORE OR LE55, YES, MADAM.

      23      Q       DO YOU KNOW THE ABDUCTION OCCURRED FEBRUARY 7 AT

      24      ABOUT 2:00 P.M.       CORRECT?

.
.     25      A       YES, MA'AM.
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                                                                                 11-125

            1      Q       AND SO IT WAS INCONSISTENT WHEN MR. LOPEZ ALVAREZ

            2      TOLD YOU LATER THAT THE MURDER OF ENRIQUE CAMARENA OR THE

            3      DEATH OF ENRIQUE CAMARENA WAS ON FEBRUARY 9.        ISN'T THAT

            4      TRUE?

            5      A       IN OTHER WORDS --

            6      Q       THAT STORY IS INCONSISTENT, ISN~T IT?

            7      A       YOU ARE ASKING ABOUT EXACT TIMES?

            8      Q       I AM ASKING YOU ABOUT WHAT MR. LOPEZ ALVAREZ TOLD

            9      YOU.

           10      A       I ONLY ASKED HIM ON THE TIME OF THE TORTURE.      I

           11      DIDN~T ASK HIM WHAT TIME WAS THE KIDNAPPING AND WHAT TIME

           12      D ID HE DIE.    I DONUT KNOW.   THAT WAS APPROXIMATE.

           13      Q       BUT WHAT ME TOLD YOU IN REFERENCE TO THE TORTURE WAS

           14      THAT MR. CAMARENA WAS TORTURED FOR 24 HOURS?

           15      A       YES, MADAM.

           16      Q       AND THEN HE DIED.   ISN~T THAT RIGHT?    ISN~T THAT WHAT
,..
           17      HE TOLD YOU?

           18      A       YES, MADAM.

           19      Q       AND THEN AT A LATER TIME HE TOLD YOU THAT ENRIQUE

           20      CAMARENA HAD DIED FEBRUARY THE 9TH.        RIGHTS ISN'T THAT

           21      WHAT HE SAID?

.
.          22      A       HE WAS TOLD THAT.   HE DI~NtT --

           23      Q       HE TOLD YOU THAT ENRIQUE CAMARENA DIED FEBRUARY 9,

           24      DIDN'T HE?

.
.          25      A       YES, MADAM.
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                                                                              11-126

          1      Q     OKAY.    NOW I AM ASKING YOU:     ISN'T THAT INCONSISTENT?

          2      A     N0, BECAUSE HE WAS REFERRING TO THE TORTURE TIME, NOT

          3      TO THE TIME OF LIVING AND DYING.

          4      Q     BUT WHAT HE TOLD YOU WITH REGARD TO THE TORTURE WAS

          5      HE WAS TORTURED FOR 24 HOURS BEFORE HE DIED.         ISN'T THAT

          6      WHAT HE SAID?

          7      A     YES.

          8      Q     LET'S TALK ABOUT THE STORIES THAT HE TOLD YOU ABOUT

          9      THE ABDUCTION OF ENRIQUE CAMARENA.

..       10      A     YES, MA'AM.

         11      Q     FIRST OF ALL Y YOU KNOW THAT MR. LOPEZ ALVAREZ DID NOT

         12      P ARTICIPATE IN THE ABDUCTION.       CORRECT?

.
.         13     A     N0, I DONUT KNOW THAT.

          14     Q     YOU TOLD THE GRAND JURY THAT MR. LOPEZ ALVAREZ WAS

          15      NOT PRESENT AT THE ABDUCTION, DIDNtT YOU?

.
.         16      A    THAT IS WHAT HE SAID TO M~.

          17      Q    THAT IS WHAT YOU TOLD THE GRAND JURY, DIDN'T YOU?

          18      A    I PROBABLY SAID THAT.       I DONUT RECALL.

~,        19      Q    OKAY.     DO YOU HAVE THE GRAND JURY TESTIMONY IN FRONT

          20      OF YOU?

          21      A    N0, I DONUT, MADAM.

          22                   MS. BARRERA:    MAY I HAVE A MOMENT, YOUR HONOR.

          23                   C PAUSE.)

          24      Q    BY M5. BARRERA:        I CAN SHOW THIS TO YOU IF YOU WOULD

.
.         25      LIKE, BUT LET ME SEE IF MY READING WILL REFRESH YOUR
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                                                                            11-1~7

         1      RECOLLECTION.      DO YOU RECALL THE JUROR ASKING YOU:

         2           "Q       DID HE~~ -- REFERRING TO MR. LOPEZ

         3            ALVAREZ -- "TELL YOU THAT NE KNEW THE NAMES OF

         4            OTHER PEOPLE THAT WERE" --

         5                    END OF QUESTION.

         6                    AND. YOUR ANSWER:

         7           "A       HE WAS PART OF THE ORGANIZATION, AND HE WAS
.
,
         8            W ITH THEM DURING THE TIME THAT THESE EVENTS TOOK

         9           PLACE.      HE WASN'T PRESENT AT THE KIDNAPPING

        10            H IMSELF, N0."

        11                    DO YOU REMEMBER SAYING THAT TO THE GRAND JURY?

        12      A     YES, MADAM.

        13      Q    SO AT LEAST ON DECEMBER 10, 1987, YOU DID NOT BELIEVE
.
.
        14      THAT MR. LOPEZ ALVAREZ WAS PRESENT DURING THE ABDUCTION?

        15      A     I DIDN~T KNOW AT THAT TIME IF HE WAS OR NOT.

        16      Q     YOU DID NOT BELIEVE THAT HE WAS AT THAT TIME.
.
.
        17      CORRECT?

        18      A    RIGHT.

        i9      Q    MR. LOPEZ ALVAREZ DID NOT GIVE YOU ANY DETAILS ABOUT
.
.
        20      THE ABDUCTION, DID HE?

        21      A     I NEVER ASKED HIM FOR ANY DETAILS, N0.

        22      Q    AND HE DID NOT GIVE YOU ANY DETAILS.        RIGHT?
.
.
        23                    MR. CAMPOS:    THAT MISSTATES THE EVIDENCE, YOUR

        24      HONOR.

        25                    THE COURT:    OVERRULED.
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                                                                              11-125

         1      Q     BY M5. BARRERa:       HE DID NOT GIVE YOU ANY DETAILS OF

         2       THE ABDUCTION?

         3       A    N0, MATAM.

         4       Q    OTHER THAN THAT IT HAPPENED?

         5       A    THAT~S CORRECT.

         6       Q    HE GAVE YOU NO NAMES OF PEOPLE?

          7    ~' A   I NEVER ASKED HIM ANY, N0.

          8      Q    HE DID TELL YOU, I BELIEVE, THAT SOME MEN HAD GONE UP

          9      T O ENRIQUE CAMARENA AND FLASHED SOME CREDENTIALS, I

        10       BELIEVE, DIRECCION FEDERAL SEGURIDAD.          IS THAT CORRECT?
L

         11      A    I BELIEVE THE DIRECCION FEDERAL SEGURIDAD, YES.

         12      Q    AND HE AL50 TOLD YOU THAT THESE MEN TOLD ENRIQUE

-,       13      C AMARENA, 'AWE ARE GOING TO TAKE YOU TO OUR COMMANDER TO

         14      TALK TO HIM."     CORRECT?

         15      A    YES, MADAM.

         16      Q    AND THAT IS WHAT RAUL LOPEZ ALVARfZ TOLD YOU HAPPENED

         17      A T THE KIDNAPPING.    RIGHT?

         18      A    I BELIEVE HE DID.

         19      Q    YOU SAID THAT YOU HAVE DONE SOME INTELLIGENCE WORK

         20       WITH REGARD TO WHAT MR. LOPEZ ALVAREZ TOLD YOU.         NOW, WITH

         21      REGARD TO THAT PARTICULAR AGEWT, DID YOU SPEAK WITH AGENT

         2~^     KUYKENDAL~?

         23                   MR. CAMPOS:     YOUR HONOR, THAT CALLS FOR HEARSAY.

         24                   MS. BARRERA:     I AM ONLY ASKING IF HE SPOKE TO

.        25       HIM, YOUR HONOR.
.
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                                                                             11-129


         1                    THE COURT:     RESTATE YOUR QUESTION.

         2                    MS. BARRERA:     THANK YOU.

         3      Q      HAVE YOU SPOKEN TO AGENT KUYKENDALL WITH REGARDS TO

         4      HIS KNOWLEDGE ABOUT THE ABDUCTION OF ENRIQUE CAMARENA?

         5      A      DIRECTLY ABOUT THIS CASE, MA'AM?

         6      Q      EXCUSE ME?

         7      A      ARE YOU ASKING AFTER I TALKED TO MR. LOPEZ?

         8      Q      AT ANY TIME.

         9      A      I HAVE TALKED TO AGENT KUYKENDALL.

        10      Q      AND YOU HAVE SPOKEN TO AGENT KUYKENDALL ABOUT THE

        11      DETAILS THAT HE KNOWS ABOUT THE ABDUCTION?

        12      A      N0, MAtAM, I DID NOT.

        13      Q      WELL, YOU KNOW NOW AS YOU SIT HERE TODAY THAT IS NOT

        14      HOW THE ABDUCTION OF ENRIQUE CAMARENA OCCURRED.           ISN~T

        15      THAT TRUE?

        16      A      THAT~S CORRECT.

        17      Q      50 YOU KNOW NOW HE WAS LYING TO YOU, THAT HE WAS

        18      M AKING UP THAT STORY WHEN HE TOLD YOU THAT.          CORRECT?

        19      A      HE WAS JUST NOT TELLING ME ALL THE FACTS.         THAT IS

        20      ALL.

        21      Q      WELL, HE WASN'T TELLING YOU -- EXCUSE ME.

        22                    HE MADE UP A STORY ABOUT INDIVIDUALS FLASHING

        23      CREDENTIALS AND SAYING ThiAT WE ARE GOING TO TAKE YOU TO

        24      SPEAK TO OUR COMMANDER.         CORRECT?

        25      A      MORE OR LE55, YES, MA'AM.
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       ,~ r
f ,.                                                                              11-130

,_              i      Q    THE ANSWER IS YES?

                2      A    YES, MADAM.

                3      Q    MR. LOPEZ AL•VAREZ AL50 TOLD YOU THAT WITH REGARDS TO

,1              4      THE ABDUCTION THAT THE REASON THAT ENRIQUE CAMARENA WAS

                5      K IDNAPPED WAS BECAUSE THE DRUG TRAFFICKERS IN GUADALAJARA

                6      WANTED TO FIND OUT WHAT HE KNEW ABOUT THEM.       RIGHT?

.
,               ~      A     YES.

                8      Q     AND SPECIFICALLY DIQN~T MR. LOPEZ ALVAREZ TELL YOU

                9      ABOUT A STORY ABOUT ENRIQUE CAMARENA GOING TO A PARTY ON

.
,              10      FEBRUARY THE 4TH, THREE DAYS BEFORE HE WAS ABDUCTED?

               11      A     YES, HE MENTIONED THAT.

               12      Q     IN FACT, HE TOLD YOU THAT ENRIQUE CAMARENA WENT TO A

               13      P ARTY, AND HE WAS PLAYING A ROLE, AN UNDERCOVER ROLE OF A

               14      DRUG BUYER,     CORRECT?

               15      A     MR. LOPEZ BELIEVED THAT, YES.

.
,              16      Q     AND MR. LOPEZ TOLD YOU THAT THAT IS WHY ENRIQUE

               17      CAMARENA WAS PICKED UP THREE DAYS LATER BECAUSE THE

               18      I NDIVIDUALS AT THE PARTY, THE DRUG TRAFFICKERS, CALLED

.
,              19      COLOMB-IA AND FOUND OUT THAT ENRIQUE CAMARENA WAS NOT A

               20      LEGITIMATE BUYER OF DRUGS.      CORRECT?

               21      A     MR. LOPEZ SAID THAT WAS ONE OF THE REASONS, YES,

               22      MADAM.

               23      Q     YOU DIDN'T BELIEVE THAT, DID YOU?

               24      A     N0, MA'AM.

               25      Q     NOW, WHEN HE TOLD YOU THIS STORY THAT Y4U DIDNTT
.
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                                                   ER WHETHER OR NOT THE
         1      BELIEVE, DIDN'T THAT MAKE YOU WOND
                                                       ING YOU WAS AL50
         2      REST OF WHAT MR. LOPEZ ALVAREZ WAS TELL

         3      M ADE UP?
                                                          TIONSHIP, AND EVEN
         4      A       MADAM, WE WERE IN A BUSINESS RELA
                                                  NOT ABLE TO QUESTION HIM
         5      I N MY UNDERCOVER CAPACITY, I WAS

         6      EXACT NAMES, DAYS AND TIMES.         IT WOULD SEEM UNCLEAR AND

                                                              OFFICER.       IF I
         7      U NFAIR.     IT WOULD MAKE ME OUT AS A POLICE
                                                       OF DAY, NE WOULD
         8      ASKED HIM TO GIVE ME THE SPECIFIC TIME

         9      NOT TELL ME THE TRUTH.
                                                             TO YOU.      MY
.
.       10      Q       MR. REYNO50, THAT IS NOT MY QUESTION
                                                                          Y ABOUT
        11      Q UESTION IS:        WHEN HE TOLD YOU THIS FANTASTIC STOR

                                                       UARY 4TH AND POSING
         12     E NRIQUE CAMARENA GOING TO A PARTY FEBR
                                                     E CALLING COLOMBIA AND
         13      AS A DRUG BUYER AND THE PEOPLE THER
                                                         BUYER, AND
         14    j FINDING OUT THAT ENRIQUE WAS NOT A DRUG
                                                  APPED, WHEN YOU HEARD
         15    I THEREFORE THAT IS WHY HE WAS KIDN
                                                        YOU WONDER WNETNER,
.
,        16    ~ THIS FANTASTIC STORY, DIDN'T THAT MAKE
                                                    IES AS HE WENT ALONG?
         17         GEE, HE WAS JUST MAKING UP STOR
                                                                  A STORY,
         18         A    I DIDN'T THINK. IT WAS THAT FANTASTIC OF

         19         F IRST OF ALL.    THERE WAS A POSSIBILITY OF HIM GOING

         20         U NDERCOVER.     I DIDN~T HAVE A CHOICE AT THAT TIME NOT TO

         21         B ELIEVE HIM,. ANYWAY.
                                                                NOT GONE
.
.        22         Q    BUT YOU KNEW THAT ENRIQUf CAMARENA HAD

         a3         UNDERCOVER THREE DAYS BEFORE?

         24         A    N0, I DIDN'T KNOW IT THEN.

,
.        25         Q    YOU KNOW IT NOWY




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-,     1      A       I KNOW IT NOW, YES, MADAM.

       2      Q       BY THE WAY, WITH REGARDS TO THE STORY THAT MR. LOPEZ
                                                       UP TO ENRIQUE
       3      ALVAREZ TOLD YOU ABOUT INDIVIDUALS GOING
                                                          "WE ARE GOING
       4      CAMARENA AND SHOWING HIM BADGES AND SAYING,
                                                THAT STORY APPEARED IN
        5     TO TAKE YOU TO THE COMMANDER~~ --

        6      THE MEXICAN NEWSPAPER, DIDN'T IT?
                                             OBJECTION, YOUR HONOR.   WHETHER IT
,
.       7                     M R. CAMPOS:
                                                               EVANT.
        8      D ID OR DIDN'T APPEAR IN THE NEWSPAPER IS IRREL

        9                     MS. BARRERA:    I WILL REPHRASE THE QUESTION, YOUR

       10      HONOR.
                                                                    TO THIS
       11      Q      HAVE YOU READ ANY MEXICAN NEWSPAPERS RELATING

       12      CASE?

       13      A       YES.
                                                                    MEXICAN
       14      Q       AND ONE OF THE ARTICLES THAT APPEARED IH THE
                                                        UP TO ENRIQUE
       15         NEWSPAPER WAS ABOUT INDIVIDUALS GOING

       16         CAMARENA AND SHOWING HIM BADGES.      IS THAT CORRECT?

       17                     MR. CAMPOS:     IT IS IRRELEVANT, YOUR HONOR.

       18         OBJECTION.

        19                     THE COURT:    THE OBJECTION IS SUSTAINED.

       20         Q    BY MS. BARRERA:       LETS TALK ABOUT WHEN MR. LOPEZ

        21        A LVAREZ TOLD YOU WITH REGARD TO THE HOUSE AT LOPE DE VEGA.
                                                                 WAS NOT AT
.
.       22        F IRST OF ALL, YOU KNEW THAT MR. LOPEZ ALVAREZ

        23        THE HOUSE AT LOPE DE VfGA, DIDN~T YOU?

        24        A    N0~ I DIDN'T KNOW THAT.

        25        Q    BASED ON WHAT NE TOLD YOU, YOU COULD TELL HE WAS
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                                                                             11-1.33

         1      MAKING UP STORIES ABOUT LOPE DE VE6A, COULDN'T YOU?

         2      A     N0, I COULDN~T TELL.

         3      Q     HE GAVE YOU A SCARCITY OF DETAILS ABOUT WHAT HAPPENED

         4      AT LOPE DE VEGA, DIDN~T HE?

         5      A     AGAIN,. i WASN~T QUESTIONING HIM ABOUT HIS CORRECT

         6      K NOWLEDGE OF WHAT HE KNEW.      HE WAS JUST TELLING ME THIS.

         7      Q     YES, AND MY QUESTION IS:       HE DIDN'T GIVE YOU VERY

         8      MANY DETAILS ABOUT LOPE DE VEGA?

         9      A     I WAS NOT ASKING FOR DETAILS, N0, MA'AM.

        10      Q     MY QUESTION, HOWEVER, I5:       HE DIDN'T GIVE YOU VERY

        11      MANY DETAILS?

        12      A     N0.

        13      Q     WHAT HE DID TELL YOU, HOWEVER, WAS THAT ENRIQUE

        14      C AMARENA HAD Bf EN BEATEN WITH A PIPE OF SOME SORT ALL OVER

        15      H I5 BODY.      RIGHT?

        16      A     YES, MADAM.

        17      Q     AND HE SAID HE WAS BEATEN ON THE HEAD, THE FACE, AND

        18      THE STOMACH.       RIGHT?

        19      A     YES, MA'AM.
,...
        20      Q     AND THAT IS ALL HE TOLD YOU ABOUT THE BEATING.         ISN~T

        21      THAT TRUE?

        22      A     YES, MA'AM.

        23      Q     NOW, THAT STATEMENT THAT I HAVE JUST SAID, THAT

        24      ENRIQUE CAMARENA WAS BEATEN ALL OVER HIS BODY, THAT IS

        25      CONSISTENT WITH JUST A GENERAL STORY.         ISN'T THAT TRUE?
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                                                                               11-334

        1                   MR. CAMPOS:      OBJECTION TO THE FORM OF THE

        2      QUESTION, YOUR hiONOR.         IT IS VAGUE AND AMBIGUOUS.

        3                   THE COURT:       RESTATE YOUR QUESTION.

        4      Q       BY M5. BARRERA:       YOU HAVE BEEN AN AGENT FOR THREE
,
~
        5      YEARS.     CORRECT?

        6      A       YES, MADAM.

        7      Q       AND IN THOSE THREE YEARS -- STRIKE THAT.

        8                   AT THE TIME THAT THIS INVESTIGATION WAS GOING

        9      ON, THAT IS, WHEN YOU WERE SEEKING MR. LOPEZ ALVAREZ, YOU

       10      HAD BEEN A DEA AGENT FOR TWO YEARS.         RIGHT?

       11      A       YES, MADAM.

       12     I Q      BUT YOU HAD AL50 BEEN A POLICE OFFICER BEFORE YOU

       13      WERE A DEA AGENT FOR SIX AND A HALF YEARS.           CORRECT?

       14      A       YES, MADAM.

       15      Q     50 YOU HAD EXPERIENCE IN TERMS OF QUESTIONING

       16      I NDIVIDUALS.      CORRECT?
 ri
       17      A       CORRECT.

       18      Q       AND JUST BECAUSE SOMEBODY SAID SOMETHING, YOU

       19      WOULDN~T NECESSARILY ASSUME THAT WHAT THEY WERE SAYING WAS
.
.
       20      TRUE.    CORRECT?

       21      A     DEPENDING ON THE CIRCUMSTANCES, YES, MADAM.

       22      Q     AND AS A POLICE OFFICER IF SOMEONE CAME IN AND SAID,
..,
       23     "I COMMITTED A MURDER," YOU WOULDN'T ASSUME JUST BASED ON

       24      THAT, THAT THEY MUST BE TELLING YOU THE TRUTH.            CORRECT?

       25      A     I CANNOT ASSUME HE IS LYING, EITHER.
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       1     Q     YOU CAN T ASSUME ANYTHING ON THE BASIS OF THAT.

       2     CORRECT?

       3      A    RIGHT.

.
.      4      Q    YOU WOULD HAVE TO DO INVESTIGATION?

       5      A    YES, MA'AM.

       6      Q    THAT PERSON COULD BE CRAZY?

.
.      7      A    YES.

       8      Q    THAT PERSON COULD BE A PATHOLOGICAL LIAR.       RIGHT?

       9      A    YES.

      10      Q    IT COULD BE SOMEONE WHO IS A PUBLICITY HOUND?

      11      A     YES.

      12      Q     IT COULD BE SOMEONE COVERING UP FOR SOMEONE ELSE.

      13      R IGHT?

      14      A     YES, MAtAM.

      15      Q     I MEAN, THERE IS ANY NUMBER OF REASQNS AS TO WHY

      16      SOMEONE WOULD SAY SOMETHING LIKE THAT.      RIGHT?   EVEN TO A

      17      POLICE OFFICER?

      18      A     YES.

      19      Q     AND THEN IT COULD BE THE TRUTHS

      20      A     YES.

      21      Q     NOW T ONE OF THE METHODS THAT YOU USE IN TERMS OF

a,    22      CHECKING OUT WHAT THAT PERSON HA5 TOLD YOU, THIS

      23      HYPOTHETICAL PERSON, IS THAT YOU ASK THEM FOR DETAILS.

      24      I SN'T THAT TRUE?

      25      A     IN A REGULAR INVESTIGATION, YES, MA'AM, YOU DO DO
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                                                                         11-136


~,    1      T HAT.

      2      Q        AND IF THEY KNOW DETAILS ABOUT WHAT HAPPENED, THEN

      3      THERE IS MORE OF •A CHANCE THAT MAYBE THEY ARE TELLING YOU

A
      4      THE TRUTH.        RIGHT?

       5     A        YES, MA'AM.

      6      Q        OKAY.    50 MY QUESTION TO YOU IS:    BASED ON YOUR

       7     EXPERIENCE AS A POLICE OFFICER IN THIS CASE, IN THE

       8     ENRIQUE CAMARENA INVESTIGATION, 50MEONE IS SAYING THAT HE

       9      WAS BEATEN ALL OVER HIS BODY, YOU DON'T CONSIDER THAT A

      10      LOT OF DETAIL, DO YOU?

      11      A       AGAIN, I AM GOING TO REFER BACK TO MY EXPERIENCE AS A

      12      POLICE OFFICER.        IN AN UNDERCOVER CAPACITY, I DO NOT

      13      QUESTION PEOPLE AS TO DETAILED TIMES AND EVENTS.

      14                      I F I WAS SPEAKING TO MR. LOPEZ AS A POLICE

      15      OFFICER, AND HE KNEW I WAS A POLICE OFFICER, I WOULD

      16      QUESTION HIM TO CLARIFY THE POINTS.          I WAS NOT REQUESTING
.
.
      17      THAT CLARIFICATION.        THEREFORE, WHATEVER HE GAPE ME WAS

      18      OPEN TO INVESTIGATION.        YES, MADAM.

      19      Q       I UNDERSTAND THAT YOU WEREN'T INTERROGATING NIM.         I
,
.
      20      THINK MY QUESTION IS NOT CLEAR.

      21                      M Y QUESTION TO YQU IS:   MR. LOPEZ ALYAREZ OR

     22       ANYONE SAYING THAT EMRIQUE CAMARENA WAS BEATEN ALL OVER

      23      HIS BODY -- THAT STATEMENT YOU DO NOT CONSIDER A STATEMENT

      24      I NVOLVING Q LOT OF DETAILS, DO YOU3

      25      A       N0, IT YS NOT A DETAILED STATEMENT.         THAT IS CORRECT.
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~
.       1     Q     SO THAT IS HIS STORY THAT IS CONSISTENT WITH A

       2      GENERAL STORY, CORRECT, OF SOMEONE HAVING GENERAL

       3      KNOWLEDGE OF WHAT HAPPENED.       CORRECT?

       4                  MR. CAMPOS:     ABJECTION TO GENERAL AND SPECIFIC

        5     STORIES, YOUR HONOR.      THAT IS A CHARACTERIZATION.

       6                  THE COURT:    SUSTAINED.

        7     Q     BY MS. BARRERA:     WHAT MR. LOPEZ ALVAREZ TOLD YOU

       8      ABOUT THE. BEATING Of ENRIQUE CAMARENA WAS INFORMATION THAT

       9      WAS PRETTY WELL KNOWN IN GUADALAJARA AND THE UNITED

      10      STATES.    IS THAT CORRECT?

      11                  MR. CAMPOS:     CALLS FOR SPECULATION AND HEARSAY,

      12      YOUR HONOR.     I OBJECT.

.
,     13                  THE COURT:    SUSTAINED.

      14      Q     BY M5. BARRERA:       WHAT HE TOLD YOU WAS INFORMATION

      15      THAT APPEARED IN NEWSPAPERS        ISN'T IT?

r•    16                  MR. CAMPOS:     SAME OBJECTION.

      17                  THE COURT:      WHAT IS THE OBJECTION?

      18                  MR. CAMPOS:     SPECULATION AND HEARSAY, YOUR

      19      HONOR.
r,
      20                  THE COURT:    SUSTAINED.

      21      Q     BY MS. BARRERA:     MR. LOPEZ ALVAREZ DIDN~T TELL YOU,

      22      DID HE, THAT ENRIQUE CAMARENA~S RIBS HAD BEEN BROKEN?

      23      A     I DONUT REMEMBER NIM SAYING THAT.

      24      Q     IF HE HAD SAID THAT, THAT IS PROBABLY SOMETHING YOU

.
.
      25      WOULD NAPE REMEMBERED, ISN'T IT?




.
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.
.          1      A     PROBABLY, YES, MA'AM.

           2      Q     YOU KNOW THAT ENRIQUE CAMARENA'S RIBS WERE BROKEN.

           3      R IGHT?

.
.          4      A     YES, MADAM.

            e     Q     MR. LOPEZ ALVAREZ AL50 TOLD YOU INCONSISTENT STORIES

           6      ABOUT WHAT HAPPENED TO ENRIQUE CAMARENA AFTER~TME TORTURE,

~
,           7     DIDN~T HE?

            8      A    I DONUT RECALL WHICH INCONSISTENT STORY UNLESS YOU

            9      REFRESH MY MEMaRY.

           10      Q    OKAY.     SURE..   DIDN~T HE AT ONE TIME TELL YOU THAT

           11      ENRIQUE CAMARENA WAS TAKEN OUT OF THE HOUSE AT LOPE DE

           12      MEGA, AND HE WAS PUT IN A VEHICLE AND BURIED ALIVE?

.
.          13      D IDN~T HE TELL YOU THAT?

           14      A    FIRST OF ALL, HE NEVER USED LOPE DE MEGA, IF I MIGHT

           15      C LARIFY THAT.    HE STATED THAT HE WAS REMOVED OUT OF THE

 ~
 .         16      HOUSE UNCONSCIOUS.       YES, HE DID SAY THAT,

           17      Q     AND HE SAID THAT HE WAS BURIED ALIVE AFTER THAT,

           18      D IDNTT NE?

           19      A     I BELIEVE HE REFERRED TO THE PILOT AS BEING BURIED

           20      ALIVE, NOT CAMARENA.

           21      Q     MAYBE iT WOULD REFRESH YOUR RECOLLECTION IF YOU WOULD

..,        22      LOOK AT THE TRANSCRIPT FOR OCTOBER 15, PAGE 33, FROM THE

           23      TOP TO THE MIDDLE OF THE PAGE.

           24      A     YES, MA'AM.

           25                    7HE COURT:   I WANT TO REMIND THE JURY AGAIN THAT




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           1      THESE TRANSCRIPTS THAT THE WITNESSES ARE ASKED TO LOOK AT

           2      ARE NOT NECESSARILY THE EVIDENCE IN THE CASE.          WHAT IS THE

           3      EVIDENCE IS WHAT THE WITNESS MIGHT TESTIFY ABOUT, NOT THE

           4      REPORTS, TRANSCRIPTS, OR ANY OTHER THING.          IT IS THE

           5      TESTIMONY OF THE WITNESSES YOU MUST LISTEN T0.

           6                   THE WITNESS:   YES, MA'AM.

           7      Q     BY M5. BARRERA:     DOES THIS REFRESH YOUR RECOLLECTION

           8      A5 TO WHAT MR. LOPEZ ALVAREZ TOLD YOU?

           9      A     YES, IT DOES.

.
          10      Q     AND WHAT HE TOLD YOU WAS THAT MR. CAMARENA WAS TAKEN
.
          11      OUT OF THE HOUSE AND BURIED ALIVE?

          12      A     HE SAYS, "I BELIEVE HE WAS BURIED ALIVE."          HE DIDN'T

          13      SAY THAT HE WAS BURIED ALIVE.

          14      Q     IN FACT, MOST OF THE TIME THAT HE TOLD YOU THINGS, HE

          15      SAID, "I BELIEVE," DIDN'T HE?

          16      A     N0.
.
^
          17      Q     THIS IS ONE INSTANCE THAT HE SAID THAT?

          18      A     HE SAYS IT RIGHT HERE, YES, MA'AM.

          19      Q     AND YOU KNOW THAT IS NOT TRUE.      RIGHTS     YOU KNOW THAT
.
,
          20      E NRIQUE CAMARENA WAS NOT BURIED ALIVE.       CORRECT?

          21      A     THAT~S CORRECT.

          22      Q     AND DID YOU KNQW IT AT THE TIME WHILE YOU WERE

          23      SPEAKING TO MR. LOPEZ ALVAREZ?

          24      A     YES.

          25      Q     SO YOU KNEW THAT WHEN MR. LOPEZ ALVAREZ TOLD YOU
.
.
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.
.      1      THAT, THAT HE WAS FABRICATING.      TRUE?

       2      A    N0.      HE SAID HE BELIEVED THAT.     HE DIDN~T SAY HE

       3      KNEW.

       4      Q    BUT YOU KNEW THAT THAI WAS NOT TRUE.         CORRECT?     THAT

       5    'I IS ENRIQUE CAMARENA WAS NOT BURIED ALIVE?

       6      A       THAT WAS HIS OPINION.

       7      Q       AND SO SINCE YOU KNEW IT WASN'T TRUE, THAT GAVE YOU A

       8      CLUE AS TO THE FACT THAT MR. LOPEZ ALVAREZ MUST NOT HAVE

       9      BEEN THERE WHEN ENRIQUE CAMARENA WAS TORTURED AND KILLED.

,
.     10      I SN~T THAT TRUE?

      11      A       N0.

      12      Q       IF HE BELIEVED THAT ENRIQUE CAMARENA WAS TAKEN OUT OF

.
,     13      THE HOUSE AND BURIED ALIVE, AND IF THAT WASN~T TRUE S HE

      14      COULDNtT HAVE BEEN THERE.

      15      A       MR. LOPEZ ALVAREZ NEVER TOLD ME HE PARTICIPATED IN

.
.     16      THE BURIAL OF ENRIQUE CAMARENA, 50 HE COULDN~T KNOW THAT.

      17      Q       HE AL50 DIDN~T TELL YOU THAT HE WAS AT THE HOUSE OF

      18      LOPE DE VEGA, DID HE?

      19      A       ME SAID THAT IN THIS PARTICULAR INSTANCE NE SAW

      20      MR. ENRIQUE CAMARENA BEING TAKEN OUT OF THE MOUSE, 50 I

      21      ASSUME HE DID.

      22      Q       BUT DIDN~T YOU JUST TELL US THAT HE SAID HE BELIEVED

      23      THAT?

      24      A       HE BELIEVED HE WAS BURIED ALIVE.      HE DIDN~T SAY NE

.
,     25      BELIEVED WHEN HE SAW CAMARENA BEING TAKEN OUT OF THE
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...     1      HOUSE.

        2     Q     OKAY.      SO WHAT HE TOLD YOU WAS THAT NE SAW CAMARENA

        3      BEING TAKEN OUT OF THE HOUSE ALIVE?

.
,       4      A    CORRECT.

        5      Q    AND MR. LOPEZ ALVAREZ DIDN'T TELL YOU THE LOCATION OF

        6      THE BODY?    THAT HE KNEW ABOUT THE LOCATION OF THE BODY,

.
,       7      D ID HE3

        8      A    HE JUST MENTIONED THE HOUSE.

        9    i Q    IN FACT, AT ONE POINT DIDN'T MR. LOPEZ ALVAREZ TELL

       10      YOU THAT ENRIQUE CAMARENA HAD BEEN BURIED AT THE SAME

       11      PLACE WHERE HE HAD BEEN TORTURED?

       12      A    YES, MADAM.

 ~,    13      Q    YOU KNEW THAT WASN~T TRUE, AL50, DIDN'T YOU?

       14      A     N0, I DIDN~T KNOW.

       15      Q     YOU KNOW IT NOW.     RIGHT?

       16      A     I AM NOT 100 PERCENT SURE.      I DON'T KNOW IT NOW, N0.
.
,
       17      Q     YOU DONUT?

       18      A     N0.

       19      Q     YOU DONUT KNOW WHERE THE BODIES WERE BURIED AFTER

       20      THEY LEFT THE HOUSE AT LOPE DE VEGA?

       21      A     WE DONUT KNOW EXACTLY WHERE THEY WERE BURIED.

       22      Q     Sd MR. I.OPEZ ALVAREZ TOLD YOU AT LEAST TWO STORIES

       23      ABOUT THE BODIES, DIDN'T HE?

       24      A     WHICH ONE WAS THE OTHER STORY?

       25      Q     ONE WAS THAT HE WAS WALKED OUT OF THE HOUSE AND PUT
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       1      IN A VEHICLE AND DRIVEN AWAY, AND HE BELIEVED THAT HE WAS

       2      B URIED ALIVE.     THAT IS ONE STORY, ISN~T IT?

       3      A    YES, MA'AM.

r.     4      Q    AND THE OTHER STORY WAS THAT HE WAS TORTURED AND

       5      B URIED IN THE SAME HOUSE.     ISN'T THAT TRUE?

       6      A    THERE WAS INFORMATION THAT WE KNEW THAT THAT COULD BE

.
,      7      POSSIBLE.

       8      Q    BUT I AM SAYING THAT MR. LOPEZ ALVAREZ TOLD YOU BOTH

       9      STORIES, DIDN'T HE?

      10      A    YES.

      11      Q    AT ONE OF THE TIMES HE WAS TALKING ABOUT THE BODIES,

      12      MR. LOPEZ ALVAREZ TOLD YOU THAT THE BODIES HAD BEEN TAKEN

      13      OUT OF THE HOUSE WHEN THEY HAD BEEN TORTURED AND WERE

      14      TAKEN TO A PLACE IN MICHOACAN.       RIGHTS

      15      A     YES, HE DIR SAY THAT.

      16      Q     AND HE TOLD YOU THAT THIS WAS DONE THE EARLY MORNING

      17      HOURS.    RIGHT?

      18      A     YES.

      19      Q     AND YOU KNEW THAT COULDN~T POSSIBLY BE TRUE, ALSO.

      20      R IGHT?

      21      A     N0, I DON'T KNOW THAT..

,
.     22      Q     WELL, YOU KNEW THAT THE BODIES WERE FOUND IN

      23      M ICHOACAN ABOUT 5:00 OR 5:30 P.M.      DIDN~T YOU KNOW THAT?

      24      A     I KNOW WHEN THE BQQIES WERE FOUND.          I DONUT KNOW WHEN

.
.     25      THE BODIES WERE TAKEN THERE.
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                                                                          11-143


       1      Q      YOU KNOW THE BODIES WERE FOUND AT ABOUT 5:00, 5:30

       2     P.M.    RIGHT?

       3                  MR. CAMPOS:    COULD WE HAVE A DATE, YOUR HONOR.

.
.      4                  THE COURT:    CLARIFY AS TO WHAT TIME.

       5      Q      BY MS. BARRERA:    DO YOU KNOW THAT THE BODIES WERE

       6      FOUND AT APPROXIMATELY 5:30 P.M. SOMETIME IN MARCH -- I

.
.      7      B ELIEVE, MARCH 5, 1985?

       8      A      YES, MADAM.

       9      Q      AND YOU KNOW THAT THERE WAS A SEARCH FOR THE BODIES

.
.     10      I N THAT SAME AREA BEFORE 5:00 P.M. ON THAT DATE.       CORRECT?

      11      A      IF I RECALL, THE BODIES WERE NOT FOUND AT 5:00 P.M.

      12      THEY WERE FOUND EARLY IN THE MORNING HOURS.

.
.     13      Q      THAT IS THE INFORMATION YOU HAVE?

      14      A      THAT I HAVE, YES, MADAM.

      15      Q      SO LETS ASSUME FOR A MINUTE THAT THE BODIES WERE

      16      FOUND AT 5:30 P.M.       THEN WHAT MR. LOPEZ ALVAREZ TOLD YOU

      17      ABOUT THE BODIES GOING OUT EARLY MORNING HOURS IS

      18      I NCORRECT.     TRUE?

.
.     19                  MR. CAMPOS:     YOUR HONOR, THAT IS A NON SEQUITUR.

      20                  THE COURT:     SUSTAINED.

      21      Q      BY M5. BARRERA:     YOU DID NOT PARTICIPATE IN THE

      22      SEARCH FOR THE LOCATION OF THE BODIES IN MICHOACAN, DID

      23      YOU?

      24      A      THAT IS CORRECT.     I DIDN~T.

.
.     25      Q      AND THAT WOULD ACCOUNT, I TAKE IT, FOR YOU NOT
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       1      KNOWING THE DETAILS ABOUT THE BODIES.          CORRECT?

       2      A     YES, MADAM.

       3      Q     I AM GOING TO SIDETRACK A LITTLE BIT HERE AND TALK

       4      ABOUT SOMETHING ELSE.       YOU SAID THAT MR. LOPEZ ALVAREZ

       5      GAVE YOU A TAPE OF A SONG CALLED 'BLACK MARQUE," OR

       6      SOMETHING LIKE THAT.

       7      A     HE SHOWED ME A TAPE.      YES   MA'AM.

       8      Q     AND THIS IS A REGULAR TAPE.        ISN~T THAT TRUE?

       9      A     YES.      IT WAS A REGULAR TAPE.

      10      Q     IT IS SOMETHING YOU CAN BUY AT --

      11      A     ANY STORE.

      12      Q     AND HAVE YOU LISTENED TO THIS SONG?

      13      A     N0, MADAM, I HAVEN'T. .

      14      Q     SO YOU DONUT KNOW WHAT IS CONTAINED IN THE SONG OR

      15      WHETHER THERE IS ANY TRUTH TO IT OR NOT?

      16      A     N0.

      17      Q     YOU REFERRED TO IT AS A CORRIDO SONG.           WOULD YOU TELL

      18      US WHAT A CORRIDO SONG I5.

      19      A     IT IS A VERY POPULAR TYPE OF SONG.           USUALLY IS ABOUT

      20      SOMETHING EVENTFUL, MAJOR EVENT, THAT HAPPENS IN MEXICO

      21      THAT MAJOR WRITERS WILL WRITE SOMETHING ABOUT.

•
~     22      Q     SO THE SONG WRITERS IN MEXICO LIKE TO DO THAT; THEY

      23      .LIKE TO MAKE UP STORIES ABOUT EVENTS THAT HAPPENED?

      24      A     YES, MADAM.

,
.     25      Q     ESPECIALLY WHEN SOMETHING IS SENSATIONAL?
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                                                                         11-145

       1      A    YES, MAtAM.

       2      Q    AND THEY MAY NOT ALWAYS BE ACCURATE.        RIGHTS

       3      A    YES, MAtAM.

       4      Q    AND IN FACT MOST OF THE TIME IT IS KIND OF BUILT UP

       5      W ITH SOME TRUTH AND SOME FICTION?

       6      A     YES.

       7      Q     AND THE SONG WRITERS MAY NOT NECESSARILY BE PRIVY TO

       8      THE REAL INFORMAtION IN THE CASE?

       9      A     IT IS JUST A MUSICAL.    YES, MA'AM.

.
,     10      Q     I NEGLECTEp TO MENTION WHAT MR. LOPEZ ALVAREZ TOLD

      11      YOU ABOUT MR. ZAVALA.     YOU KNOW WHO HE I5.     RIGHT?

      12      A     YES, MADAM.

.
,     13      Q     HE DIDN'T TELL YOU VERY MUCH ABOUT MR. ZAVALA,

      14      E ITHER, DID HE?

      15      A     VERY BRIEFLY.

      16      Q     IN FACT, ALL HE TOLD YOU ABOUT MR. ZAVALA WA5 THAT

      17      M R. ZAVALA WAS KIDNAPPED, TORTURED, AND KILLED?

      18      A     YES.

      19      Q     AND WHEN THAT IS ALL THAT HE COULD TELL YOU _A BOUT

      20      MR. ZAVALA, THAT DIDN'T MAKE YOU WONDER IF MR. LOPEZ

      21      ALVAREZ WAS MAKING UP STORIES FOR YOUR BENEFIT?

      22      A     N0, MA'AM.

      23      Q     HE TOLD YOU THAT MR. ZAVALA WAS SHOT IN THE HEAD.

      24      I SN~T THAT tRUE?

      25      A     I BELIEVE HE SAID THAT, YES.
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                                                                            11-146

.-     I      Q     AND YOU KNEW THEN THAT THAT WAS NOT TRUE.       RIGHT?

       2      A     I DIDN~T HAVE THE -- AT THAT TIME I DIDN~T KNOW.

       3      Q     YOU KNOW --

       4      A     N0, I DIDN~T KNOW.

       5      Q     YOU KNOW NOW THAT THAT WAS NOT TRUE.        CORRECT?

       6      A     THAT~S CORRECT.

       7      Q     DURING YOUR CONVERSATIONS WITH MR. LOPEZ ALVAREZ, HE

       8      T OLD YOU THAT HE HAD BEEN PICKED UP BY THE MEXICAN FEDERAL

       9      J UDICIAL POLICE IN CONNECTION WITH THIS CASE.        RIGHT?

      10      A     YES, MA'AM.

      11      Q    :AND WHAT HE TOLD YOU ACTUALLY WAS THAT HE WAS

      12      ARRESTED BECAUSE ME WAS WITH THE ONES WHO WERE WATCHING

      13      ENRIQUE CAMARENA3

      14      A     YES, MADAM.

      15      Q     AND HE AL50 TOLD YOU ABOUT HOW HE HAD BEEN TORTURED

.
,     16      AND BEATEN BY THE MEXICAN JUDICIAL POLICE.         CORRECT?

      17 ,    A     YES, MA'AM.

      18      Q     AND HE TOLD YOU THAT NQTWITHSTANDING THESE BEATINGS

.
.     19      HE HAD NOT CONFESSED TO INVOLVEMENT IN THE KIDNAP,

      20      ABDUCTION, TORTURE AND KILLING OF ENRIQUE CAMARENA.

      21      R IGHT?

.
.     22      A     EXACTLY.

      23      Q     I BELIEVE YOUR TESTIMONY WAS THAT HE WAS VERY PROUD

      24      OF THAT.    RIGHT?

.
.     25      A     YES, MADAM.
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      1      Q    AND THAT HIS BOSSES WERE VERY PROUD OF HIM.          RIGHT?

      2      A    YES, MADAM.

      3      Q    HE ALSO TOLD YOU, DIDN~T HE, THAT HIS SUPPOSED BOSSES

      4      HAD CONFESSED TO BEING INVOLVED IN THE KILLING Of

      5      CAMARENA?

      6      A     I DONUT RECALL HIM SAYING THAT, N0, MAtAM.

      7      Q     WELL, YOU KNOW THAT TO BE A FACT, DONUT YOU?

      8      A     YES, MAtAM.

      9      Q     YOU KNOW THAT ERNESTO FONSECA AND CARD-QUINTERO AND

.
.    10      EVERYONE ELSE ARRESTED ALONG WITH THEM HAVE ADMITTED TO

     11      SOME INVOLVEMENT?

     12      A     YES, MADAM.

     13      Q     AND YOU KNOW FROM YOUR INVESTIGATION OF MR. LOPEZ

     14      ALVAREZ, EVEN THOUGH HE WAS TORTURED, ALWAYS MAINTAINED

     15      THAT HE WAS NOT INVOLVED IN THE KIDNAPPING, THE ABDUCTION,

     16      TORTURE, AND THE KILLING OF ENRIQUE CAMARENA?

     17                  MR. CAMPOS:     YOUR FiONOR, THAT CALLS FOR

     18      SPECULATION AND HEARSAY.

.
.    19                  MS. BARRERA:    BASED ON HIS INVESTIGATION, YOUR

     20      HONOR.   NO SPECULATION.

     21                  THE COURT:     THE OBJECTION IS SUSTAINED.

A    22      Q     BY M5. BARRERA:      SO MR. LOPEZ ALVARfZ TOLD YOU THAT

     23      E VEN THOUGH ME HAD BEEN TORTURED AND NOT CONFESSED, HE WAS

     24      GOING TO TELL YOU ABOUT HIS ASSAULT?

     25      A     HE WAS TELLING ME WITHOUT ME ASKING HIM, YES.




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•-     1      Q      MR. LOPEZ ALVAREZ ALSO TOLD YOU, DID HE NOT, ABOUT

       2      THE COMMANDER NAMED GONZALEZ-GONZALEZ WHO WAS TORTURED TO

       3      DEATH, DIDN'T HE?

       4      A      YES, MA'AM.

       5      Q      AND HE TOLD YOU HOW HE WAS FORCED TO SIT AND LISTEN

       6      A S HIS COMMANDER IS BEING TORTURED TO DEATH.       RIGHT?

       7    ~ A      I DON'T RECALL HIM TELLING ME THAT HE WAS FORCED TO

       8      L ISTEN, N0.

       9      Q      DO YOU RECALL HIM TELLING YQU THAT THIS COMMANDER WAS

      10      K ILLED BY THE MEXICAN FEDERAL JUDICIAL POLICE DURING THEIR

      11      I NTERROGATION?

      12      A      MR. LOPEZ SAIp THAT, YES.

      13      Q      AND YOUR INVESTIGATION HAS CONFIRMED THAT, HAS IT

      14      NOT?

      15      A      THAT THE COMMANDER GONZALEZ-GONZALEZ WAS KILLED BY

.
.     16      THE MEXICAN FEDERAL POLICE?

      17      Q      YES.

      18      A      I DON'T KNOW THAT, MADAM.

      19      Q      YOU DON'T KNOW.

      20                    LET S TALK ABOUT WHAT MR. LOPEZ ALVAREZ TOLD YOU

      21      W ITH REGARDS TO THE GOING TO THE AIRPORT.        DO YOU REMEMBER

.
.     22      THAT PART OF YOUR TESTIMONY?

      23      A      YES, MAC AM.

      24      Q      .NOW, WHEN MR. LOPEZ ALVAREZ TOLD YOU THAT, IT WAS

      25      ESSENTIALLY AN ACCURATE RECOUNTING WITH A LOT OF
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        1      EMBELLISHMENT.     ISN~T THAT TRUE?

        2      A    I DIDNtT THINK IT WAS EMBELLISHMENT.

        3      Q    AGAIN, HE TOLD YOU TWO DIFFERENT VERSIONS, DIDN~T HE,

r..     4      AS TO WHAT HAPPENED?

        5      A    WHICH ONE S MADAM?

        6      Q    WELL, AT ONE POINT DIDN'T HE TELL YOU THAT -- I THINK

        7      WE HAVE GONE THROUGH THIS.       HE TOLD YOU ABOUT HIS FATHER

        8      AND TAKING HIM TO THE AIRPORT AND THEM CHANGING THEIR

        9      M INDS.   AND ANOTHER TIME HE SAID HE WAS AT THE AIRPORT

       10      W ITH CARD-QUINTERO.    RIGHT?    SO HE TOLD YOU TWO DIFFERENT

       11      STORIES WITF1 REGARD TO THE AIRPORT?

       12      A     I BELIEVE THEY ARE THE SAME STORIES, JUST DIFFERENT

       13      C IRCUMSTANCES.

       14      Q    OKAY.      THE SAME EVENT, BUT HE IS TELLING YOU TWO

       15      D IFFERENT VERSIONS OF WHERE HE WAS.      ISN~T THAT TRUE?

       16      A     N0.

       17      Q     WELL, AT ONE POINT HE I5 SAYING THAT HE WAS IN THE

       18      CAR DRIVING OVER THERE, AND ANOTHER TIME HE IS SAYING THAT

       19      HE WAS WITH CARO-QUINTERO AT THE AIRPORT.

       20      A     HE DIDN~T SAY HE WAS WITH CARD.      HE WENT TO THE

       21      AIRPORT TO MEET CARO-QUINTERO.

       22      Q     THAT IS WHAT HE SAID ON THE TAPE THAT WE LOOKED AT

       23      J UST A FEW MINUTES AGO?

       24      A     YOU ONLY ASKED ME ABOUT A WHOLE CONVERSATION.         THERE

.
,      25      I S MORE TO IT THAN JUST THAT.
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      7
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„~          1      Q     BUT THE QUESTION YOU POSED TO HIM IN THAT TAPE WAS,

            2     "WERE YOU THERE WITH CARD-QUINTERO ON THE PLANE?"         AND HIS

            3      ANSWER WAS, "YES."

            4                  I SN~T THAT TRUE?

            5      A     WHEN HE WAS REFERRING TO THAT, YES.

            6      Q     NOW, THE MAIN STORY THAT HE TOLD YOU -- LETS TALK

.
.           7      ABOUT THE STORY ABOUT HIS FATHER AND SO ON.       HIS

            8      R ECOUNTING OF THE FACTS DIDN'T REALLY MAKE SENSE TO YOU,

            9      D ID IT?

           10      A     I HAD NO REASON NOT TO BELIEVE HIM.

           11      Q     YOU DIDN~T BELIEVE EVERYTHING NE TOLD YOU.        RIGHT?

           12      A     I DIDN~T HAVE REASON NOT TO BELIEVE WHAT HE TOLD ME,

           13      NOT EVERYTHING.

           14      Q     YOU HAD NO REASON TO DOUBT THAT PORTION?

           15      A     I JUST LISTENED TO HIM, MADAM.

.
.          16      Q     HE TOLD Y4U THAT CARD-QUINTERO WAS AT THE AIRPORT.

           17      D ID HE TELL YOU WHAT TIME CARD-QUINTERO WAS AT THE

           18      AIRPORT?

           19      A     N0, MADAM.

           20      Q     AND HE INDICATED TO YOU THAT TWO HOURS LATER, AFTER

           21      NE WAS SUPPOSED TO TAKE HIS FATHER AND THEN THE FATHER

           22      D IDN'T G0, TWO HOURS LATER HE IS ON HIS WAY TO THE AIRPORT
,.,
           23      WITH THE DEA AGENTS AND THE MEXICAN FEDERAL JUDICIAL

           24      POLICE.    IS THAT CORRECT?

           25      A     YES, MA'AM.
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        1      Q       AND IN THOSE TWO Fi0UR5 HE TOLD YOU QUITE A FEW THINGS

        2      THAT HAPPENED, DIDN~T HE?

        3      A       N0, MA►AM.

        4      Q       DIDN'T HE TELL YOU THAT CARD-QUINTERO CHANGED NIS

        5      MIND 50 HE DRIVE HIS FATHER HOME?           DIDN~T HE TELL YOU

        6      THAT?

        7      A       HE DID TELL ME HE DROVE HIS FATHER HOME.

        8      Q       HE WAS CONTACTED; THEN FORGET IT; AND HE WENT ON

        9      PATROL?

       10      A       YES.

       11      Q       AND THEN HE WENT BACK TO HEADQUARTERS.        RIGHT?

       12      A       THAT IS WHAT HE SAID, YES, MADAM.

,.,    13      Q       THEN HE SAID HE WAS ADVISED BY THE GROUP SUPT RVISOR,

       14      I GUE55, THAT THE MEXICAN FEDERAL JUDICIAL POLICE NEEDED

       15      SOME HELP.       RIGHT?

       16      A       YES, MADAM.

       17      Q       AND THEY DECIDED THEY WANTED TO GO TO LUNCH.           THEY

       18      WERE GOING TO HAVE LUNCH.          RIGHT?

       19      A       THAT IS CORRECT.

       20      Q       AND HE TOLD YOU THEY WENT TO LUNCH.        RIGHT?

       21      A       YES.

       22      Q       AND AFTER LUNCH, THEY KEEP GETTING CALLS FROM THE

       23      MEXICAN FEDERAL JUDICIAL POLICE.            SO THEY DECIDE TO GO

       24      A LONG WITH THEM.         RIGHT?

       25      A       RIGHT.
.
,




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                                                                          11-152


       1      Q     AND HE SAID THAT ALL OF THAT HAPPENED IN TWO HOURS?

       2      A     HE WAS JUST ESTIMATING, YES, MA'AM.

       3      Q     AND YOU KNOW FROM YOUR INVESTIGATION THAT THINGS

       4      COULDNtT HAVE HAPPENED THAT WAY BECAUSE THE CALL THAT

       5      P AVON-REYES RECEIVED, THE COMMANDER OF THE MEXICAN FEDERAL

       6      J UDICIAL POLICE, TO GO TO THE AIRPORT --

       7                 M R. CAMPOS:    YOUR HONOR, EXCUSE ME.    OBJECTION.

       8      THERE IS NO EVIDENCE WITH RESPECT TO THIS FROM THE

       9      TESTIMONY OF THIS WITNESS.

,
.,    10                  MS. BRRRERA:    YOUR HONOR, HE INDICATED THAT HE

      11      SPOKE TO OTHER OFFICERS AND DID FOLLOW-UP INVESTIGATION ON

      12      EVERYTHING THAT MR. LOPEZ ALVAREZ TOLD HIM.         SO MY

      13      QUESTION IS AS TO THIS FOLLOW-UP INVESTIGATION WITH

      14      R EGARDS TO THE AIRPORT.

      15                  THE COURT:     RESTATE YOUR QUESTION.

.
.     16                  M5. BARRERA:    THANK YOU, YOUR HONOR.

      17      Q     YOU KNEW THAT WHAT MR. LOPEZ ALVAREZ TOLD YOU COULD

      18      NOT BE TRUE BECAUSE FROM YOUR INVESTIGATION YOU KNEW THAT

      19      P AVON-REYES HAD RECEIVED A CALL FROM THE AMERICANS TO RUSH

      20      TO THE AIRPORT.     ISN'T THAT TRUE?

      21                  MR. CAMPOS:    CALLS FOR HEARSAY, AND IT IS BEYOND

.
,     22      THE SCOPE OF THE DIRECT, YOUR HONOR.

      23                  THE COURT:     SUSTAINED.

      24      Q     BY MS. BARRERA:      WITHOUT TELLING ME WHAT IT IS THAT

      25      YOU WERE TOLD, ISN'T IT TRUE, MR. REYNOSO, THAT THE




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       1      I NFORMATION RECEIVED BY PAVON-REYES WAS EVERYTHING
~,
       2      HAPPENED VERY QUICKLY THERE.     ISN'T THAT TRUE?

       3                 MR. CAhFP05:   OBJECTION AGAIN, YOUR HONOR.     IT

       4      STILL CALLS FOR HEARSAY, AND IT IS SPECULATIVE.
,~
       5                 M5. BARRERA:     I AM MERELY ASKING HIM --

       6                 THE COURT:     THE OBJECTION IS SUSTAINED.    THE

       7      FORM OF THE QUESTION IS IMPROPER.

       8      Q     BY MS. BARRERA:     MR. LOPEZ ALVAREZ TOLD YOU THAT HE

       9      C ALLED UP ERNESTd FONSECA TO TRY TO GET MR. FONSECA TO

      10      WARN CARD-QUINTERO AT THE AIRPORT.      RIGHt3

      11      A     YES, MA'AM.

      12      Q     AND IN FACT HE TOLD YOU THAT HE SPOKE TO MR. FONSECA.

      13      R IGHT?

      14      A     I BELIEVE HE SPOKE TO SOMEONE WORKING FOR

      15      MR. FONSECA.    I DONUT BELIEVE Hf SAID DIRECTLY TO

      16      MR. FONSECA.
.
.
      17      Q     DO YOU WANT TO LOOK AT -- LET ME FIND THE PAGE -- I

      18      B ELIEVE IT IS PAGE 87.

      19      A     YES, MADAM.
.
,
      20      Q     MAYBE YOU CAN LOOK AT THAT.

      21      A     I HAVE IT.

      22      Q     HE SAID HE SPOKE TO -- TAKE A LOOK AT THAT.
~,
      23      A     YES, MAC AM,

      24      Q     MR. LOPEZ ALVAREZ TOLD YOU THAT HE NOTIFIED DON NETO.

      25      CORRECT?
.
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      1      A    RIGHT.     YES, MADAM.

      2      Q    NOW, YOU KNEW THAT THAT WAS AGAIN A STORY THAT

      3      MR. LOPEZ ALVAREZ WAS MAKING UP, DIDN'T YOU?

      4      A    N0.

      5      Q    YOU DIDN'T REALLY THINK IT WAS POSSIBLE FOR SOMEONE

      6      OF MR. LOPEZ ALVAREZ~S -- WHAT HE CLAIMED TO BE HIS

      7      POSITION -- TO BE SPEAKING WITH THE HEAD BOSS OF THE

      8      PERSONS IN CHARGE OF GUADALAJARA, DID YOU?

      9      A     IT IS POSSIBLE.

     10      Q     I BELIEVE YOUR TESTIMONY IS THAT MR. FONSECA WAS A

     11      M AJOR DRUG TRAFFICKER, AND HE WAS PRACTICALLY RUNNING THE

     12      CITY OF GUADALAJARA.     RIGHT?

.
.    13    ~I A    THAT~S CORRECT.

     14      Q     AND HE HAD A LOT OF MEN WNO WORKED FOR HIM?

     15      A     TRUE.

     16      Q     DO YOU THINK IT IS POSSIBLE FOR ANYONE TO JUST

     17      BASICALLY PICK UP THE PHONE AND SPEAK TO DON NETO?

     18      A     MR. LOPEZ TOLD ME THAT HE WAS A VERY ACCESSIBLE MAN.

     19      Q     MR. LOPEZ ALVAREZ COULD HAVE CALLED DON NETO FROM HIS

     20      CAR, COULDN'T HE3

     21      A     HE COULD HAVE, YES.

     22      Q     HE HAD A RADIO IN HIS CAR.     RIGHT?
.
,
     23      A     YES, MADAM.

     24      Q     AND HE TOLD YOU THAT THE REASON HE WAS CALLING UP DON

     25      NETO WAS BECAUSE DON NETO HAD A RADIO TO CALL CARO-
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       1      QUINTERO?

       2      A     YES, MADAM.

       3      Q     THAT DIDN~T MAKE YOU DOUBT THAT MR. LOPEZ ALVAREZ WAS

-
,      4      MAKING UP STORIES?

       5      A     N0, IT DIDN'T.    THE POLICE ALSO MONITOR THE

       6      f REQUENCIES, AND SO IT MAKES SENSE.

       7      Q     AND IF THEY WOULD HAVE MONITORED HIS FREQUENCIES,

       8      T HEY WOULp HAVE MONITORED MR. FONSECA'S FREQUENCY.

       9      CORRECT?

      10      A     IT IS POSSIBLE.

      11      Q     MR. FONSECA WASN'T EVEN IN TOWN ON FEBRUARY 9.        ISN'T

      12      THAT TRUE?

      13      A     I DONUT KNOW.

      14      Q     YOUR SUBSEQUENT INVESTIGATION HAS NOT DISCLOSED THAT

      15      MR. FOPJSECA WAS NOT IN TOWN ON FEBRUARY 9?

      16      A     I DIDN'T CHECK THAT.
.
,
      17      Q     YOU HAVEN'T    CHECKED IT AT ALL?

      18      A     N0.

      19      Q     EVEN ASSUMING THAT YOU BELIEVE EVERYTHING THAT
^
,
      20      MR. LOPEZ ALVAREZ TOLD YOU, ISN'T IT TRUE, MR. REYNOSO,

      21      THAT WHAT MR. LOPEZ ALVAREZ TOLD YOU WAS THAT HE WASN~T AT

      22      THE HOUSE WHEN ENRIQUE CAMARENA HAD BEEN TORTURED, THAT HE

      23      WAS NOT AT THE HOUSES

      24      A     WELL, HE DID SAY HE WAS PRESENT.     YES.

      25      Q     WHAT HE TOLD YOU WAS HE ARRIVED AT THE HOUSE WITH DON




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        1      NETO FONSECA.     RIGHT?

        2      A    IN THAT PARTICULAR EVENT, YES., MADAM.

        3      Q    WHAT DO YOU MEAN ABOUT THAT PARTICULAR EVENT?         DO YOU

        4      MEAN THAT PARTICULAR STORY?

        5      A    FOR THAT PARTICULAR EVENT HE WAS REFERRING T0.

        6      Q    HE DID TELL YOU, DID HE NOT, THAT HE SHOWED UP TO THE

        7      HOUSE WITH ERNESTO FONSECA?

        8      A    YES, HE DID.

        9      Q    HE TOLD YOU THAT BY THE TIME HE AND MR. FONSECA AND

       10      ALL THE OTHER MEN THAT HE CLAIMED WERE WITH HIM SHOWED UP

       11      THAT ENRIQUE CAMARENA WAS DYING.       RIGHT?

       12      A    HE SAID THAT, YES.

.
,      13      Q    AND THAT IS WHEN HE DESCRIBED THE STANDOFF BETWEEN

       14      E RNESTO FONSECA AND RAFAEL CARD-QUINTERO.        RIGHT?

       15      A     CORRECT.

-
,      16      Q     WHERE MR. FONSECA HAD SLAPPED MR. CARD-QUINTERO

       17      B ECAUSE HE HADN'T HANDLED THE SITUATION PROPERLY?

       18      A     YES.

,
a      i9      Q     THAT IS WHAT HE TOLD YOU, ANYWAY?

       20      A     YES, MADAM.

       21      Q     MR. LOPEZ ALVAREZ DID NOT TELL YOU THAT HE ABDUCTED

.
,      22      OR KIDNAPPED ENRIQUE CAMARENA, DID ME?

       23      A     I NEVER ASKED HIM.

       24      Q     HE DID NOT TELL YOU THAT, DID HE?

       25      A     N0, MADAM.
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        1      Q     AND HE DID NOT SAY THAT HE TORTURED ENRIQUE CAMARENA,

        2      D ID HE?

        3      A     N0, HE NEVER SA1D THAT.

        4      Q     AND HE NEVER TOLD YOU THAT HE INTERROGATED ENRIQUE
 ~,
        5     ~ CAMARENA, DID HE?

        6      A     THAT'S CORRECT. . HE NEVER SAID THAT.

        7      Q     AND HE DID NOT TELL YOU THAT HE KILLED ENRIQUE
...
        8      CAMARENA, DID HE?

        9      A     THAT'S CORRECT.

       10      Q     IN FACT, HE EVEN TOLD YOU THAT HE DID NOT SEE ENRIQUE

       11      C AMARENA?

       12      A     WHEN?

       13      Q     DID HE MAKE THAT STATEMENT TO YOU, THAT HE DID NOT
.
.
       14      EVEN SEE ENRIQUE CAMARENA?

       15      A     I DONUT KNOW WHEN HE SAID THAT STATEMENT.       I DONUT

       16      RECALL.
.~
       17      Q     LET ME TRY TO REFRESH YOUR RECOLLECTION.       DO YOU

        18     REMEMBER MR. LOPEZ ALVAREZ TELLING YOU THAT HIS FRIEND WAS

        19      I N ON THIS, REFERRING TO ENRIQUE CAMARENA, BUT NE WASN~T
.
,
       20      EVEN THERE, THAT LUCK SIMPLY HAD IT THAT HE WASN~T THERE?

       21      A     I BELIEVE HE SAID THAT ON THE VERY FIRST MEETING,

        22      YES, MAC AM.

        23     Q     YOU MENTIONED IN THE BEGINNING THAT AS AN EXPERIENCED

        24      POLICE OFFICER YOU DO NOT ACCEPT A PERSON S WORD JUST

        25      BECAUSE THEY SAY SOMETHING.     RIGHTS




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                                                                         11-158

        1     A     RIGHT.

       2      Q     AND THAT WAS TRUE IN THIS CASE.      RIGHT?

       3      A     N0.

       4      Q     YOU DIDN'T ACCEPT HI5 WORD JUST BECAUSE MR. LOPEZ

       5      ALVAREZ SAID SOMETHING, DID YOU?

       6      A     I WAS JUST LISTENING TO HIM.

        7     Q     AND YOU DID SOME SUBSEQUENT INVESTIGATION.       RIGHT?

       8      A     YES.

       9      Q     IN YOUR SUBSEQUENT INVESTIGATION DID YOU LOOK AT THE

.
,     10      DECLARATIONS OF THE SUSPECTS THAT WERE INTERROGATED IN

      11      MEXICO AND FIND OUT THAT NONE OF THEM IMPLICATED MR. LOPEZ

      12      ALVAREZ AS AN ABDUCTOR?

-~    13                   MR. CAMPOS:   OBJECTION, YOUR HONOR.    COUNSEL IS

      14      GETTING IN ELEMENTS THAT ARE CLEARLY HEARSAY.

      15                   THE COURT:    THE OBJECTION IS SUSTAINED.

      16      Q     BY MS. BARRERA:      DID YOU SPEAK TO ANY OF THE SUSPECTS

      17      THAT WERE ARRESTED IN MEXICO?

       18      A    N0, MA t AM.

      19      Q     HAVE YOU SPOKEN TO ANY OF THE AGENTS THAT HAVE SPOKEN

      20      TO THE SUSPECTS IN MEXICO?

      21      A     N0, MA'AM.

      22      Q     YOU HAVE NOT SPOKEN TO AGENT KUYKENDALL ABOUT THE
.
.
      23       I NTERROGATION?

      24      A     N0, MAC AM.

.~    25      Q     AND YOU HAVE NOT SPOKEN TO AGENT CASTILLO ABOUT THE




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       1      INTERROGATION OF THE SUSPECTS IN MEXICO?

       2      A     N0, MADAM.

       3      Q     WEREN~T YOU 'INTERESTED TO FIND OUT WHETHER ANY OF

       4      THESE INDIVIDUALS HAD INCRIMINATED MR. LOPEZ ALVAREZ?

       5                  MR. CAMPOS:    OBJECTIbN, YOUR HONOR.

       6      A RGUMENTATIVE.

       7                  THE COURT:    THE OBJECTION IS SUSTAINED.

       8                  MS. BARRERA:    YOUR HONOR, COULD I HAVE A MOMENT.

       9                  C PAUSE.~

      10      Q     BY MS. BARRERA:     MR. REYNOSO, DID YOU QO ANY FOLLOW-

      11      U P AT ALL WITH REGARDS TO WHETHER OR NOT MR. LOPEZ ALVAREZ

      12      HAD EITHER ABDUCTED MR. CAMARENA OR BEEN INVOLVED IN THE

.
.     13      C AMARENA AFFAIR AT ALL3

      14      A     MA'AM, MY ORIGINAL APPROACH TO MR. LOPEZ WAS AT A

      15      D IFFERENT LEVEL.

      16      Q     I UNDERSTAND THAT.     MY QUESTION TO YOU I5:     DID YOU

      17      DO ANY INVESTIGATION AT ALL WITH --

      18      A     IF YOU WILL LET ME ANSWER, I WILL EXPLAIN IT.

~,    19      Q     GO AHEAD.

      ao      A     N0.   AT THAT TIME I DID NOT FOLLOW UP BECAUSE I WAS

      21      I NVOLVED IN THE OTHER INVESTIGATION, BUT THE FACTS WERE

      22      COMING OUT AS MR. LOPEZ WAS TELLING ME.

      23      Q     SO YOUR ANSWER TO MY QUESTION -- I AM SORRY.

      24      A     I DID RECORD IT ON REGULAR REPORTS, AND OTHER AGENTS

-,    25      CHECKED IT OUT FOR ME.      I AM NOT THE ONLY AGENT ON THIS
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  ~ r~                                                                       11-160

           1      I NVESTIGATION.

           2      Q      I UNDERSTAND THAT.   BUT MY QUESTION TO YOU I5:     DID

           3      YOU DO ANY INVESTIGATION WHATSOEVER TO TRY TO CONFIRM OR

.
.          4      TO REJECT ANY OF THE STATEMENTS THAT MR. LOPEZ ALVAREZ

           5      M ADE TO YOU?

           6                 MR. CAMPOS:     ASKED AND ANSWERED, YOUR HONOR.       HE

.          7      SAID WHAT HE DID.
.
           8                 MS. BARRERA:     IT REQUIRES A YES OR NO ANSWER,

           9      YOUR HONOR, WHICH I HAVE NOT GOTTEN.

          10                  THE COURT:    RESTATE YOUR QUESTION.

          11      Q      BY M5. BARRERA:    MR. REYNOSO, HAD YOU THEN OR HAVE

          12      YOU NOW DONE ANY INVESTIGATIQN, ANY FOLLOW-UP

.
.         13      I NVESTIGATION, TO TRY TO CONFIRM OR TO REJECT ANYTHING

          14      THAT MR. LOPEZ ALVAREZ TOLD YOU DURING YOUR MEETINGS WITH

          15      HIM?

          16      A      OTHER AGENTS HAVE DONE THAT, YES, MADAM.
.ti
          17      Q      BUT YOU HAVE NOT DONE THAT?

          18      A      N0, MADAM.

          19                  MS. BARRERA:    THANK YOU.   N0 FURTHER QUESTIONS.

          20

          21

          22

          23

          24

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          1                   THE COURT:     ANY MORE QUESTIONS OF THIS WITNESS?

          2                   MS. BROOKS:     I HAVE ONE, YOUR HONOR, I'D LIKE TO

          3      CLEAR UP.
.
.         4                   THE COURT:     ALL RIGHT.

          5                   M5. BROOKS:     THANK YOU.

          6                                CROSS EXAMINATION

          7      BY MS. BROOKS:

          8      Q    SIR, I BELIEVE YOU TESTIFIED -- THE PROSECUTOR ASKED

          9      YOU A QUESTION EARLY IN YOUR DIRECT TESTIMONY ABOUT
.
~        10      WHETHER MR. LOPEZ SAID THAT THE TWO INDIVIDUALS HE WAS

         11      ARRESTED WITH WERE INVOLVED IN THE KIDNAPPING.        DO YOU

         12      REMEMBER THAT?

         13      A     YES, MA'AM.

         14      Q     AND YOUR ANSWER WAS THAT HE SAID YES, THEY WERE THE

         15      ACTUAL KIDNAPPERS?

         16      A     THEY WERE A PART OF THE KIDNAPPERS.

         17      Q     BUT YOU DIDN'T HAPPEN TA TELL US WHO THOSE TWO

         18      I NDIVIDUALS WERE.
.~       19      A     N0.     HE NEVER DID MENTION ANY NAMES TO ME.     N0,

         20      M A'AM.
 a
         21      Q     QKAY.    DO YOU KNOW FQR A FACT -- YOU ARE NOT TALKING
.
.        22      ABOUT MR. VERDUGO OR MR. FELIX, ARE YOU?        I MEAN, YOU KNOW

         23      THAT HE WASN'T ARRESTED WITH EITHER OF THESE GENTLEMEN?

         24      A     I KNOW THAT, YES, MA'AM.
.
.        25      Q    OKAY.     THEY WERE TOTALLY DIFFERENT PEOPLE DOWN IN




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          1      MEXICO THAT HE WAS ARRESTED WITH?

          2      A     I BELIEVE S0, YES.

          3      Q     YOU DIDN~T MEAN TO LEAVE US WITH THE INFERENCE THAT
.
r         4      YOU WERE TALKING ABOUT MR. VERDUGO OR MR. FELIX?

          5      A     N0, MA'AM.

          6                    MS. BROOKS:    THANK YOU.

          7                    THE COURT:    ANY OTHER QUESTIONS?

          8                    MR. TaRLOW:    I'D LIKE TO TAKE UP A MATTER WITH

          9      THE COURT AT SOME TIME BEFORE -- I HAVE NO QUESTIONS.
..;      10                    THE COURT:    THAT IS ALL I ASKED.

         11                    DO YOU HAVE ANY REDIRECT EXAMINATION?

         12                    MR. CAMPOS:    YES, YOUR HONOR.

         13                            REDIRECT EXAMINATION

         14      BY MR. CAMPOS:

         15      Q     NOW, SPECIAL AGENT REYNO50, WHEN DEFENDANT LOPEZ TOLD

         16      YOU THAT SPECIAL AGENT CAMARENA LASTED 24 HOURS DURING HIS

         17      TORTURE, HE DIDN'T GIVE YOU ANY INFORMATION AS TO WHEN

         18      THAT TORTURE BEGAN, DID HE?

         19      A     N0, SIR.
         20      Q     NOW, SIMILARLY -- IN FACT, YOU WERE ASKED BY COUNSEL

         21      FOR THE DEFENDANT LOPEZ ABOUT WHEN YOU LEARNED -- ABOUT

 n       22      W NEPI LOPEZ LEARNED THAT THE DEFENDANT -- OR THAT SPECIAL

         23      AGENT CAMARENA HAD DIED, WHICH WAS ON THE 9TH.        DO YOU

         24      REMEMBER SHE ASKED YOU ABOUT THAT?

         25      A     YES, SIR.




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          1      Q    QKAY.     ANQ IN FACT DIDN'T YOU TESTIFY THAT YOU

          2      LEARNED ABOUT THAT SITUATION FROM DEFENDANT LOPEZ'S POST-

          3      ARREST STATEMENT?

          4      A    THAT IS CORRECT, SIR.

          5      Q    AND THAT INFORMATION WA5 ONLY THAT HE LEARNED THAT

          6      CAMARENA HAD DIED, ANQ HE LEARNED THAT ON THE 9TH?

          7      A    YES, SIR.      NE STATED IN HIS POST-ARREST STATEMENT

          8      THAT GONZALEZ-GONZALEZ HAD TOLD HIM THAT CAMARENA HAD BEEN

          9      K ILLED BY THE PEOPLE.

         10      Q    HAD BEEN KILLED, BUT HE DIDN'T GIVE A TIME WHEN HE

         11      N AD BEEN KILLED?

         12      A    N0, SIR.     HE NEVER SAID THE TIME OR THE DATE.

         13                   MS. BARRERA:     OBJECTION.    NO FOUNDATION FOR THIS

         14      AGENT TO TESTIFY REGARDING THIS, YOUR HONOR.          I DO NOT

         15      BELIEVE HE WAS PRESENT.

         16                   THE COURT:     THE OBJECTION IS SUSTAINED, AND THE

         17      ANSWER MAY BE STRICKEN.

         18                   MR. CAMPOS:     YOUR HONOR, I ONLY SOUGHT TO

         19      CLARIFY A POINT.

         20                   THE COURT:    THE OBJECTION IS SUSTAINED.

         21                   MR. CAMPOS:    VERY WELL.     I WILL MOVE ON.

.~       22      Q    YOU WERE ALSO ASKED ABOUT WHETHER SPECIAL AGENT

         23      CAMARENA HAD GIVEN VISAS TO MEMBERS OF THE MEXICAN FEDERAL

         24      J UDICIAL POLICE.    IN FACT, ISN'T THAT A COMMON COURTESY

         25      THAT DEA SOMETIMES DOES FOR OTHER OFFICIALS THAT THEY WORK




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         1     WITH IN FOREIGN COUNTRIES?

         2     A      YES, SIR, IT IS A VERY COMMON PRACTICE FOR OTHER

         3     FOREIGN OFFICIALS TO OBTAIN VISAS FOR ENTRY INTO THE

        4      U NITED STATES.

         5     Q      NOW, DEFENDANT LOPEZ TOLD YOU THAT HE SPOKE WITH DON

        6      NETO, THAT IS ERNESTO FONSECA, ON VARIOUS OCCASIONS, DID

         7     HE NOT?

        8      A      YES, SIR.

         9     Q      IN FACT, DIDN'T HE TELL YOU THAT HE HAD DON NETO'S

       10      PERMISSION TO BE UP IN LOS ANGELES TO BE INTERACTING WITH

        11     YOU?

        12      A     YES, SIR.

        13     Q      AND ON ANOTHER OCCASION DIDN'T HE TELL YOU THAT HE

        14     H AD OBTAINED DON NE70'S PERMISSION TO COME BACK AND

        15     CONTINUE TALKING WITH YOU?

        16      A     MR. LOPEZ TOLD ME THAT WHATEVER BUSINESS NE HAD TO

        17     TAKE UP WITH ME HE HAD TO TAKE UP WITH DON NETO AND YJITH

        18      CARD FIRST, AND HE HAD OBTAINED THEIR PERMISSION TO

+y      19     CONTINUE NEGOTIATING WITH ME.

        20     Q      SO AS A MEMBER OF HIS ORGANIZATION, HE ~1AD ACCESS TO

        21     DON NETO, ERNESTO FONSECA.         CORRECT?

       22      A      CORRECT.

        23                    MS. BARRERA:    OBJECTION TO THE FORM OF THE

       24      QUESTION, AND I MOVE THAT THE ANSWER BE STRICKEN.

       25                     THE COURT:     WHAT IS THE OBJECTION TO THE FORM OF




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.
        1      THE QUESTION?

        2                 MS. BARRERA:       THE OBJECTION, YOUR HONOR, IS THAT

        3      MR. CAMPOS SAID THAT HE HAD AS IF IT WERE A FACT RATHER

        4      THAN HE SAID, AND THIS AGENT HAS TESTIFIED HE HAS DONE NO

        5      I NVESTIGATION.      HE IS BASING MIS TESTIMONY --

        6                     THE COURT:    ALL RIGHT.
.
,
        7                     YOU KEEP DOING THAT, COUNSEL.      PHRASE YOUR

        8      QUESTIONS PROPERLY.

        9                     MR. GAMPOS:    I WILL CONCENTRATE EVEN HARDER.

       10      Q     IN FACT, DEFENDANT LOPEZ TOLD YOU THAT HE HAD

       11      OBTAINED PERMI55ION FROM ERNESTO FONSECA TO COME UP TO LOS

       12      A NGELES A SECOND TIME?

       13      A     YES, HE DID SAY THAT.

       14      Q     AND HE TOLD YOU, DID HE NOT, THAT HE HAD OBTAINED

       15      C ARO-QUINTERO'S PERMISSION AS WELL?

       16      A     YES, HE DIQ SAY THAT.

       17      Q     NOW, DEFENDANT LOPEZ-ALVAREZ TOLD YOU AT ONE POINT

       18      THAT WE, THAT IS, "WE" MEANING SEVERAL PEOPLE BESIDES

       19      HIMSELF, HEATED IRON PIPES?

       20                     THE COURT:    COUNSEL, YOU HAVE COVERED THIS ON

       21      DIRECT EXAMINATION.

       22                     MR. CAMPOS:    VERY WELL, YOUR NONQR.    I WILL MOVE

       23      ON.

       24      Q     YOU WERE ALSO TOLD BY DEFENDANT LOPEZ, AS BROUGHT UP

       25      BY HIS COUNSEL, ABOUT MEMBERS OR SOME INDIVIDUALS SNOWING




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         1     B ADGES TO SPECIAL AGENT CAMARENA.        IS THAT CORRECT?

         2     A     RIGHT, SIR.

         3     Q     YQU DON'T HAVE ANY INFORMATION IN YOUR FILES THAT
.
,       4      I NDICATES THAT ISN'T TRUE, DO YOU?

         5     A     N0, I DON'T.

        6                     MR. CAMPOS:    MAY I HAVE A BRIEF MOMENT, YOUR

         7     HONOR?

         8                    CDISCUSSION OFF THE RECORD.)

         9                    MR. CAMPOS:    NOTHING FURTHER, YOUR HONOR..

       to                     MS. BARRERA:    BRIEFLY, YOUR HONOR.

       11                              RECROSS EXAMINATION

       12      BY M5. BARRERA:

~,      13     Q     WHEN MR. LOPEZ—ALVAREZ TOLD YOU THAT HE MAD

       14      PERMISSION TO HAVE HIM SPEAK TO YOU FROM DON NETO AND

        15     CARD—QUINTERO, YOU KNEW THAT THOSE TWO INDIVIDUALS WERE IN

        16     P RISON IN MEXICO.      CORRECT?

        17     A     YES, MA'AM. .

        18     Q     AND NOBODY FOLLOWED MR. LOPEZ ALVAREZ TO SEE IF IN
~,      19     F ACT HE WOULD GO TO THE PERSON TO GO TALK TO THESE PEOPLE.

       20       I SN'T THAT CORRECT?

       21      A     THAT'S CORRECT.

       22      Q     AND IN FACT YOU FIGURED HE REALLY WASN'T TALKING TO

       23      THESE PEOPLE.       ISN'T THAT TRUE?

       24      A     N0.

       25      Q     SIR, IT IS A COMMON PRACTICE FOR DEA AGENTS TO GIVE




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.,
        1      LIFELONG VISAS TO FEDERAL OFFICIALS OF ANOTHER COUNTRY.

        2      I S THAT CORRECT?

        3      A     DEA DOES NOT GIVE VISAS.        THE STATE DEPARTMENT DOES.

        4      Q     OKAY.     I THOUGHT YOUR ANSWER TO MR. CAMPOS WAS YES,

        5      I T IS A COMMON PRACTICE FOR DEA TO DO THAT.          IS THAT

        6      I NCORRECT?

        7      A     DEA ASSISTS INDIVIDUALS TO OBTAIN VISAS.          I DIDN'T

        8      SAY THEY GAVE THE VISAS, MA'AM.

        9      Q     DEA CANNOT DO THAT?

       10      A     THEY CAN ASSIST SOMEBODY TQ OBTAIN VISAS.

       11      Q     OKAY.     SO ENRIQUE CAMARENA COULD NOT HAVE GIVEN A

       12      LIFELONG VISA TO ANYONE.         CORRECT?
,
~
       13      A     N0, BUT HE COULD ASSIST SOMEBODY IN GETTING ONE.

       14      Q     BUT YOU SAID HE COULDN'T DO IT.        RIGHT?

       15      A     THAT'S CORRECT.

       16      Q     AND EVEN IF -- LfT'S TALK ABOUT ASSISTING SOMEONE IN

       17      GETTING A VISA.       IS IT A COMMON PRACTICE TO ASSIST THE

       18      GETTING OF LIFELONG VISAS TO CONFIDENTIAL INFORMANTS AS

       19      WELL A5 60VERNMENT OFFICIALS?

       20      A     I DON'T KNOW THAT.

       21                     MR. CAMPOS:    YOUR HONOR, I AM GOING TO OBJECT ON

       22      RELEVANCE.

       23                     M5. BARRERA:    THAT WAS PART OF HIS TESTIMONY,

       24      YOUR HONOR.

       25                     THE COURT:     WELL, IT IS STILL NOT VERY RELEVANT




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          1     TO ANYTHING.

          2                    MS. BARRERA:    YOUR HONOR, IT IS IN DIRECT

          3     R ESPONSE TO THEIR QUESTION OF IT BEING A COMMON PRACTICE.
..,
         4                     THE COURT:     IT HAS ALREADY BEEN COVERED BY BOTH

          5     OF YOU.

         6                     M5. BARRERA:    THANK YOU.   I WILL MOVE ON.
.
,
          7     Q     WITH REGARDS TO MR. LaPEZ ALVAREZ NOT GIVING YOU ANY

          8      INDICATION OF WHEN THE TORTURE OF ENRIQUE CAMARENA BEGAN

          9     OR ENDED, THAT WAS JUST ANOTHER EXAMPLE OF THE SCARCITY OF
 ,
 ~
         10     DETAILS THAT HE WAS GIVING YOU WITH REGARD TO THIS CASE.

         11      I SN'T THAT TRUE?

         12      A    MA'AM, AGAIN I WAS NOT QUESTIONING MR. LOPEZ.            I WAS

         13      U NDERCOVER.     HE WAS VOLUNTEERING INFORMATION, AND I COULD

         14      NOT ASK HIM TO A CERTAINTY THAT THIS IS EXACTLY WHAT

         15     HAPPENED.       N0.
'~
         16     Q     IT'S BEEN MADE CLEAR THAT YOU WERE NOT INTERROGATING.

         17     MY QUESTION IS:       THAT WAS JUST ANOTHER EXAMPLE OF TFiE

         18      SCARCITY OF DETAILS HE WAS GIVING YOU.            ISN'T THAT TRUE?

         19                    M R. CAMPOS:    ASKED AND ANSWERED, YOUR HONOR.

         20                    THE COURT:     YES, IT HAS BEEN.

         21                    MS. BARRERA:     NOTHING FURTHER.    THANK YOU, YOUR

         22     HONOR.

         23                    THE COURT:     ALL RIGHT.

         24                    YOU MAY STEP DOWN..

         25                    THE WITNESS:     THANK YOU, YOUR HONOR.




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        1                     THE COURT:    I WILL REMIND THE JURY AGAIN THAT

        2      THE TESTIMONY OF THIS WITNESS CONCERNING WHAT MR. LOPEZ

        3      SAID TO MIM, THE STATEMENTS MADE TO NIM BY MR. LOPEZ, BOTH

        4      DURING DIRECT AND CROSS-EXAMINATION IS LIMITED FOR

        5      CONSIDERATION BY YOU TO MR. LOPEZ.         THAT IS, IT MAY NOT BE

        6      CONSIDERED AS EVIDENCE AGAINST THE OTHER TWO DEFENDANTS.

        7                     THE JURY MAY BE EXCUSED FOR OUR AFTERNOON

        8      RECESS.

        9                 (THE JURY LEFT THE COURTROOM AND
..
       10                     P ROCEEDINGS IN OPEN COURT.

       11                     THE COURT:    YOU HAVE SOMEThiING YOU WISH TO TAKE

        12     U P WITH THE COURT?
r,
        13                    MR. TARLOW:    WELL, YOUR HONOR TOOK UP, I

       14      BELIEVE, MOST OF THE DIFFICULTY I WAS HAVING.          I WAS

        15     T RYING TO BE SURE THAT NOTHING THAT THE WITNESS SAID IS

        16      ADMITTED AS TO MY CLIENT 50 THAT I WOULDN'T HAVE A NEED TO

        17     CRO55-EXAMINE.       I DON'T UNDERSTAND THAT ANYTHING WAS.

        18                    THE COURT:    WELL, I THINK THE JURY HAS BEEN Wf LL
.
.       19      I NSTRUCTED ON THAT.

        20                    MR. TARLOW:    BUT, YOU SEE, THERE IS ANOTHER PART
s

        21      OF THE TESTIMONY W~1ERE HE STARTS TAKING THINGS THAT

        22     MR. LOPEZ SAID, AND HE ASKED HIM ABOUT HIS INVESTIGATION

        23     AND WHAT HE FOUND, AND WELL, I FOUND OUT THESE PEOPLE

        24      CONFESSED AND THAT KIND OF THING, WHICH I OBJECTED TO AND

        25      W AS OVERRULED.     BUT I WANT TO BE SURE THAT THEY ARE
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         1     I NSTRUCTED THAT THAT DOESN'T HAVE ANYTHING TO DO WITH US,

        2      E ITHER.     I DON'T KNOW WHY IT COULD COME IN ANYWAY, BUT

        3      ASSUMING THAT IT COMES IN FOR SOME PROPER PURPOSE FOR

        4      MR. LOPEZ TO SEE IF HE IS MAYBE NOT TELLING THE TRUTH, IT

        5      STILL DOESN'T CONCERN US IN OUR EXAMINATION, AND IT SEEMS

        6      TO ME I HAVE --

        7                     THE COURT:     WELL, I AM SATISFIED THAT ALL THE

        8      TESTIMONY GIVEN IN NO WAY IMPLICATES YOUR CLIENT IN

        9      A NYTHING.      I DONUT KNOW WHAT YOUR CONCERN I5.

       10                     M R. TARLOW:    WELL, CAN WE JUST TELL THE JURY

       11      THAT?

       12                     THE COURT:     I AM N07 GOING TO TELL THE JURY

       13      THAT.      THAT IS NOT MY --

       14                     MR. TARLOW:     N0, NOT THAT IT DOESN~T IMPLICATE

       15      H IM, THAT IT IS NOT GOING TQ BE USED.         NOT WHAT MR. LOPEZ

       16      SAID, BUT ANYTHING ELSE THAT HE DID --            TNAT THIS WITNESS

       17      D ID OR SAID.

       18                     THE COURT:     THE JURY HAS BEEN FULLY INSTRUCTED.

       19       I AM SATISFIED THAT THE INSTRUCTION IS ADEQUATE.
       20                     MR. PANCER:     I HAVE ANOTHER MATTER, YOUR HONOR.

       21                     THE COURT:     WHAT IS IT3
.,     22                     MR. PANCER:     WE RECEIVED LAST NIGHT JENCKS ON A

       23      N UMBER OF WITNESSES.         I HAVEN'T HAD A CHANCE TO GO THROUGH

       24      I T.    I DON'T KNOW FiOW MANY WITNESSES WE RECEIVED JENCKS ON

       25      LAST NIGHT.       I UNDERSTAND, YOUR FiONOR, THAT THERE IS NO
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        1      R EQUIREMENT IN TERMS OF PROVIDING JENCKS, BUT I WOULD ASK

        2      THAT THE GOVERNMENT STICK BY WHAT I THOUGHT WAS THE

        3      COURT'S GENERAL ORDER THAT THE GOVERNMENT GIVE US 48

        4      HOURS' NOTICE BEFORE A WITNESS IS CALLED.

        5                 THE REASON I RAISE THIS NOW IS THAT I WAS TOLD

        6      THAT THE GOVERNMENT MAY GET TO A WITNESS BY THE .NAME OF
.
.
        7      B ROWN TODAY.     YOUR HONOR, I NEVER HEARD OF THAT PERSON IN

        8      M Y LIFE UNTIL LAST NIGHT WHEN I RECEIVED SOME DISCOVERY

        9      AND FLIPPED THROUGH IT.         I NAVEN'T READ THE DISCOVERY.      I
.
.
       10      HAVE NO IDEA WHAT IT IS ABOUT.         I OBJECT TO THAT WITNESS

       11      BEING CALLED NOW.       WE MAY NAVE IN LIMINE MOTIONS

       12      CONCERNING THAT WITNESS'S TESTIMONY, YOUR HONOR, AND WE

       13      NEED 48 HOURS AT LEAST AS TO THE NAME OF A WITNESS.            I

       14      HAVE NO IDEA WHO THIS PERSON IS AND WHAT THEY WOULD

       15      TESTIFY T0.

       16                     THE COURT:    ARE YOU CALLING SUCH A WITNESS?

       17                     MR. GURULE:    WE MAY, YOUR HONOR, IF WE GET TO

       18      THAT POINT.       WE HAVE TWO ADDITIONAL WITNESSES THAT WE

       19      I NTEP~D TO CALL WHOSE JENCKS NAS BEEN DISCLOSED FOR, I

       20      WOULD THINK, SINCE THURSDAY OR FRIDAY OF LAST WEEK.

       21                     THE COURT:    WHEN DID YOU DISCLOSE THE Jf NCKS ON
a~     22      BROWN?

       23                     MR. GURULE:    WE CALLED MR. PANCER YESTERDAY AT

       24      NOON.    THE ENTIRE JENCKS ON NIM CONSISTS, BESIDES HIS

       25      PRIOR CONVICTION, PROBABLY 15 PAGES, 15 PAGES OF REPORTS.
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                                                                            11-172

         1      WE MAY OR MAY NOT GET TO HIM, JUST DEPENDING ON WHAT

         2      HAPPENS WITH THE LAST TWO WITNESSES.        IF WE DON'T, THEN WE

         3      W ILL GET TO HIM TOMORROW, AND I THINK THAT WOULD GIVE
 ,-
         4      DEFENSE COUNSEL PLENTY OF TIME.

         5                     THE ONLY OTHER THING I WOULD ADD, YOUR FiONOR, IS

         6      THAT WE ARE TRYING TO FACILITATE AND DISCLOSE A GREATER

         7      AMOUNT OF THE JENCKS MATERIAL SO THAT WE DON'T RUN INTO

         8      THESE PROBLEMS.       WHAT WE DID YESTERDAY IS WE DISCLOSED

         9      P ROBABLY TEN WITNESSES, WE THINK WITNESSES THAT WILL TAKE

        10      US UP INTO THE END OF THE WEEK AND MAYBE EVEN INTO THE

        11      F OLLOWING WEEK.

        12                     BUT THAT IS THE PLAN, THAT IS THE INTENTION 50
 .~
        13      THAT WE DON'T RUN INTO THESE PROBLEMS WHERE WE ARE. MOVING

        14      ALONG FASTER THAN WE THOUGHT, AND THEN WE FIND OURSELVES

        15      I N THE POSITION WHERE WE ARE CALLING A WITNESS AN
.
,
        16      AFTERNdON OR A DAY EARLIER THAN WE THOUGHT WE WOULD BE.

        17                     BUT AS OF YESTERDAY WE HAVE DISCLOSED AT LEAST

        I6      TEN ADDITIONAL WITNESSES THAT WILL TAKE US THROUGH THE END

         19     OF THE WEEK.
        20                     MR. PANCER:   TOMORROW THEY INTENDED TO CALL, AS

        21       I UNDERSTAND IT, A NUMBER OF WITNESSES WHOSE JENCKS I GOT

 r^     22      LAST NIGHT.       MS. LEYVA SAID SHE GOT HER FIRST DELIVERY OF

        23      D ISCOVERY YESTERDAY AT 5:00 O'CLOCK.        I CAME UP AS SOON AS

        24       I GOT OUT OF THE COURT TO GET THAT DISCOVERY, BUT I DID

'''     25      NOT GET IT UNTIL LAST NIGHT, YOUR HONOR.
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                                                                               11-173

         1                 NOW, I WOULD REQUEST THAT THE GOVERNMENT BE

         2      F ORCED TO ADHERE TO THE 48-HOUR RULE.

         3                 I WAS ABLE TO GET READY FOR ONE WITNESS, AND I

         4      WOULD BE GLAD TO TELL THE GOVERNMENT WHO THAT IS.             I CAN

         5      P ROBABLY GET READY FOR ANOTHER WITNESS THAT WE HAVE SOME

         6      EXPECTATION MIGHT BE HERE TOMORROW, ALTHOUGH WE DIDN~T GET

         7      N OTICE; BUT I WOULD ASK THAT THIS COURT ENFORCE THAT 48-

         8      HOUR RULE BECAUSE IT SEVERELY PREJUDICES US, YOUR HONOR,

         9      I F WE DO NOT.
.r
        10                 MR. GURULE:       WE DISCLOSED IT.     WE CALLED

        11      MR. PANCER YESTERDAY AT NOON.          IF WE HAVE TO CALL ANY OF

        12      THESE ADDITIONAL WITNESSES TOMORROW, WE THINK THAT IF IT

        13      I S NOT WITHIN THE 48 hi0UR5 LIMIT, IT WILL BE WITHIN 36

        14      HOURS OF THE 48-HOUR LIMIT.           iF WE END UP CALLING BROWN

        15      TOMORROW MORNING AT 9:30, AND WE NAVE CALLED HIM AT NOON
r_~
        16      TO LET HIM KNOW, WITHIN A COUPLE OF HOURS EITHER WAY IT IS

        17      NOT A SITUATION WHERE WE ARE DISCLOSING IT AN HOUR BEFORE

        18      W E ARE PUTTING HIM ON THE STAND.
.
,
        19                     MR. PANCER:   EXCUSE ME, YOUR HONOR.

        20                     THE COURT:    JUST A MOMENT.    GIVE THEM THE

        21      MATERIAL 48 HOURS BEFORE THE WITNESS TESTIFIES.

        22                     MR. GURULE:    WE ARE TRYING T0.    WE WILL, YOUR

        23      HONOR.

        24                     THE COURT:    DO IT.
~
,
        25                     MR. GURULE:    WE HAVE ATTEMPTED TO DO THAT, AND
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                                                                             11-174

        1      WE WILL TRY HARDER, YOUR HONOR.

        2                   THE COURT:      AL50 AT THE CLOSE OF TODAY I WANT

        3      YOU TO NOTIFY THEM WHICH WITNESSES YOU INTEND TO CALL

        4      T OMORROW.

        5                   MR. GURULE:      WE WILL.

        6                   M R, PANCER:     I WOULD ASK THAT BROWN NOT BE

        7      CALLED TODAY, YOUR HONOR, AND NOT TOMORROW AND AT LEAST

        8      NOT UNTIL THE TIME WE HAVE HAD THE 48 HOURS' NOTICE.

        9                     I WOULD SAY, YOUR HONOR, THAT I ASKED MR. KUEFiL
.
.
       10      WHEN ME CALLED ME, ''WHO IS IN THE DISCOVERY?"           AND HE

       11      SAID, "I DON'T KNOW.         I JUST DELIVER IT.~~    AND I

       12      U NDERSTAND THAT HAS BEEN THEIR POSITION.           THE AGENTS WON'T

       13      TELL US.       NO ONE TOLD ME.    I DIDNtT KNOW --

       14                     THE COURT:    WELL, YOU. HAVE HAD THIS SINCE LAST

       15      NIGHT.     WHEN DID YOU FIND OUT THIS WITNESS WAS GOING TO

       16      TESTIFY?

       17                     MR. PANCER:    BROWN THEY TOLD ME TODAY AT THE

       18      LAST BREAK.       SO PROBABLY AT 1:30 HE SAID THEY MAY GET TO

       19      HIM TODAY.

       20                     THE COURT:    ALL RIGHT.   HE SAID THAT THAT

       21      MATERIAL IS VERY SNORT.          WHY CAN'T YOU ACQUAINT YOURSELF

       22      W IThi IT.     IF YOU CAN DEMONSTRATE TO ME THERE IS A PROBLEM

       23      THAT YOU NEED TIME FOR, THEN I WILL CONSIDER IT, BUT I AM

       24      SIMPLY NOT GOING TO DO IT BECAUSE THERE WASN'T QUITE 48
,
-      25      MOORS UNLESS THERE IS SOME PREJUDICE.
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r.




                                                                            11-175

        1                  MR. PANCER:       WELL, YOUR HONOR, NE AT LEAST CAN'T

        2      TESTIFY TODAY, I ASSUME.

        3                  THE COURT:        WELL, HE MAY TESTIFY TODAY UNLESS
.
w
        4      YOU CAN TELL ME WHY NOT.

        5                  MR. PANCER:        YOUR HONOR, I HAVEN'T READ THE

        6      D ISCOVERY.

        7                     THE COURT:     WELL, READ IT.

        8                     MR. PANCER:     THEY ARE ABOUT TO CALL ANOTHER

        9      W ITNESS.      I HAVE GOT TO PAY ATTENTION, YOUR HONOR.        I

       10      CAN'T WITHDRAW FROM THIS TRIAL WHILE WITNESSES ARE

       11      TESTIFYING Td READ DISCOVERY.

       12                     THE COURT:     YOU SAID YOU HAD THIS MATERIAL
.
,
       13      YESTERDAY.

       14                     MR. PANCER:     YOUR HONOR, 50 LAST NIGHT I

       15      PREPARED FOR GOMEZ ESPANA, PREPARED FOR SKIP HOLLESTELLE.
.
,                                                                             THEY
       16      W E HAVE BEEN WORKING AROUND THE CLOCK, YOUR HONOR.

       17      D IDN'T GIVE Mf AN ORDER OF WITNESS LIST.          I WAS ADVISED

       18      THAT BROWN WOULD BE CALLED BECAUSE I THOUGHT BASED ON HOW

       19      THEY WERE PRESENTING THE CASE THAT GOMEZ ESPANA WOULD BE

       20      CALLED, 50 I AM READY FOR THAT WITNESS.           LET THEM CALL
s
       21      MR. ESPANA.

'~     22                     THE COURT:     ALL RIGHT.   TAKE A LOOK AT THAT

        23     MATERIAL DURING THE RECESS, AND LET ME KNOW IF THERE IS

        24      ANYTHING IN IT THAT YOU THINK REQUIRES ADDITIONAL TIME.

'
'      25                     M R. TARLOW:    YOUR FiONOR, I REQUEST AN
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                                                                              11-176

         1      E VIDENTIARY RULING FROM THE COURT ABOUT THIS NEXT SERIES

         2      OF WITNESSES AND ASK THE COURT TO THINK ABOUT IT.            I GOT

         3      THE SAME DISCOVERY, WHICH IS ABOUT A THOUSAND OR 1500

         4      P AGES.   I HAVE SORTED IT OUT.       IT SEEMS TO BE ABOUT

         5      MR. VERDUGO AND HIS MARIJUANA DEAL, WHICH HAS NOTHING TO

         6      DO WITH MY CLIENT.       IF THAT IS ADMITTED FOR SOME LIMITED

         7      PURPOSE, I WOULD REQUEST THAT THERE BE AN INSTRUCTION, A

         8      R ULING, SO I CAN FIGURE OUT WHAT TO DO WITH THESE TEN

         9      W ITNESSES AND WHAT TO DO WITH THIS 1500 OR THOUSAND PAGES
.
,
        10      OF MATERIAL.

        11                     I AM NOT SURE WHAT MR. VERDUGO'S MARIJUANA

        12      DEALINGS HAVE TO DO WITH MY CLIENT.            MAYBE THEY PROVE AN

        13      E NTERPRISE ALLEGATION.        THAT IS WHAT THE GOVERNMENT IS

        14      OFFERING IT FOR, AND IF THAT IS WHAT THEY WANT TO USE IT

        15      FOR, LET THE COURT TELL THE JURY ABOUT THAT, AND I CAN

        16      WORK ON SOMETHING ELSE.

        17                     B UT WE HAVE GOT TO AT LEAST HAVE SOME IDEA OF

        18      WHAT WE ARE GOING TO NAVE THIS EVIDENCE FOR.

        19                     M5. LEYVA:     WE WOULD JOIN IN MR. TARLOW'S

        20      ABJECTION, YOUR HONOR.

        21                     MR. GURULE:    TFiE GOVERNMENT IS BEING PLACED IN

        22      THE POSITION OF HAVING TO TELL THE DEFENSE AT70RNEYS WHAT

        23      ITS WITNESSES ARE GOING TO SAY BEFORE THEY TAKE THE STAND.

        24                     M R. TARLOW:    YOUR HONOR --
.
,       25                     MR. GURULE:     YOUR HONOR, I KNOW OF NO CASE




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                                                                             11-177

         1      AUTHORITY --

         2                 MR. TARLOW:        I AM NOT SAYING --

         3                 MR. GURULE:        -- NO LEGAL PROPOSITION REQUIRING

         4      U5 TO DO THAT.       WE HAVE GIVEN THEM THE JENCKS FOR THE

         5      E NTIRE REST OF THE WEEK AS OF YESTERDAY, YOUR HONOR.

         6      THERE ARE GOING TO BE WITNESSES TAKING THE STANp ON
-~              FRIDAY, AND THEY GOT THE JENCKS MONDAY NIGHT.           I THINK
         7

         8      THAT IS MORE THAN FAIR.

         9                     THE ONLY THING THAT I WOULD ADD IN ADDITION IS

        10      THAT EACH OF THESE WITNESSES THAT WERE DISCLOSED YESTERDAY

        11      WERE ALL CONFIDENTIAL INFORMAWT WITNESSES, AND AGAIN IT IS

        12      THAT CONCERN THAT THE GOVERNMENT HAS RELATIVE TO THEIR

        13      SAFETY AND SECURITY THAT IS CAUSING THE GOVERNMENT t0 BE

        14      SO CAUTIOUS RELATIVE TO DISCLOSING THEIR NAMES, THEIR

        15      I DENTITIES, ET CETERA.
.
.       16                     THE COURT:     WE NAVE COVERED THIS IN A MOTION.

        17                     M R. TARLOW:   THAT WAS FOR A LIMITED PURPOSE.

        18      THE GOVERNMENT SAYS THEY WANT TO USE THIS TO PROVE THE
,
~               ENTERPRISE.       NOW, IF THAT IS 50, I THINK THE JURY SHOULD
        19
        20      BE TOLD.

        21                     1 DONUT WANT THE GOVERNMENT TO TELL ME ANYTHING.
~-,     22      I AM SAYING THAT I HAVE LOOKED AT THESE 1500 PAGES.           I

        23      HAVE STUDIED THEM, AND IT APPEARS TO ME THAT 'THEY ARE

        24      OFFERING IT AS TO MR. YERDUGO'S MARIJUANA DEAL.           I AM JUST
-,      25      MAKING A RELEVANCY ABJECTION IN CLAIMING THAT IF IT IS




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                                                                           11-17$

        1      BEING PUT IN FOR SOME LIMITED PURPOSE, TELL THE JURY.

        2                 MR. GURULE:       IT IS BEING INTRODUCED FOR THE

        3      ENTERPRISE PURPOSE, BUT THE ENTERPRISE EVIDENCE IS

        4      EVIDENCE THAT GOES TO EACH OF THESE DEFENDANTS, NOT JUST

        5      T O MR. VERDUGO.     THE EXISTENCE OF A NARCOTICS ENTERPRISE

        6      AND THEIR VARIOUS ROLES IN IT IS RELEVANT EVIDENCE AS TO
.
,
        7      EACH OF THE DEFENDANTS.        IT IS NOT LIMITED JUST TO

        8      MR. VERDUGO.

        9                 THE COURT:        YOU HAD A RULING ON THIS CONCERNING
-
,      10      YOUR CLIENT THAT THE EVIDENCE OF THE ENTERPRISE WAS RULED

       11      TO BE RELEVANT AS TO YOUR CLIENT TO ESTABLISH BOTH

       12      MOTIVATION AND INTENT.

       13                     MR. TARLOW:    BUT HE HAS NOTHING TO DO WITH THIS.

       14      THAT RULING, YOUR HONOR, DEALT WITH WHETHER MY CLIENT WAS

       1S      DEALING CONTRABAND WITH MR. CARD-QUINTERO IN SOME WAY.             WE

       16      ARE GOING TO GET TO THAT WHEN WE GET TO HIS EVIDENCE.

       17      THIS IS EVIDENCE OF MARIJUANA DEALING BY MR. VERDUGO, AND

       18      I T HAS NOTHING TO DO WITH HIM.        NE NEVER LAID EYES ON

       19      MR. VERDUGO OR ANY OF THESE DEALINGS BEFORE.          50 THAT IT

       20      PRESENTS A DIFFERENT QUE5TION.

       21                     THE COURT:    THAT IS ENOUGH. DISCUSSION.   MAKE

       22      YOUR OBJECTION WHEN THE EVIDENCE IS OFFERED.

       23                     MR. TARLOW:    I WANTED THE COURT TO THINK ABOUT

       24      I T SO YOU CAN DECIDE WHAT YOU ARE GOING TO D0.

       25                     MR. PANCER:    ON ANOTHER SUBJECT MATTER, YOUR
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                                                                           11-179

        1      HONOR, WE HAVE REQUESTED COPIES OF THE PROBATION REPORTS

        2      FOR THE CONFIDENTIAL INFORMAPITS, AND WE WERE RELYING ON

        3      THE CASE OF U.S. VERSUS STRIFLER AT 87-1078, 87-1081..          IT

        4      I S A NINTH CIRCUIT CASE DECIDED JULY 11.         I HOPE THAT I AM

        5      GIVING THE COURT THE RIGHT CITE.        THERE WERE TWO CASES

        6      THAT CAME DOWN ABOUT THE SAME TIME, BUT THE CASE I AM

        7      RELYING ON SAID THAT I AM :ENTITLED TO THOSE REPORTS.          NOW,

        8      I WROTE TO MR, GURULE VERY EARLY ON IN THIS CASE THAT I

        9      THINK WE ARE ENTITLED TO THEM.

       10                     I WOULD TELL YOUR HONOR THAT IT WOULD SOLVE A

       11      LOT OF MY TIME PROBLEMS IF I GET THEM BECAUSE THE

       12      BACKGROUND INVESTIGATION THAT THE PROBATION DOES IS THE
-,
       13      EXACT, SAME KIND OF BACKGROUND THAT I WOULD WANT TO DO

       14      W ITH A WITNESS LIKE BROWN, WNO I NAD NEVER HEARD OF.

       1S                     THE COURT:    I AM FAMILIAR WITH THIS CASE

       16      REGARDING PROBATION REPORTS.        WHAT IS YOUR UNDERSTANDING

       17      OF WHY THAT ENTITLES YOU TO A WITNESS'S PROBATION REPORT?

       18                     MR. PANCER:   IT WAS MY UNDERSTANDING THAT THE

       19      CASE TALKED ABOUT CONFIDENTIAL INFORMANTS WHO ARE

       20      TESTIFYING IN COURT.         IT SAID THAT THE DEFENSE WAS

       21      ENTITLED TO THE PROBATION REPORT IF THEY HAVE BEEN
.
,
       22      CONVICTED OF AN OFFENSE AND WE ARE TO EFFECTIVELY CROSS-

       23      EXAMINE THE WITNESS AND CONFRONT THE WITNESS AND

       24      ADEQUATELY REPRESENT THE CLIENT.
.
,
       25                     THE COURT:    WHAT IS THE NUMBER OF THE CASE?




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                                                                            11-180

        1                 MR. PANCER:       87-1078 -- I TOOK IT FROM DAILY

        2      TRANSCRIPT, YOUR HONOR -- 87-1078, 87-1081, A NINTH

        3      CIRCUIT CASE DECIDED JULY 11, 1988.

        4                 THE COURT:        WHAT IS THE NAME OF IT?

        5                 MR. PANCER:       STRIFLER, S-T-R-I-F-L-E-R.

        6                 YOUR HONOR, MY ONLY CAVEAT IS THAT TWO CASES

        7      ADDRESSING THIS ISSUE CAME DOWN AT THE SAME TIME.           I HAD

        8      TO CALL BACK TO MY OFFICE FOR THE CITE.           I HOPE I AM

        9      GIVING THE COURT THE CORRECT CITE.
..
       10                     THE COURT:    IT DOESN'T SOUND RIGHT.

       11                 MR. PANCER:        WELL, I AM GOING TO TRY TO DOUBLE

       12      CHECK.   I HAVEN'T HAD TIME.        I DID NOT KNOW WE WERE GOING
.
.
       13      T O GET TO THESE WITNESSES UNTIL LATE LAST NIGHT.

       14                     MR. GURULE:    WE WILL TAKE A LOOK AT THAT CASE,

       15      YOUR HONOR.       I AM NOT AWARE OF ANY CASE AUTHORITY STANDING

       16      FOR THAT PROPOSITION.         I AM AWARE OF CASES THAT STAND FOR

       17      THE PROPOSITION THAT A PRESENTENCE REPORT IS NOT JENCKS

       18      MATERIAL TO BE DISCLOSED OF THE WITNESS.           BUT I WILL GET A

       19      COPY OF THAT CASE, AND I WANT TO BE HEARD OBVIOUSLY ON
       20      WHETHER OR NOT THE GOVERNMENT S OBLIGATION EXTENDS THAT

       21      BROADLY TO HAVE TO DISCLOSE CONFIDENTIAL PRESENTENCE

       22      I NVESTIGATION REPORTS.

       23                     THE ONE MATTER I WOULD LIKE TO BRING UP TO THE

       24      COURT IS THAT WE HAVE HAD FOUR WITNESSES NOW THAT THE

       25      DEFEN5E COUNSEL HAVE ASKED THAT THEY REMAIN..          BASICALLY




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                                                                            11-181

         1      THEY HAVE RESERVED THEIR RIGHT TO CROSS-EXAMINE THEM, AND

         2      ALL OF THOSE WITNESSES ARE EITHER FROM OUT OF THE STATE OR

         3      OUT OF THE COUNTRY, AND THE CLAIM AT THAT TIME WAS THAT
.
,
         4      THEY HAD JUST RECEIVED THE JENCKS MATERIAL THE DAY BEFORE

         5      OR TWO DAYS BEFORE, AND THEY NEEDED ADDITIONAL TIME.

         6                     NOW, RELATIVE TO SPECIAL AGENT DALE STINSON AND

         7      BOBBY CASTILLO, I BELIEVE THEY TESTIFIED WEpNESDAY OR

         8      THURSDAY OF LAST WEEK.       THE DEFENSE COUNSEL HAVE NOW GOT

         9      APPROXIMATELY UNDER A WEEK TO PREPARE FOR THEIR TESTIMONY;

        10      AND THEN THE C.I., GUADALUPE GOMEZ, WHO WAS THE SUBJECT OF

        11      THESE ZACATECAS FIELDS, AND THE C.I. WHO TESTIFIED

        12      REGARDING THE CHIHUAHUA FIELDS OPERATIONS, HE TESTIFIED

 ~,     13      ROUND THE MIDDLE OF LAST WEEK AND WE JUST WANT TO KNOW IF

        14      WE ARE GOING TO HAVE TO KEEP THESE WITNESSES HERE

        15       I NDEFINITELY, OR IF THERE IS A DATE CERTAIN THAT THE

''°     16      DEFENSE WILL BE CALLING THEM TO CROSS-EXAMINE THEM.

         17                    MS. LEYVA:   YOUR HONOR, WITH RESPECT TO AGENTS

        18      CASTILLO AND STINSON, THOSE ARE THE TWO VOICE

 ~      19       I DENTIFICATION PEOPLE WHO TESTIFIED ABOUT IDENTIFICATION

        20      OF VOICES, AS THE COURT IS AWARE, WE RECEIVED FOUR FULL

        21      CASSETTE TAPES OF INTERROGATIONS WITH SOME OF THEM BEING

"~       22     THE VOICES OF ESPINO-VERDIN AND RAFAEL CARD-QUINTERO.           WE

         23     HAVE BEEN LISTENING TO THOSE TAPES.         WE HAVE BEEN

         24     PREPARING FURTHER CRO55-EXAMINATION, AND WE ARE CONSULTING

'~      25       W ITH EACH OTHER AS TO THE FURTHER CRO55-EXAMINATION THAT
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                                                                             11-182

         1      WILL BE CONDUCTED OF THOSE WITNESSES.

         2                 WE ARE NOT PREPARED TO CRO55-EXAMINE THEM AT

         3      THIS TIME.       WE ARE ASKING THEM TO BE HELD UNTIL WE ARE
,
.
         4      READY TO CROSS-EXAMINE THEM.         THE GOVERNMENT APPEARS TO

         5      N AVE PLENTY OF WITNESSES FOR THIS WEEK.          THE COURT WILL BE

         6      OUT OF SESSION NEXT WEEK, AND WE EXPECT BY THE WEEK OF THE

         7      22ND WE WILL BE ABLE TO CROSS-EXAMINE.

         8                 PERHAPS THEY COULD BE RELEASED AT THIS TIME SO

         9      THAT THEY ARE NOT HANGING AROUND THE COURTHOUSE, BUT WE DO

        10      ASK THAT THEY BE MADE AVAILABLE THE WEEK OF THE 22ND OF

        11      AUGUST.

        12                     THE COURT:     WHAT ABOUT THE OTHER WITNESSES?
.
,
        13                     MR. TARLOW:    ONE IS THE CONFIDENTIAL INFORMANT

        14      THEY NEVER CALKED.          IS THAT CORRECT, YOUR HONOR?

        15                     THE COURT:     I DON'T KNOW.

        16                     MR. TARLOW:    THE CONFIDENTIAL INFORMANT THAT

        17      THEY DIDN'T CALL THAT AGENT KUYKENDALL'S TESTIMONY WOULD

        18      BE $ASED ON, AND ALL THAT WE COULD DO WITH HIM WOULD BE TO
~,.
        19      GET HIM DURING OUR CASE.         HE HAS NEVER HIT THE STAND YET.
        20                     M5. LEYVA:     YOUR HONOR, HE HAS BEEN SUBPOENAED.

        21      MR. PANCER MET WITH HIM AND ASKED HIM TO COME BACK TO

        22      COURT AND GAVE .HIM A SUBPOENA TO RETURN THE WEEK OF

        23      AUGUST 22ND AND TO BE IN CONTACT WITH EITHER ThiE AGENTS OR

        24      W ITH OURSELVES TO BE ABLE TO KNOW WHAT EXACT DATE WE WILL
~
,       25      NEED HIM BECAUSE WE DO NOT KNOW WHEN THE GOVERNMENT WILL
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                                                                           11-183

        1      CONCLUDE 1TS CASE.          BUT HE HAS BEEN SUBPOENAED.

        2                     THE COURT:     YOU WANT HIM AS A DEFENSE WITNESS?

        3                     M5. LEYVA:     THAT IS CORRECT.

        4                     MR. TARLOW:     AND THE FELLOW FROM ZACA -- ZACA

        5      SOMETHING OR FROM BUFALO, WE HAVEN'T BEEN ABLE TO FIND OUT

        6      ANYTHING.

        7                     MR. GURULE:     YOU SEE, THAT IS JUST THE POINT,

        8      YOUR HONOR.       WE HAVE AGENTS TESTIFY IN THE MIDDLE OF LAST

        9      WEEK, AND NOW THEY ARE SAYING THAT THEY NEED UNTIL THE
^.     10      22ND OF THIS MONTH TO GO AHEAD AND PREPARE THEIR CROSS-

       11      E XAMINATION.      THEN WE HAVE A WITNESS THAT TESTIFIES, AND

       12      THEY GET THE JENCKS A DAY OR TWO DAYS BEFORE, AND THEY ARE
-~
       13      STILL NOT READY TO CR055-EXAMINE THAT WITNESS A WEEK AFTER

       14      HE HAS TESTIFIED, AND IT IS JUST KIND OF A FISHING

        15     E XPEDITION.      LET'S HOPE AND SEE IF WE ARE ABLE TO FIND

        16     SOMETHING ON THESE WITNESSES TO PROLONG TIiIS THING

        17      I NDEFINITELY.

        18                    THE COURT: .   IT SEEMS TO ME THAT YOU ARE TAKING

        19     A N UNDUE AMOUNT OF TIME WITH RESPECT TO THESE TWO AGENTS,

       20      WHO WERE REALLY VOICE IQENTIFICATION WITNESSES.

       21                     MS. LEYVA:     YOUR HONOR, FOR THE COURT'S

       22       I NFORMATION, WE RECEIVED FOUR CASSETTE TAPES WITHOUT ANY

        23     DESCRIPTION OF WHAT VOICES OTHER THAN THERE WOULD BE CARO-

        24     QUINTERO'S VOICE AND ESPINO-VERDIN'S VOICE, AND WE HAVE

       25      HAD TO LISTEN AND TRACK DOWN.          THEY ARE IN SPANISH, AND WE
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         1      HAVE NOT BEEN PROVIDED A TRANSCRIPT EITHER IN SPANISH OR

         2      I N ENGLISH, AND IT NAS BEEN A TEDIOUS PROCESS, YOUR HONOR.

         3                     I N ADDITION, YOUR HONOR, WE HAVE NOT JUST BEEN
.
.
         4      SITTING AROUND WASTING OUR TIME.        EVERY NIGHT WE ARE

         5      RECEIVING STACKS AND STACKS OF JENCKS.            WE ARE EXPECTED TO

         6      BE PREPARED TO CRO55-EXAMINE THE WITNESSES ON A DAY'S
.~
         7      NOTICE, AND I JUST DON'T BELIEVE WE ARE BEING UNDULY

         8      DILATORY IN PREPARING THIS CASE.        WE ARE DOING AS MUCH AS

         9      W E CAN EVERY SINGLE NIGHT AND EVERY WEEKEND, IN ADDITION
i
        10      TO CONSULTING WITH OTHER COUNSEL SO THAT WE WILL OVERLAP

        11      OUR CRO55-EXAMINATION.        WE NAVE PROMISED THE COURT WE

        12      WOULD DO THAT.       I THINK THE COURT IS AWARE THAT WE HAVE
L
        13      BEEN DOING THAT.

        14                     F T IS NOT UNREASONABLE TO ASK THAT THESE TWO

        15      AGENTS BE ALLOWED TO RETURN AT SOME FUTURE POINT.            WE
-~,
        16      DON'T NEED THEM HANGING AROUND THIS COURTROOM.            WE ARE

        17      ASKING THAT THEY BE AVAILABLE THE WEEK OF THE 22ND.               WE

        18      THINK WE CAN PREPARE WHAT WE NEED IN ORDER TO DO THE

        19      CROSS-EXAMINATION, AND, YOUR HONOR, I CAN REPRESENT TO THE

        20      COURT THAT COUNSEL HAS BEEN AS DILIGENT AS THEY CAN.               WE

        21      JUST CANNOT DO MORE WITH 24 HOURS IN~A DAY.

        22                     MR. TARLOW:   THERE ARE OTHER DISCOVERY MOTIONS I

        23      F ILED TODAY REGARDING MISSING TAPES -- TAPE OR TAPES --

        24      AND WE NEED THAT MATERIAL TO EXAMINE THESE AGENTS AS WELL.

        25                     THE COURT:    WHAT MISSING TAPE?
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         1                  MR. TARLOW:      WELL, WE GOT THIS TRANSCRIPT THAT

         2      APPEARED ON FRIDAY WHICH IS OBVIOUSLY MADE FROM A TAPE

         3      RECORDING.       WE NEED THAT TAPE RECORDING TO DEAL WITH
,
.
         4      CROSS-EXAMINING THESE WITNESSES ABOUT THE VOICE

         5      I DENTIFICATION.

         6                  THE COURT:       WELL, THERE IS NO TAPE, AS I
.
,
         7      U NDERSTAND IT.

         8                   MR. TARLOW:      WELL, IF THAT IS -- MAYBE YOUR

         9      HONOR UNDERSTANDS THAT AND KNOWS SOMETHING THAT WE DON'T

        10      K NOW, AND THAT IS PART OF OUR REQUEST FOR A HEARING TO

        11      F IND OUT WHETHER THERE IS A TAPE AND TO LOCATE IT AND GET

        12      I T HERE.

        13                     MR. GURULE:    WE RECEIVED MR. TARLOW'S MOTION ON

        14      THE TAPE AND MR. PANCER'S MOTION THIS MORNING.            AS A

        15      MATTER OF FACT, I THINK WE RECEIVED --

        16                     THE COURT:    WELL, WE ARE WAITING TO GET SOME

        17      OPPOSITION.

        18                     MR. GURULE:    WE JUST RECEIVED THOSE THIS

        19      MORNING.       THERE ARE PROBABLY THREE OR FOUR MOTIONS, AND WE

        20      WOULD ASK FOR SOME ADDITIONAL TIME, BECAUSE OF THE

        21      COMPLEXITY OF THE ISSUES INVOLVED IN THOSE. MOTIONS, TO

        22      RESPOND.

        23                     MR. TARLOW:    I AM NOT AT ALL ASKING THAT

        24      MR. GURULE HAVE HIS RESPONSE IN TODAY.            I AM NOT SAYING
.
,
        25      THAT AT ALL.       I AM POINTING OUT TO THE COURT THAT THE




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        1      VOICE IDENTIFICATION OVERLAPS WITH THAT QUESTION.

        2                 THE COURT:        THESE TWO AGENTS SHOULD SIMPLY BE

        3      EXCUSED SUBJECT TO RECALL WHEN THEY ARE NEEDED.           THEY
.
.
        4      DON'T HAVE TO HANG AROUND HERE.

        5                 MR. GURULE:        FINE.

        6                 THE COURT:        I DON'T KNOW WHY THEY SHOULD BE

        7      I NCONVENIENCED.

        8                 THIS OTHER WITNESS SHOULD BE EXCUSED UNTIL THE

        9      DEFENDANTS NEED HIM FOR THEIR DEFENSE.

       10                 MR. GURULE:        AND RELATIVE TO THE WITNESS THAT

       11      TESTIFIED REGARDING CHIHUAHUA, HE HAS TESTIFIED, AND HE

       12      HAS BEEN AVAILABLE FOR CROSS-EXAMINATION.          THEY HAVE HAD

       13      H IS JENCKS MATERIAL NOW FOR APPROXIMATELY A WEEK.

       14                     THE COURT:    WHAT DO YOU NEED HIM FOR?

       15                     MR. TARLOW:    WELL, I DON'T HAVE ANY IDEA WHO THE

       16      PERSON I5, QUITE FRANKLY, YOUR HONER.         I HAVEN'T HAD TIME

       17      TO GO TO CHIHUAHUA AND FIND OUT ANYTHING ABOUT HIM OR

       18      ABOUT .HIM BEING HERE.        I WOULD ASSUME --
.
,
       19                     THE COURT:    I AM NOT GOING TO GIVE YOU TIME TO
       20      GO TO CHIHUAHUA.

       21                     MR. TARLOW:    WELLS I DONUT NAVE MUCH INTEREST IN

       22      GOING TO CHIHUAHUA, EITHER, YOUR HONOR.           I AM NOT SURE

       23      WHAT IT IS EXACTLY, BUT I AM NOT SURE I WANT TO GO THERE.

       24                     B UT, IN ANY EVENT, I HAD ASSUMED THAT WITH ALL
.
,
       25      OF THESE WITNESSES THAT WE DIDN'T HAVE THEM JUST SITTING




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          1      AROUND.    IN OTHER WORDS, I THOUGHT THEY WOULD BE ON 24-

          2      HOUR CALL OR A FOUR-DAY CALL OR SOMETHING LIKE THAT.            WE

          3      DON'T NEED THE AGENTS SITTING HERE, OR HIM, EITHER, BUT WE
.
,
          4      DO NEED TIME TO FIND OUT SOMETHING ABOUT THESE PEOPLE.

          5                     I T IS SOMEHOW UNFAIR THAT THE GOVERNMENT PUTS

          6      ALL OF THIS TOGETHER, AND WE GET TWO DAYS.

          7                     THE COURT:    THAT IS ENOUGH CONVERSATION.     THESE

          8      PEOPLE NEED TO BE AVAILABLE UNTIL THEY ARE ABLE TO BE

          9      EXAMINED.-      THAT IS ALL THERE IS TO IT.       AND THAT IS CAUSED
 -,
         10      I N PART BY THIS CLOSE-TO-THE-VEST HANDING OUT OF MATERIAL.

         11                     W E ARE IN RECESS.

         12                     MR. PANCER:    YOUR HONOR, HOW LONG DO WE HAVE FOR

         13      OUR BREAK?

         14.                    THE COURT:    TEN MINUTES.

         15                 (RECESS FROM 3:15 P.M. UNTIL 3:25 P.M.~
'.~
         16                     THE COURT:    SWEAR THE NEXT WITNESS, PLEASE.

          17               S ALVADOR LEYVA, PLAINTIFF'S WITNESS, SWORN

          18                    THE CLERK:     PLEASE BE SEATED.
.
,
          19                    PLEASE STATE YOUR FULL NAME FOR THE RECORD AND

         20      SPELL YOUR LAST NAME.

          21                    THE WITNESS:     SALVADOR LEYVA, L-E-Y-V-A.

         22                               D IRECT EXAMINATIQN

         23      BY MR. CAMPOS:

          24     Q     WHAT IS YOUR -- WILL YOU TELL THE JURY WHAT YOUR

          25     CURRENT PROFESSIQN ANQ OCCUPATION IS?




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        1      A     YES, SIR.     I AM A SPECIAL AGENT FOR THE UNITED STATES

        2      DRUG ENFORCEMENT ADMINISTRATION.

        3      Q     SPECIAL AGENT LEYVA, HOW LONG HAVE YOU BEEN A SPECIAL
~
.
        4      AGENT WITH THE DRUG ENFORCEMENT ADMINISTRATION?

        5      A     FOR ABOUT FIVE YEARS.

        6      Q     AND WERE YOU IN LAW ENFORCEMENT BEFORE YOU WERE A

        7      SPECIAL AGENT FOR THE DEA?

        8      A     YES, SIR.     I SPENT APPROXIMATELY THREE YEARS WITH THE

        9      LOS ANGELES POLICE DEPARTMENT, AND BEFORE THAT WITH THE

       10      U.S. CUSTOM5 AS AN INSPECTOR.

       11      Q     HAVE YOU HAD OCCASION TO BE ASSIGNED IN MEXICO DURING

       12      YOUR TIME AS A SPECIAL AGENT WITH THE DEA?

       13      A     YES, I WAS.

       14      Q     WHAT YEARS HAVE YOU BEEN ASSIGNED TO MEXICO?

       15      A     THE FIRST TIME I WAS ASSIGNED IN MEXICO WAS IN 1985,
1
       16      F EBRUARY 1985.

       17      Q     FEBRUARY OF 1985?

       18      A     THAT'S CORRECT.

       19      Q     AND WOULD YOU pESCRIBE WHERE AND WHAT TYPE OF

       20      ASSIGNMENT YOU HAD IN FEBRUARY OF 1985?

       21      A     AT THE TIME I WAS ASSIGNED TO MEXICO IN A SPECIAL

       22      OPERATION IN ACAPULCO, GUERRERO, MEXICO.

       23      Q     WERE YOU INVOLVED WITH THE ERADICATION OF MARIJUANA,

       24      THAT PARTICULAR PROGRAM?
.
,
       25      A     THAT I5 CORRECT, YES.




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        1      Q     AND WAS ONE OF YOUR SUPERVISORS OR PEOPLE YOU

        2      COORDINATED WITH SPECIAL AGENT CHARLIE LUGO?

        3      A     THAT IS CORRECT.

        4      Q     AND ARE YOU CURRENTLY ASSIGNED TO MEXICO?

        5      A     YES, I AM.

        6      Q     NOW, IN FEBRUARY OF 1985, AFTER THE DISAPPEARANCE OF

        7      SPECIAL AGENT CAMARENA, DID YOU RECEIVE SOME SPECIAL

        8      ASS I GNMf NT?

        9      A     YES.       AT THE TIME I WAS -- QS I MENTIONED TO YOU

       10      BEFORE, I WAS IN ACAPULCO, AND I RECEIVED A CALL FROM OUR

       11      MAIN OFFICE IN MEXICO CITY.

       12      Q     WHAT, IF ANYTHING, WERE YOU DIRECTED TO DO?
,
-
       13      A     THEY DIRECTED ME TO LEAVE ACAPULCO IMMEDIATELY

       14      BECAUSE --

       15                     THE COURT:     JUST A MOMENT.   BE CAREFUL JUST TO

       16      A NSWER THE QUESTION.         THE QUESTION WAS WHAT DID THEY

       17      DIRECT YOU TO D0.        YOU SAID TO LEAVE ACAPULCO.     WE DON'T

       18      N EED TO KNQW WHY.

       19                     THE WITNESS:     THANK YOU, YOUR HONOR.

       20      Q     BY MR. CAMPS:         DID THEY DIRECT YOU TO LEAVE

       21      ACAPULCO?        DID SOMEONE FROM MEXICO CITY WITHIN THE DEA

       22      ORDER YOU TO GO TO A PARTICULAR PLACE?

       23                     MS. LEYVA:     OBJECTION, YOUR HONOR, TO SOMEONE IN

       24      MEXICO CITY.        MAY WE HAVE AN IDENTIFICATION?

       25                     THE COURT:     OVERRULED.




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.~
         1      Q     BY MR. CAMPOS:     SOMEONE IN YOUR HEADQUARTERS WNO

         2      WOULD BE IN CHARGE OF A55IGNING YOU?

         3      A     YES.

         4      Q     WHERE DID YOU GO?

         5      A     I WENT TQ MEXICO CITY.

         6      Q     ALL RIGHT.     AND DID YOU RECEIVE SOME BRIEFINGS THERE

         7      ABOUT THE DISAPPEARANCE OF SPECIAL AGENT CAMARENA?

         8      A     YES.

         9      Q     AND AFTER THAT, DID YOU GO SOMEWHERE ELSE?

        10      A     YES.     I WENT TO GUADALAJARA, MEXICO.

        11      Q     WHEN DID YOU ARRIVE IN GUADALAJARA, MEXICO?

        12      A     THE MORNING OF THE 9TH, FEBRUARY 9, 1985.

        13      Q     THAT I5 FEBRUARY 9, 1985?

        14      A     THAT'S CORRECT.

        15      Q     DID YOU GO TO GUADALAJARA WITH ANY OTHER AGENTS?

        16      A     YES, CHARLIE LUGO.

        17      Q     THAT IS SPECIAL AGENT CHARLIE LOGO?

        18      A     THAT'S CORRECT.

        19      Q     NOW, WHEN YOU WENT TO GUADALAJARA, WHERE DID YOU GO

        20      WHEN YOU ARRIVED THERE?

        21      A     WE ARRIVED AT THE AIRPORT, AND WE WENT TO THE

        22      AMERICAN CONSULATE IN GUADALAJARA.

        23      Q     AND THAT IS WHERE THE DEA OFFICE IS IN GUADALAJARA?

        24      A     YES, SIR.

        25      Q     AND AT SOME POINT DID YOU PROCEED TO THE MEXICAN




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r
        1      FEDERAL JUDICIAL POLICE?

        2      A     YES, SIR.

        3      Q     WAS THAT THAT MORNING?
.
.
        4      A     YES, SIR.    APPROXIMATELY 4:00 O'CLOCK IN THE MORNING

        5      THAT MORNING, YES.                               .

        6      Q     4:00 O'CLOCK THAT MORNING?

        7      A     CORRECT.    THAT IS WHEN WE ARRIVED AT GUADALAJARA AND

        8      WENT TO THE CONSULATE AND WENT TO THE MFJP.

        9      Q     YOU ARE SAYING 4:00 A.M.?
.
,
       10      A     THAT'S CORRECT.

       11      Q     THEN WHEN YOU WENT TO THE -- IS THIS THE OFFICE OF

       12      THE MFJP IN GUADALAJARA THAT YOU WENT TO?
.~
       13      A     YES.

       14      Q     DID YOU MEET WITH SOMEONE THERE?

       15      A     WE MET WITH THE COMANDANTE PRIMER ARMANDO PAVON.

       16      Q     ALL RIGHT.    IS THAT ARMANDO PAVON-REYES?

       17      A     YES.

       18      Q     YOU SAID PRIMER.    WHAT DOES THAT MEAN?

       19      A     THAT MEANS THAT HE IS THE HIGHEST AUTHORITY IN THAT

       20      AREA, AND HE REPORTS DIRECTLY TO MEXICO CITY.

       21      Q     LITERALLY TRANSLATED IT MEANS FIRST COMANDANTE?
r
       22      A     YES, SIR.

       23      Q     AND ARE YOU A SPANISH SPEAKER?

       24      A     YES, SIR.
.
,
       25      Q     AND YOU SPEAK SPANISH FLUENTLY?




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        1      A     YES, SIR.

        2      Q     WHAT DID YOU TALK ABOUT IN TERMS OF THE SUBJECT

        3      MATTER WITH FIRST COMANDANTE PAVON-REYES?

        4      A     BASICALLY I WAS REQUESTED TO INVESTIGATE THE

        5      DISAPPEARANCE OF SPECIAL AGENT ENRIQUE CAMARENA.

        6      Q     AND WAS THE COMANDANTE, THAT I5, PAVON-REYES, WAS HE
.
,
        7      THERE AT THE HEADQUARTERS WHEN YOU ARRIVED?

        8      A     TO THE BEST OF MY RECQLLECTION, HE GOT THERE A FEW

        9      M INUTES THEREAFTER.
~,
       10      Q     HE ARRIVED SOMETIME AFTER YOU ARRIVED?

       11      A     CORRECT.

       12      Q     AND THEN YOU HAD THIS MEETING WITH HIM?

       13      A     YES.

       14      Q     NOW, DID SOME PLAN DEVELOP FROM THIS MEETING?

       15      A     H E --

       16                     THE COURT:     WELL, ALL HE ASKED YOU IS IF THERE.

       17      W AS A PLAN DEVELOPED.

       18                     THE WITNESS:     YES.

       19      Q     BY MR. CAMPOS:        SOME PLAN OF ACTION THAT YOU WERE

       20      GOING TO TAKE?

       21      A     YES, SIR.

       22      Q     AND DID THAT INVOLVE DISCUSSIONS BETWEEN YOU -- THAT

       23      I S, THE DEA AGENTS THAT WERE THERE AND HIM?

       24      A     YES.
.
.
       25      Q     AND DID THAT TAKE A VERY LONG PERIOD OF TIME?
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        1      A     MOST OF THE MORNING.

        2      Q     MOST OF THE MORNING TO DEVELOP YOUR PLAN?

        3      A     THAT'S CORRECT.

        4      Q     AND DID YOU AT SOME POINT DO SOMETHING AS A RESULT OF

        5      YOUR AGREEMENT ON A PLAN THAT MORNING?             _

        6      A     YES, I DID.

        7      Q     WHAT DID YOU DO?

        8      A     HE REQUESTED FOR ME TO RENT APPROXIMATELY TEN OR MORE

        9      V EHICLES.
-~
       10      Q     WHEN YOU SAY VEHICLES, DO YOU MEAN CARS?

       11      A     YES, SIR.

       12      Q     AND DID YOU DO SO?

       13      A       YES.   FROM THE --

       14                     THE COURT:    THAT IS IT.   HE ASKED IF YOU DID S0.

       15                     THE WITNESS:    YES, SIR.
.
,
       16      Q     BY MR. CAMPOS:        DID YOU GO TO AN AGENCY AND RENT

       17      CARS?

       18      A       YES, SIR.
.
.
       19      Q       YOU 700K CARE OF THAT PARTICULAR ACTIVITY?

       20      A       YES, SIR.

       ai      Q       AND HOW MANY CARS DID YOU ULTIMATELY RENT?

       ~2      A       OVER TEN.

       23      Q       DO YOU RECALL WHAT TYPES OF CARS THEY WERE?

       24      A       YES, SIR.
.
,
       25      Q       WHAT WERE THEY?




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                                                                            i1-194

          1      A     I BELIEVE THEY WERE CELEBRITIES.

          2      Q     CHEVROLET CELEBRITIES?

          3      A     CORRECT.

          4      Q     AND ONCE YOU HAD ARRANGED TO RENT TEN OR MORE

          5      CHEVROLET CELEBRITIES, WMAT DID YOU DO?

          6      A     WE TOOK THEM BACK TO THE MFJP OFFICE.
..~.
          7      Q     WHEN YOU SAY WE, DO YOU MEAN YOU AND OTHER AGENTS?

          8      A     YES, SIR.

          9      Q     WHAT HAPPENED AFTER YOU TOOK THOSE TEN OR SO CARS

         10      BACK TO THE MFJP OFFICE?

         11      A     COMANDANTE PAVON DIRECTED ME TO GET IN ONE OF THE

         12      VEHICLES AND TQ FOLLOW HIM AND HIS PERSONNEL TO WHEREVER

         13      HE WAS GOING.

         14      Q     AND WERE THERE GOING TO BE -- WERE YOU TRAVELING WITH

         15      OTHER DEA AGENTS?

         16      A     N0, SIR.

         17      Q     SO YOU WENT INTO ONE PARTICULAR CAR.       IS THAT

         18      CORRECT?

         19      A     YES, SIR.

         20      Q     AND THE FIRST COMANDANTE, PAVON-REYES, WENT IN

         21      A NOTHER CAR?

         22      A     YES, SIR.

         23      Q     NOW, DID YOU KNOW WHERE YOU WERE GOING?

         24      A     N0, SIR.

         25      Q     DID ANY OTHER DEA AGENT AT THAT PARTICULAR TIME KNOW
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                                                                           11-195

         1      YOUR DESIGNATION?

         2      A    NOT TO MY KNOWLEDGE.

         3      Q    AND WAS THIS A SURPRISE TO YOU?

         4      A    YES.

         5      Q    AND WHAT HAPPENED THEN AFTER YOU WERE TOLD TO GET

         6      I NTO A PARTICULAR CAR AND FOLLOW THE FIRST COMANDANTE?

         7      A     WE FOLLOWED COMANDANTE BRISOLO.      HE WAS IN THE FIRST

         8      CAR, AND I WAS IN THE SECQND CAR.

         9      Q     OKAY.    NOW, YOU SAID BRISOLO?

        ZO      A     I AM SORRY.    PAVON.

        11      Q     DO YOU MEAN PAVON-REYES?

        12      A     TMAT'S CORRECT.

        13      Q     WERE YOU DRIVING?

        14      A     NQ.     N0, I WAS NOT.

        15      Q     WHO WAS DRIVING THE CAR THAT YOU WERE IN?

        16      A     TO THE BEST OF MY RECOLLECTION, IT WAS COMANDANTE

        17      ESPINO.

        1$      Q     ANOTIiER COMANDANTE?

        19      A     YES, SIR.

        20      Q     HOW MANY DEA AGENTS WENT IN THIS GROUP OF CARS?

        21      A     APPROXIMATELY FOUR.

        22      Q     EXCUSE ME.     I WAS JUST TRYING TO FINISH MY QUESTION.

        23      HOW MANY DEA AGENTS WENT TO FOLLOW -- WENT IN THE CARS

        24      F OLLOWING THE FIRST COMANDANTE, PAVON-REYES?
-•,
        25      A     ABOUT FOUR.
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         1      Q     WAS THIS -- COULD WE DESCRIBE THIS AS A CONVOY OR A

         2      CARAVAN?

         3      A     IT WAS A CARAVAN.

         4      Q     50 YOU HAD MORE THAN TEN CARS.     IS THAT CORRECT?

         5      A     THAT IS CORRECT.

         6      Q     THAT WERE FOLLOWING THE COMANDANTE PAVON-REYES?

         7      A     THAT IS CORRECT.

         8      Q     AND YOU DIDN'T KNOW AT THIS PARTICULAR POINT WHERE

         9      YOU WERE GOING?

        10      A     THAT'S CORRECT.

        11      Q     AND TO YOUR KNOWLEDGE, NONE OF THE OTHER AGENTS KNEW

        12      THE DESTINATION?

        13      A     THAT'S CORRECT.

        14      Q     ALL RIGHT.    NOW, DID YOU Iii FACT FOLLOW COMANDANTE

        15      PAVON-REYES?

        16      A     YES.

        17      Q     AND DID YOU AT SOME POINT REACH SOMEPLACE?

        18      A     YES.

        19      Q     WHERE WAS THAT?     WHERE DID YOU GO?

        20      A     WE WENT TO THE GUADALAJARA INTERNATIONAL AIRPORT.

        21      Q     ALL RIGHT.    WHAT HAPPENED AFTER YOU GOT TO THE
..,
        22      GUADALAJARA INTERNATIONAL AIRPORT?

        23      A     AS SOON AS WE ARRIVED TO THE AIRPORT, COMANDANTE

        24      PAVON EXITED THE VEHICLE THAT HE WAS IN AND SHOUTED "CORTE

        25      LA TUCHO," WHICH MEANS CHAMBER A ROUND.
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                                                                          11-197

        1                 TFiE COURT:    I T MEANS WHAT?

        2                 THE WITNESS:    CHAMBER A ROUND.

        3                 THE COURT:     WF10 DID HE SHOUT THIS TO?

        4                 THE WITNESS:    HE JUST SHOUTED IN THE DIRECTION

        5      T O WHERE I WAS STANDING ANQ ABOUT 50 --

        6                 THE COURT:     TOWARDS THE CARAVAN?

        7                 THE WITNESS:     THAT IS CORRECT, SIR.

        8      Q     BY MR. CAMPOS:     LET'S MAKE ONE THING CLEAR.     IN THESE

        9      OTHER CARS THAT WERE FOLLOWING COMANDANTE REYES, WERE

       10      THERE OTHER MEXICAN FEDERAL JUDICIAL POLICE?

       11      A     YES, SIR.

       12      Q     WERE THERE OTHER STATE JUDICIAL POLICE?

       13      A     YES, SIR.

       14      Q     AND ONCE EVfRYBODY GOT TO THE AIRPORT, DID EVERYONE

       15      LEAVE THEIR CARS AND GET OUT?
.
,
       16      A     YES, SIR.

       17      Q     AND 50 WHEN. PAVON-REYES SHOUTED IN YOUR DIRECTION TO

       18      LOAD A ROUND, WAS ME GIVING THAT INSTRUCTION TO THE OTHER
.
,
       19      MEN THAT WERE UNDER HIS COMMAND?

       20      A     THAT IS CORRECT.

       21      Q     AND DID PEOPLE -- WAS hiIS ORDER FOLLOWED AS FAR AS

       22      YOU COULD TELL?

       23      A     YES, IMMEDIATELY.

       24      Q     AND YOU COULD HEAR THE SOUNDS OF THE ROUNDS BEING
.
,
       25      CHAMBERED?




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        1     A     YES, SIR.

       2      Q    . NOW, WHAT DID YOU DO AT THIS POINT?

       3      A     NaTHING.    I JUST DIDN'T KNOW WHAT WAS HAPPENING.

       4      Q     WHAT DID YOU SEE COMANDANTE PAVON-REYES DO?

       5      A     HE RAN ACROSS -- WE WERE IN THE HANGAR AREA, AND HE

       6      RAN AND EVERYBODY FOLLOWED, AND I FOLLOWED.

        7     Q     AND ABOUT HOW MANY MEN WERE FOLLOWING COMANDANTE

       8      PAVON-REYES AT THIS POINT?

       9      A     I WOULD SAY 40, POSSIBLY 50.
.
,
      10      Q     AND THAT INCLUDED THE FOUR DRUG ENFORCEMENT

      11      ADMINISTRATION AGENTS?

      12      A     THAT IS CORRECT.

      13      Q    . NOW, HOW WERE THE MFJP OFFICERS ARMED AT THIS

      14      P ARTICULAR JUNCTURE?

      15      A     THEY HAD SEMI-AUTOMATIC WEAPONS, RIFLES.       I BELIEVE
.
,
      16      THEY ARE R-15.

      17      Q     IS THAT AR-15?

      18      A     AR-15, YES, SIR.
r
      19      Q     NOW, SOME MEMBERS OF THE JURY MAY NOT BE FAMILIAR

      20       W ITH THE TERMS AUTOMATIC OR SEMI-AUTOMATIC.      WHAT DOES

      21      SEMI-AUTOMATIC MEAN?

      22      A     BASICALLY A SEMI-AUTOMATIC WEAPON IS THE TYPE OF

      23      W EAPON THAT EVERY TIME YOU PRESS THE TRIGGER WITH YOUR

      24      F INGER, IT WILL DISCHARGE A BULLET, BASICALLY.

      25      Q     SO IT IS NO7 A MACHINE GUN?
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                                                                           11-199

         1      A     N0.

         2      Q     THAT WOULD BE A FULLY AUTOMATIC WEAPONS

         3      A     YES, SIR.

         4      Q     WHICH WOULD MEAN IF YOU PRE55 THE TRIGGER, MANY

         5      ROUNDS WOULD COME OUT?

         6      A     ThiAT'S CORRECT.    A BURST.   IT WILL JUST CONTINUE.

         7      Q     CONTINUE UNTIL IT EMPTIES THE CHAMBER?

         8      A     THAT'S CORRECT.

         9      Q     AS OPPOSED TO A SEMI-AUTOMATIC, WHICH MEANS ONE ROUND

        10      PER SQUEEZE OF THE TRIGGER?

        11      A     THAT'S CORRECT.

        12      Q     ALL RIGHT.     YOU TOLD US THAT EVERYONE STARTED RUNNING

        13      FOLLOWING COMANDANTE PAVON-REYES.       WHERE DID EVERYBODY GO?

        14      A     PEOPLE JUST MOVED ALL OVER THE PLACE BEHIND

        15      C OMANDANTE PAVON-REYES.     I WAS DIRECTLY BEHIND COMANDANTE

        16      P AVON, SO I COULDN'T SEE THE PEOPLE BEHIND ME.        50 I TOOK

        17      COVER.

        18      Q     WELL, DID YOU HEAR THEIR FOOTSTEPS?

        19      A     YES.     EVERYONE WAS RUNNING IN ONE DIRECTION.

        20      Q     DID THERE CgME A TIME WHEN COMANDANTE PAVON-REYES

        21      STOPPED?
~.►
        22      A     YES, SIR.

        23      Q     AND DID YOU STOP NEAR NIM?

        24      A     RIGHT BEHIND HIM.
.
,
        25      Q     WHERE WERE YOU AT THIS PARTICULAR JUNCTURE?




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                                                                          11-200

         1      A     WE WERE STILL IN THE AIRPORT AT THE HANGAR AREA WHERE

         2      THEY PARK THE PLANES.

         3      Q     YOU WERE AT A HANGAR AREA?
,.,
         4      A     HANGAR, THAT'S CORRECT.

         5      Q     NOW, I THINK IT MIGHT HELP AT THIS POINT.       YOU HAVE

         6      SOME PHOTOGRAPHS IN FRONT OF YOU.      WOULD YOU SEE IF YOU
,•,
         7      HAVE PHOTOGRAPHS GOVERNMENT'S EXHIBIT 126-A AND B.

         8      A     YES, SIR, I D0.

         9      Q     ALL RIGHT.    AND D~ YOU RECOGNIZE WHAT THOSE TWO
,
.
        10      PHOTOGRAPHS ARE?

        11      A     YES, SIR, I D0.

        12      Q     WHAT ARE THEY?
.~
        13      A     THIS IS A PICTURE OF -- AN AERO PICTURE OF THE

        14      G UADALAJARA INTERNATIONAL AIRPORT.

        15      Q     WHEN YOU SAY AERO, DO YOU MEAN A PHOTOGRAPH TAKEN
~,
        16      FROM THE AIR?

        17      A     THAT IS CORRECT.

        18      Q     NOW, DO EITHER OF THOSE TWO PHOTOGRAPHS SHOW THE

        19      HANGAR THAT YOU AND THE REST OF THE MEN FOLLOWED

        20      COMANDANTE PAVON-REYES?

        21      A     YES, SIR, BOTH.

        22      Q     ALL RIGHT.    WHICH -- I BELIEVE IT IS B.     DOES B

        23      I NDICATE -- IS THAT A CLOSER SHOT OF THAT?

        24      A     YES, SIR.
.
~
        25      Q     WOULD YOU PULL THAT OUT, PLEASE?
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                                                                             11-201

       1      A     CWITNE55 COMPLIES.

       2                 MR. CAMPOS:        THE GOVERNMENT WOULD OFFER THOSE

       3      T WO EXHIBITS 50 THAT THE WIThE55 MAY USE THEM.

       4                 THE COURT:        THEY MAY BE RECEIVED.

       5                 MR. CAMPOS:        THANK YOU, YOUR HONOR.

       6      Q     NOW, CAN YOU SHOW THE JURY WITH 126-B WHERE IT WAS

       7      THAT COMANDANTE PAVON-REYES AND YOU TOOK YOUR POSITIONS

       8      I NITIALLY IN THE HANGAR?

       9      A     YES, SIR.
.
,
      10      Q     HOLD THAT UP AND --

      11      A     FROM HERE?

      12                 THE COURT:        YOU MAY STAND UP IF YOU WANT T0.
.
,
      13                 MS. LEYVA:         YOUR HONOR, MAY I MOVE SO I CAN SEE

      14      THE DESCRIPTION?

      15                     THE COURT:     YES, YOU MAY.
.
.
      16                     M5. LEYVA:    THANK YOU, YOUR HONOR.

      17                     THE WITNESS:    CAN YOU SEE IT?

      18                     THE JURY:    (COLLECTIVELY     YES.
.
,
      19                     THE WITNESS:     WE WERE RIGHT HERE (POINTING.)

      20                     MR. CAMPOS:     ALL RIGHT.   MAY THE RECORD

      21      I NDICATE, YOUR HONOR, THAT THE WITNESS HAS USED A LIGHT

      22      LASER TYPE OF POINTER, AND HE POINTED TO THE SECOND LONG

      23      BUILDING FROM THE BOTTOM, WHICH IS A HANGAR?

      24                     THE COURT:     PERHAPS YOU COULD HAVE THE WITNESS
~
.
      25      MARK HIS INITIALS ON IT.
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                                                                           11-202

        1                   MR. CAMPOS:     VERY WELL, YOUR HONOR.   I HAVE A

        2      PEN -- I THINK THERE ARE SOME MARKING PENS UP THERE.

        3      Q     DO YOU SEE ANY?

        4      A     YES, I SEE A GREEN ONE.

        5      Q     WOULD YOU MARK THAT AND CIRCLE IT AND PUT YOUR

        6      I NITIALS BESIDE THE CIRCLE WHERE YOU POINTED?

        7      A     CWITNESS COMPLIES.

        8                   . THE COURT:    WHAT INITIALS NAVE YOU PUT THERE?

        9                   THE WITNESS:     S.L.

       10      Q     BY MR. CAMPOS:        THANK YOU.   NOW, DID YOU KNOW THIS

       11      HANGAR FROM ANY PRIOR WORK ON YOUR PART?

       12      A     N0, SIR.
-,
       13      Q     AGAIN WOULD YOU HOLD IT UP AND TELL THE COURT AND THE

       14      L ADIES AND GENTLEMEN OF THE JURY WHAT OCCURRED AFTER

       15      COMANDANTE PAVON-REYES STOPPED AT THAT POINT THAT YOU HAVE
.
.
       16      MARKED ON THIS PHOTOGRAPH?

       17      A     COMANDANTE PAVON STOPPED RIGHT HERE AND IN THIS AREA

       18      R IGHT HERE WHERE I AM POINTING.
.
,
       19      Q     INDICATING -- MAY THE RECORD SHOW HE IS INDICATING

       20      BETWEEN THE TWO HANGARS FRDM THE BOTTOM OF THE PHOTOGRAPH.

       21      A     THAT IS WHERE THE PLANE WAS -- A PLANE WAS LOCATED.
.
,
       22      Q     A PARTICULAR PLANE WAS LOCATED THERE?

       23      A     YES.

       24      Q     WHAT KIND OF A PLANE WAS IT3
P,
       25      A     IT WAS A JET FALCON.
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                                                                        11-203

       1      Q     IT WAS A FALCON JET?

       2      A     THAT IS CORRECT.

       3      Q     THAT DOESN'T MEAN A LOT TO MOST LAY PEOPLE.       IS THAT
.
.
       4      A PRIVATE JET?

       5      A     YES, IT IS A PRIVATE JET.

       6      Q     IN FACT, IN THINK IF YOU LOOK AT GOVERNMENT'S EXHIBIT

       7      1 27-A, THERE MAY BE AN EXHIBIT TO HELP INDICATE WHAT THAT

       8      J ET LOOKED LIKE.

       9      A     YES, SIR.

      10      Q     NOW, IS THAT A PHOTOGRAPH OF THE JET YOU SAW THERE

      11      THAT DAY?

      12      A     YES, .SIR..

      13                  MR. CAMPOS:     YOUR HONOR, I WOULD OFFER THAT IN

      14      EVIDENCE.

      15                  THE COURT:     THAT MAY BE RECEIVED.

      16                  MR. CAMPOS:     THANK YOU, YOUR HONOR.

      17      Q     NOW, WOULD YOU HOLD THAT UP AND SHOW THE LADIES AND

      18      GENTLEMEN OF THE JURY WHAT THAT PLANE LOOKED LIKE?
.
.
      19      A     CWITNE55 COMPLIES.)

      20                  THE COURT:     SHOW IT OVER HERE, T00.

      21      Q     BY MR. CAMPOS:      SHOW IT TO Df FENSE COUNSEL, ALSO.

      22      A     CWITNE55 COMPLIES.

      23      Q     YOU CAN PUT THAT DOWN.

      24                  THAT WAS POINTED TOWARD THE RUNWAY AREA?

      25      A     YES, SIR, IT WAS POINTED IN THIS DIRECTION
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.,




                                                                          11-204

        1      (POINTING.

        2      Q     INDICATING TOWARD THE RUNWAY AREA ON THE PHOTOGRAPH,

        3      126-B.     ALL RIGHT.   WHAT OCCURRED AT THIS PARTICULAR

        4      J UNCTURE?

        5      A     COMANDANTE PAVON, AFTER HE WAS RUNNING,~HE STOPPED

        6      AND THERE WERE A GROUP OF PEOPLE POINTING SOME WEAPONS
.r
        7      TOWARDS COMANDANTE PAVON, AND I AND THE REST OF THE

        8      MEXICAN POLICE OFFICERS WERE STANDING.

        9      Q     THERE WAS A GROUP OF MEN POINTING WEAPONS IN TIiAT

       10      DIRECTION?

       11      A     YES.     I WOULD SAY SEVEN, EIGHT.    I CAN'T RECALL THE

       12      N UMBER.

       13      Q     WHAT TYPE OF WEAPONS DID THESE PEOPLE HAVE.

       14      A     THEY HAD A WEAPON THAT IS CALLED AK-47, WHICH ARE

       15      MADE IN RED CHINA AND ALSO IN RUSSIA, AND THEY ARE FULLY
.
,
       16      A UTOMATIC.

       17      Q     THEY ARE MACHINE GUNS, IN OTHER WORDS?

       18      A     MACHINE GUNS.

       19      Q     DID THEY HAVE ANY PARTICULAR TYPE OF CANISTER FOR THE

       20      B ULLET CONTAINERS?

       21      A     YES.     THERE WAS A DRUM, A VERY DISTINCTIVE DRUM, THAT

       22      THIS PARTICULAR WEAPON CARRIES, AND IT IS A ROUND DRUM

       23      THAT HOLDS ABOUT 100 ROUNDS.

       24      Q     HOW MANY?

       25      A     ABOUT 100.     THEY NAVE TWO TYPES -- 170 AND 100
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                                                                          11-205

         1      ROUNDS, AND THIS WAS THE HUNDRED.      BECAUSE OF THE SIZE I

         2      COULD TELL.

         3      Q     YOU MAY RESUME YOUR SEAT THERE ON THE WITNESS STAND.

         4      I DIDN'T MEAN TO HAVE YOU STAND.

         5                 I F IT IS USEFUL, YOU MAY USE THAT EXHIBIT AGAIN,

         6      B UT I THINK YOU MIGHT AS WELL RESERVE YOUR STRENGTH.
..
         7                 NOW, IN YOUR OPINION, DID THESE PEOPLE HAVE MORE

         8      F IRE POWER THAN THE MEXICAN FEDERAL JUDICIAL POLICE AND

         9      THE STATE POLICEMEN?

        10      A     THERE WAS NO QUESTION ABOUT THAT.     THERE WAS NO --

        11      THEY -- YES, THEY DIQ.

        12      Q     IN OTHER WORDS, THEY COULD PUT MORE ROUNDS AND MORE

        13      B ULLETS IN THE AIR THAN YOU COULD AND THE GROUP THAT WAS

        14      SUPPORTING COMANDANTE PAVON-REYES?

        15      A     YES, .SIR.
.
.
        16      Q     WHAT OCCURRED AT THIS PARTICULAR POINT?

        17      A     THERE WAS A t0T OF SHOUTING.     COMANDANTE PAVON AND

        18      SOME MFJP PERSONNEL WERE YELLING, "DROP YOUR WEAPONS.

        19      D ROP YOUR WEAPONS."    AND THE GROUP THAT WAS FACING

        20      COMANDANTE PAVON, THEY WERE AL50 SCREAMING TO OUR GROUP,

        21     "N0.    YOU DROP YOUR WEAPONS."     AND THERE WAS A STANDOFF
,..
        22      WITH THE WEAPONS.

        23      Q     AND WEAPONS WERE POINTING AT BOTH GROUPS?       EACH

        24      GROUP, IN OTHER WORDS, WAS POINTING WEAPONS AT THE OTHER?
.
.
        25      A     YES, SIR.
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                                                                            11-206

        1      Q     AND DID COMANDANTE PAVON-REYES DO ANYTHING AT THIS

        2      POINT?

        3      A     N0.   THE SHOUTING CONTINUED UNTIL -- N0.
.
,
        4      Q     ALL RIGHT.      THEN HOW WAS THIS RESOLVED IF IT WAS

        5      RESOLVED?                                           .

        6      A     ONE OF THE MEMBERS OF THE OPPOSITE GROUP THAT WAS
.
.
        7      FACING US SHOUTED AND ASKED, 'WHO IS IN CHARGE?"

        8                     AND THAT IS WHEN COMANDANTE PAVON SAID, "I AM IN

        9      CHARGE.     I AM PRIMER COMANDANTE PAVON.rr
.
.
       10      Q     ALL RIGHT.      AND DID ANYTHING HAPPEN AFTER COMANDANTE

       11      P AVON IDENTIFIED HIMSELF AS THE PERSON IN CHARGE?

       12      A     COMANDANTE PAVON APPROACHED THE PERSON THAT ASKED THE

       13      QUESTION, LATER IDENTIFIED AS RAFAEL CARD-QUINTERO.

       14      Q     YOU LATER LEARNED THAT THAT PERSON WAS RAFAEL CARO-

       15      QUINTERO?
.
,
       16      A     YES, SIR.

       17                     MS. LEYVA:    YOUR HONOR, OBJECTION.     LACK OF

       18      FOUNDATION.       AND AS TO THIS WITNESS'S ANSWER, I MOVE TO

       19      STRIKE.

       20                     THE COURT:   THE MOTION IS DENIED.

       21      Q     BY MR. CAMPOS:        DO YOU KNOW RAFAEL CARD-QUINTERO?
.
.
       22      A     YES, SIR.

       23      Q     IN FACT YOU DO HAVE A PHOTOGRAPH IN FRONT OF YOU THAT

       24      WOULD CORRESPOND TO RAFAEL CARO-QUINTERO?
.
.
       25      A     YES,. SIR.
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.,




                                                                               11-207

        1      Q     WOULD YOU LOOK AT THAT PHOTOGRAPH AND TELL US WHAT

        2      E XHIBIT IT IS?     IS THAT A EXHIBIT 129?

        3      A     YES, SIR.

        4      Q     I5 THAT THE PERSON THAT WAS THERE AT THE AIRPORT THAT

        5      MET WITH PAVON-REYES?

        6      A     THIS IS RAFAEL CARD-QUINTERO, YES.          THIS IS THE

        7      PERSON WHO WAS THERE AT THE AIRPORT.

        8      Q     HE WAS THE PERSON THAT ASKED WHO WAS IN CHARGE?

        9      A     YES.

       10      Q     IS HE THE PERSON THAT MET WITH PAVON-REYES?

       11      A     YES, SIR.

       12                     MR. CAMPOS:    YOUR HONOR, THE GOVERNMENT WOULD

       13      OFFER EXHIBIT 129 IN EVIDENCE.

       14 .                   THE COURT:    THAT MAY HAVE BEEN PREVIOUSLY

       15      RECEIVED, BUT IF NOT, IT WILL BE.

       16                     MR. CAMPOS:    THANK YOU, YOUR HONOR.

       17      Q     WHAT DID YOU SEE THEM DO?        AND I AM TALKING ABOUT

       18      P AVON-REYES AND RAFAEL CARD-QUINTERO.

       19      A     COMANQANTE PAVON APPROACHED RAFAEL CARD-Ql1INTERO.

       20      THEY TALKED FOR A FEW SECONDS.         THEN THEY SMILED, LAUGHED,

       21      SHOOK HANDS AND EMBRACED, AND AGAIN THEY TALKED FOR A

       22      M INUTE.

       23      Q     WERE THEY DOING THIS IN FRONT OF YOU?

       24      A     YES, SIR.
.
,
       25      Q     IN BETWEEN THE HANGARS?




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r,




                                                                             11-208
         1     A     YES, SIR, BETWEEN THE HANGAR WHERE I WAS STANDING AND

         2     THE PLANE, THE FALCON PLANE.

        3      Q     DID THEY WALK OFF IN A DIRECTION AT SOME POINT?

        4      A     N0.      COMANDANTE PAVON DID.

        5      Q     THIS WAS AFTER HE HAD THIS DISCUSSION WITH RAFAEL

        6      CARD-QUINTERO?

        7      A     YES, SIR.

        8      Q     DID YOU FOLLOW COMANDANTE PAVON-REYE53

        9      A     EVENTUALLY, YES.

       10      Q     AND WHERE DID COMANDANTE REYES GO WHEN YOU SAW HIM,

       11      I F YOU SAW HIM?

       12      A     COMANDANTE PAVON WENT TO -- IF I CAN REFER TO ONE OF

       13      YOUR EXHIBITS.

       14      Q     YES.      IS THAT EXHIBIT 126-B?

       15      A     YES, SIR.

       16      Q     THE SAME PHOTOGRAPH YOU USED BEFORE TO DESCRIBE WHAT

       17      W AS OCCURRING?

       18      A     YES, SIR.

       19      Q     ALL RIGHT.

       20                     M5. LEYVA:     YOUR HONOR, MAY I AGAIN MOVE.

       21                     THE WITNESS:     AFTER THEY TALKED FOR A WHILE,

       22      COMANDANTE PAVON LEFT THE AREA AND WALKED TO THIS OFFICE

       23      CPOINTING) WHERE THEY KEEP THE TELEPHONES AND

       24      COMMUNICATIONS OF THEIR MFJP.

       25      Q     BY MR. CAMPOS:        WOULD YOU CIRCLE THE ITEM ON THE
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                                                                          11-209

        1      PHOTOGRAPH THAT YOU DESCRIBE AS THIS OFFICE AND PUT N0. 2

        2      ON THERE IN A CIRCLE AND PUT YOUR INITIALS BESIDE IT, WITH

        3      THE COURT'S PERMISSION?

        4      A    (WITNESS COMPLIES.

        5      Q    DID YOU FOLLOW -- YOU SAID YOU FOLLOWED.HIM.          DID YOU

        6      GO INTO THAT BUILDING AS WELL?
..
        7      A    YES, I DID.     COMANDANTE PAVON LEFT.      IT IS A

        8      BUILDING, AND THERE IS A STAIRS TO GO TO THE OFFICE

        9      UPSTAIRS.      HE LEFT TWO AGENTS BLOCKING THE MAIN DOOR AND

       10      W ENT IN, AND I SAT IN THE OFFICE NEXT TO WHERE HE WAS

       11      MAKING A PHONE CALL.

       12      Q     YOU SAW HIM MAKING A PHONE CALL?

       13      A     YES, SIR.

       14      Q     YOU MAY SIT DOWN AGAIN.

       15                  W ITHOUT TELLING US WHAT, COULD YOU OVERHEAR THE

       16      CONVERSATION?

       17      A     JUST HIS REPLIES.

       18      Q     HIS REPLIES.     AND SO WERE YOU ABLE TO UNDERSTAND WHAT
.
~
       19      HE WAS TALKING ABOUT?

       20                  M5. LEYVA:    OBJECTION, YOUR HONOR.     THIS AGENT

       21      HAS JUST TESTIFIED HE COULD ONLY HEAR THE REPLIES.

       22                  THE COURT:    WELL, HE WAS ASKED IF HE WAS ABLE TO

       23      UNDERSTAND.

       24                  M5. LEYVA:    THAT CALLS FOR SPECULATION, YOUR

       25      HONOR.
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                                                                          11-210

        1                   THE COURT:     THE WITNESS MAY ANSWER THE QUESTION.

        2                   THE WITNESS:     I UNDERSTOOD THE REPLIES, BUT I

        3      COULDN'T UNDERSTAND WHAT THEY WERE TALKING ABOUT.

        4     Q     BY MR. CAMPOS:       I SEE.    WHAT DID COMANDANTE PAVON-

        5      REYES DO AFTER YOU SAW HIM AND HEARD HIM TALKING ON THIS

        6      TELEPHONE INSIDE THE OFFICE?

        7      A    HE DIDN'T KNOW I WAS THERE.         HE TALKED FOR A WHILE

        8      AND EXITED THE OFFICE WHERE HE WAS.         THE DOOR WAS OPEN.

        9      Q    DID YOU GO UP TO HIM AT THIS POINT?

       10      A    I KIND OF MET HIM HALFWAY, ANQ HE WAS VERY SURPRISED

       11      T O SEE ME THERE.

       12      Q    DID YOU ASK ANY QUESTIONS OF HIM?
~.
       13      A     I WAS ATTEMPTING T0.         HE LOOKED AT ME IN SURPRISE AND

       14      JUST WALKED VERY FAST AGAIN BACK TO WHERE THE FALCON WAS

       15      P ARKED.

       16      Q    SO HE WOULDN'T ALLOW YOU TO APPROACH HIM?

       17      A     N0.    THAT. WAS MY IMPRESSION.

       18      Q     DID YOU FOLLOW HIM BACK TO THE FALCON JET?

       19      A     YES.

       20      Q     WHAT DID YOU SEE AFTER YOU WALKED BACK TOWARD THE

       21      FALCON JET?
.
r
       22      A     AGAIN COMANDANTE PAVON APPROACHED RAFAEL CARO-

       23      QUINTERO.      AGAIN THEY TALKED FOR A WHILE, SMILED, EMBRACED

       24      THEMSELVES, AND THEY WALKED BEHIND THE TAIL OF THE FALCON.

       25      Q     THE FALCON JET?




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                                                                          11-211

       1      A    .YES.     AND THEY TALKED FOR A FEW MINUTES.

       2      Q     ALL RIGHT.     NOW, COULD YOU DESCRIBE AT THIS

       3      P ARTICULAR TIME WHAT TYPES OF CLOTHES RAFAEL CARD-QUINTERO
.
.
       4      W AS WEARING?

       5                   MS. LEYVA:     OBJECTION, YOUR HONOR.    LACK OF

       6      RELEVANCY.
.
.
       7                   THE COURT:     THAT IS SUSTAINED.

       8                   M R. CAMPOS:    YOUR HONOR, WHAT HE WAS WEARING QND

       9      HIS JEWELRY WILL BE TIED UP AT A PARTICULAR POINT.

      10                   THE .COURT:    THEN I WILL RECEIVE IT SUBJECT TO

      11      STRIKING IF I FIND IT NECESSARY.

      12                   M R. CAMPOS:    THANK YOU, YOUR HONOR.    IT WILL BE
.
,
      13      BRIEF.

      14      Q       WHAT TYPE OF JEWELRY WAS HE WEARING?

      15      A       HE WAS -- RAFAEL CARD-QUINTERO WAS WEARING A
.
.
      16      BRACELET, TO THE BEST OF MY RECOLLECTION, ON HIS RIGHT

      17      HAND.     I MEAN IT WAS ABOUT FIVE, SIX INCHES IN WIDTH WITH,

      18      I WOULD SAY, A COUPLE OF HUNDRED DIAMONDS AND RUBIES AND
.
.
      19      ALSO JUST A LOT OF JEWELRY, HEAVY, HEAVY, FLASHY JEWELRY.

      20      Q       WITH RESPECT TO THE BRACELET, DID THE BRACELET HAVE

      21      ANY KIND OF A MONOGRAM OR INDICATION ON IT?

      22      A       TO THE BEST OF MY RECOLLECTIQN, IT HAD AN "R" AND I

      23      BELIEVE A "1."

      24      Q       ALL RIGHT.   WILL YOU LOOK AT WHAT HAS BEEN MARKED AS

      25      GOVERNMENT'S EXHIBIT 131.
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.~




                                                                        11-212

        1     A     (WITNESS COMPLIES.)

        2     Q     DO YOU HAVE THAT IN FRONT OF YOU, SIR?

        3      A    YES, SIR, I D0.

        4     Q     AND DO YOU RECOGNIZE WHAT THAT ITEM IS?

        5      A   .YES, SIR, I D0.

        6      Q    WHAT IS THAT ITEM?
~
.
        7      A    THIS IS THE BRACELET THAT RAFAEL CARD-QUINTERO WAS

        8      WEARING WHEN I SAW HIM AT THE AIRPORT.

        9      Q    THAT IS A PHOTOGRAPH OF THE BRACELET HE WAS WEARING?
.
~
       10      A    THAT'S CORRECT.

       11                 MR. CAMPOS:    YOUR HONOR, THE GOVERNMENT WOULD

       12      OFFER THAT PHOTOGRAPH, YOUR HONOR.

       13                 MS. LEYVA:    YOUR HONOR, OBJECTION UNTIL THEY CAN

       14      T IE UP THIS TESTIMONY.    RELEVANCY.

       15                 THE COURT:    DOES IT NAVE SOME RELEVANCE?
.
,
       16                 MR. CAMPOS:    CARO-QUINTERO --

       17                 THE COURT:     YOU COULD OFFER IT LATER.

       18                 MR. CAMPOS:     VERY WELL, YOUR HONOR.
.
,
       19      Q     WHAT ELSE HAPPENED, IF ANYTHING, AFTER PAVON-REYES,

       20      THE GOMANDANTE, AND RAFAEL CARD-QUINTERO EMBRACED AND

       21      W ALKED BACK AROUND THE BACK OF THE FALCON JET?

       22      A     RAFAEL, HIS DEMEANOR CHANGED FROM BEING WORRIED

       23      BECAUSE YOU COULD SEE HIS FACIAL EXPRESSIONS BEFORE.        BY

       24      THIS TIME HE WAS RELAXED, LAUGHING, SMILING.        HE GOT INTO
.
,
       25      THE JET.   THE DOOR WAS OPEN.     HE REMOVED A BOTTLE OF
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                                                                           11-213

        1      CHAMPAGNE, OPENED IT.

        2                   B Y THIS TIME THE JET WAS TAXIING VERY SLOWLY,

        3      AND HE CAME RIGHT IN FRONT OF US AND JUST TOASTED AND

        4      SAID, "NEXT TIME, MY SONS" -- WELL, THIS WAS IN SPANISH --

        5          C WITNESS RECITES A SPANISH PHRASE, WHICH MEANS, ''NEXT

        5      T IME, MY SONS, BRING BETTER WEAPONS."       AND NE DRANK AND

        7      DEPARTED.

        8      Q       WAS HE IN THE JET WHEN HE DID THIS?

        9      A       YES, SIR.

       10      Q       AND HE STUCK HIS HEAD OUT THE DOOR?

       11      A       HE WAS STANDING RIGHT IN FRONT OF THE DOOR, AND THE

       12      JET WAS TAXIING VERY SLOWLY, AND THE DOOR WAS NOT TOUCHING
~,
       13      THE GROUND.

       14      Q       ALL RIGHT.   AND IN FACT WAS THE JET ALLOWED TO LEAVE?

       15      A       YES, SIR.
~,
       16      Q       AND WHAT DID YOU DO?.

       17      A       AT THIS TIME WHEN THIS WAS HAPPENING, COMANDANTE

       18      PAVON WAS WALKING TOWARDS WHERE I WAS, AND I ASKED HIM,
.
,
       19      "WHO IS THAT GUY?       WHO IS THAT MAN?"

       z0                     AND COMANDANTE PAVON TOLD ME, "OH, IT IS AN OLD
P


       21      FRIEND OF MINE.       IT IS COMANDANTE ROGELIO MUNOZ."     THAT

       22      WAS ABOUT IT.

       23      Q       BUT IN FACT IT WASN'T TRUE?

       24      A       THAT'S CORRECT.    LATER WE FOUND OUT.

       25      Q       THAT THAT WAS RAFAEL CARD-QUINTERO.       ALL RIGHT.   DID
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r,




                                                                             11-214

         1     YOU RETURN FROM THE AIRPORT AT THAT PARTICULAR TIME?

         2     A      ,YES.    I RETURNED WITH COMANDANTE BRISOLO, COMANDANTE

         3     ESPINO, AND SOMEBODY ELSE.          I CAN'T RECALL THE NAME.
.
.
        4      Q      AND YOU WERE TRAVELING IN ONE OF THE CELEBRITIES THAT

         5     H AD BEEN RENTED?

         6     A      YES.     I BELIEVE A YELLOW CELEBRITY.

         7                    THE COURT:     YOU NAVE ANSWERED.

         8                    THE WITNESS:    YES, SIR.

         9     Q      BY MR. CAMPOS:       DO YOU RECALL THE COLOR OF THAT CAR?

        10                    I T IS RELEVANT, YOUR HONOR, AND WE WILL TIE THAT

        11      UP.

        12                    THE COURT:     IF IT IS NOT RELEVANI~ YOU SHOULD

        13      NOT ASK.

        14                    MR. CAMPOS:     I AM SAYING THAT IT IS RELEVANT,

        15      YOUR HONOR.

        16                    THE COURT:     ALL RIGHT.

        17                    MR. CAMPOS:     WE WILL TIE IT UP IN A FEW MINUTES.

        18      Q     WHAT COLOR WAS IT?
.
.
        19      A     YELLOW.

        20      Q     THANK YOU.     DID YOU HAVE FURTHER DISCUSSIONS ABOUT

        21      THIS INCIDEWT, WITHOUT GOING INTO THE DETAILS OF WHAT WAS

        22      SAID, WITH THESE COMANDANTES IN THE CAR?

        23      A     YES, SIR.

        24      Q     NOW, FURTHER INVESTIGATION WAS DONE WITH RESPECT TO
.r
        25      THIS INCIQENT, I TAKE IT, BY DEA.         IS THAT CORRECT?
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                                                                            11-215

         1      A    TNAT'S CORRECT.

         2     Q     DID YOU PERSONALLY PARTICIPATE IN SOME OF THIS

         3      I NVESTIGATION?
.
.
         4     A     I PARTICIPATED IN A LOT OF INVESTIGATIONS, YES.

         5      Q    DID YOU HAVE ANYTHING TO DO AT ALL WITH. iNVESTIGATING

         6      ANYTHING THAT PAVON-REYES MAY HAVE DONE?
.
,
         7      A    N0, SIR,

         8      Q    NOW, I AM GOING TO TAKE YOU FORWARD.        THIS WAS

         9      F EBRUARY THE 9TH, 1985, THAT YOU HAVE JUST DESCRIBED.

        10      CORRECT?

        11      A    THAT'S CORRECT.

        12      Q    DID THERE COME A TIME LAST YEAR WHEN YOU SPOKE TO AN
.~
        13      I NDIVIDUAL NAMED LOPEZ-ALVAREZ?

        14      A    YES, SIR.

        15      Q    IS THAT PERSON HERE IN THE COURTROOM TODAY?
.
.
        16      A    YES, SIR.      HE IS WEARING A LIGHT BROWN SUIT, BLUE

        17      SHIRT, ANQ BLUE STRIPED TIE, SITTING NEXT TO AN ATTORNEY I

        18      BELIEVE, WHOSE LAST NAME IS LEYVA.
.
.
        19                    THE COURT:    INDICATING THE DEFENDANT MR. LOPEZ-

        20      ALVAREZ.

        21                    MR. CAMPOS:   THANK YOU, YOUR HONOR.
.
,
        22      Q     NOW, DID YOU ENCOUNTER -- DID YOU MEET DEFENDANT RAUL

        23      LOPEZ-ALVAREZ AFTER HE HAD BEEN ARRESTED IN THE UNITED

        24      STATE53

        25      A    YES, SIR.




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                                                                           11-216

         1     Q     AND HAD RAUL L4PEZ-ALVAREZ AGREED TO GIVE A STATEMENT

         2     AFTER HIS ARREST?

         3                    MS. LEYVA:    OBJECTION.   LACK OF FOUNDATION AS TO

         4      THIS WITNESS.

         5                    MR. CAMPOS:    WELL, IT IS BACKGROUND, YOUR IiONOR,

         6      TO WHAT HE DID.      IT SHOWS A STATE OF MIND AND WHY HE DID

         7      W HAT FOLLOWED.

         8                    THE COURT:    THE OBJECTION IS SUSTAINED.

         9      Q    BY MR. CAMPOS:         DID YOU SPEAK TO HIM?

        10      A    YES, SIR.

        11      Q    WHAT DID YOU TELL MIM?

        12      A     I ASKED HIM WHETHER HE RECOGNIZED ME.

        13      Q    DID HE SAY SOMETHING BACK TO YOU?

        14      A    HE LOOKED AT ME BRIEFLY, JUST LOOKED AT ME AND LOOKED

        15      AWAY AND SAID, "N0."

        16      Q    THEN DID HE SAY ANYTHING MORE TO YOU?

        17      A     I THEN ASKED HIM, "DO YOU REMEMBER WHEN CARD-QUINTERO

        18      ESCAPED FROM GUADALAJARA AT THE AIRPORT?"

        19                    HE THEN TURNED BACK TO ME AND LOOKED AT ME, AND

        20      HE SAID, "OH, YES.         YOU WERE WITH COMANDANTE BRISOLO, AND

        21      A YELLOW CAR THAT DAY."

        22                    SO I SAID, "YES, I WAS THERE."

        23      Q     ALL RIGHT.     DID YOU HAVE ANY FURTHER CONVERSATION

        24      W ITH DEFENDANT RAUL LOPEZ?
.
,
        25      A     N0.     THAT WAS IT.
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                                                                            11-217

        1                     MR. CAMPOS:    MAY I HAVE A BRIEF MOMENT, YOUR

        2      HONOR?

        3                     CDISCUSSION OFF THE RECORD.)
-,
        4                     MR. CAMPOS:     NOTHING FURTHER AT THIS TIME, YOUR

        5      IiONOR

        6                     THE COURT:     YOU MAY CROSS-EXAMINE THE WITNESS.

         7                    MS. LEYVA:     YES, YOUR HONOR.

        8                                  CROSS EXAMINATION

         9     BY MS. LEYVA:
.
,
       10      Q        THIS INCIDENT THAT OCCURREQ AT THE AIRPORT, YOU ARE

        11     A WARE THAT IT WAS REPORTED IN THE MEXICAN NEWSPAPERS.

        12     CORRECT?
-,
        13                    MR. CAMPOS:     OBJECTION.   IRRELEVANT.

        14                    THE COURT:     IS HE PRESENTLY AWARE THAT IT WAS?

        15                    M5. LEYVA:     THAT IS CORRECT.

        16                    MR. CAMPOS:     OBJECT ON THE BASIS OF HEARSAY,

        17      YOUR HONOR.

        18                    THE COURT:     YOU MAY ANSWER THE QUESTION.
.
.
        19                    THE WITNESS:     I CAN'T RECALL SEEING IT -- THE

        20      ARTICLE THAT YOU ARE REFERRING T0.

        21      Q       BY M5. LEYVA:      NOW LONG WERE YOU IN GUADALAJARA

        22      I NVESTIGATING THE DISAPPEARANCE OF AGENT CAMARENA?

        Z3      A       I WOULD SAY CLOSE TO SIX MONTHS.

        24      Q   .AND DURING THE SIX MONTHS THAT YOU WERE IN
,
~
        25      GUADALAJARA, ISN'T IT TRUE THAT THE INCIDENT INVOLVING




.
.
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                                                                            11-218

         1      CARD-QUINTERO AND PAVON-REYES At THE GUADALAJARA AIRPORT

         2      W A5 REPORTED IN THE PRESS IN MEXICO?

         3      A    PERHAPS, YES.         I CAN'T RECALL SEEING ANYTHING
-,
         4      SPECIFICALLY.

         5      Q    OKAY.     JUST ONE MOMENT.

         6                    DO YOU RECALL TESTIFYING BEFORE THE GRAND JURY
.
,
         7      REGARDING THIS MATTER ON APRIL 1ST, 19$7?

         8      A    YES, I D0.

         9      Q    AND DO YOU RECALL TELLING THE GRAND JURY THAT IT AL50

        10      WAS IN ALL THE NEWSPAPERS THAT COMANDANTE PAVON AND SO

        11      F ORTH BECAUSE OF THIS INCIDENT?

        12      A     I RECALL SAYING THAT REGARDING COMANDANTE PAVON BEING

        13      I NCARCERATED.

        14      Q    AND THE INCIDENT YOU WERE TALKING ABOUT WAS PAVON-

        15      REYES ALLOWING CARO-QUINTERO TO LEAVE THE AIRPORT.

        16      A    THAT IS CORRECT.

        17      Q    AND SO YOU ARE AWARE THAT THIS INCIDENT AT THE

        18      A IRPORT WAS REPORTED IN THE PRESS IN MEXICO?

        19                    MR. CAMPOS:     I THINK THAT QUESTION HAS BEEN

        20      ASKED AND ANSWERED.

        21                    THE COURT:     SUSTAINED.
.
.
        22                    MS. LEYVA:     WELL, HE HASN'T ANSWEREp THE

        23      QUESTION, YOUR. HONOR.

        24                    THE COURT:     I THINK HE HAS.

        25      Q     BY MS. LEYVA: .WHEN YOU ARRIVED IN GUADALAJARA ON
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                                                                              11-219

           1     FEBRUARY 9, YOU SAID YOU ARRIVED WITH AGENT LOGO?

           2     A     .CHARLIE LOGO.

           3     Q     CHARLES LUGO.     AND YOU WENT TO THE AMERICAN CONSULATE.
.
-
          4      AND THEN MET WITH ARMANDO PAVON-REYES.           CORRECT?

           5     A     AT THE MFJP OFFICE.

           6     Q     WHEN YOU WENT TO THE MFJP OFFICE, YOU MET WITH

           7      COMANDANTE PAVON-REYES?

           8     A     ThiAT I S CORRECT.

           9     Q     AND YOU f ORMULATED A PLAN AS TO HOW YOU WERE 60ING TO

          10      F IND ENRIQUE CAMARENA.     CORRECT?

          11     A     THAT'S CORRECT.

          12      Q    AND PART OF YOUR PLAN IN FINDING ENRIQUE CAMARENA WAS
..,,
          13      T O GO AND SEARCH ALL THE NARCOTICS TRAFFICKERS' HOMES.

          14      CORRECT?

          15      A    I CAN'T RECALL THAT SPECIFICALLY.
,.,
          16      Q    YOU DON'T RECALL WHETHER YOU WERE GOING TO BE

          17      I NVOLVED IN SEARCHING THE TRAFFICKERS' HOMES THAT pAY?

          18      A    THAT IS CORRECT.
~,
          19      Q    WERE YOU AWARE tHAT OTHER AGENTS WERE 60ING TO GO

          20      W ITH THE FEDERAL POLICE TO SEARCH THE HOMES OF DRUG

          21      TRAFFICKERS?
.
.
          22      A    AGENTS DQ NOT SEARCH HOUSES IN MEXICO.          IT IS THE

          23      MEXICAN FEDER,4L POLICE WHO DO THAT.

          24      Q    YOU WERE AWARE THAT PART OF THE PLAN WAS FOR THE
.
.
          25      MEXICAN FEDERAL JUDICIAL POLICE TO GO TO SEARCH THE HOME




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.-
         1     OF NARCOTICS TRAFFICKERS AS PART OF THE PLAN TO FIND

         2     ENRIQUE CAMARENA.       CORRECT?

         3                    M R. CAMPOS:    IT HAS BEEN ASKED AND ANSWERED.

        4      AND I ALSO OBJECT ON RELEVANCY.

         5                    M5. LEYVA:     HE HASN'T ANSWERED THE.QUESTION.

        6                     THE COURT:     OVERRULED.
..
         7                    YOU MAY ANSWER THE QUESTION.

         8                    THE WITNESS:     I DON'? THINK THAT WAS THE

         9     SPECIFIC PLAN.

        10     Q     BY M5. LEYVA:         YOU TALKED ABOUT A PLAN WITH PAVON-

        11      REYES.     CORRECT?

        12     A     THAT IS CORRECT.

        13     Q     AND YOU MUST HAVE HAD SOME SPECIFICS IN YOUR PLAN.

        14      CORRECTS

        15      A    N0.      THERE WAS NO SPECIFICS.

        16      Q    50 YOU ARE TELLING US THAT YOUR MEETING WITH THE

        17      FIRST COMMANDER OF THE MEXICAN FEDERAL JUDICIAL POLICE,

        18      WHO NAS BEEN ASSIGNED TO INVESTIGATE THE DISAPPEARANCE
.
.
        19      OF ENRIQUE CAMARENA, BUT YOU DID NOT HAVE ANY SPECIFIC

        20      PLANS?

        21      A    THEY DIDN'T HAVE ANY SPECIFIC PLANS.

        22      Q    DID YOU PROPOSE SPECIFIC PLANS TO THEM?

        23      A    WE TALKED ABOUT A LOT OF PLANS, YES.

        24      Q    WAS ONE OF THOSE PLANS TO GO AND SEARCH THE HOMES OF
.
,
        25      THE QRUG TRAFFICKERS?




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,-.,
           1     A     NOT TO MY RECOLLECTION.

           2     Q     YOU WERE NOT PRESENT DURING SUCH A CONVERSATION?

           3     A     I AM NOT PRIVY TO THAT CONVERSATION THAT YOU ARE

           4     TALKING ABOUT.

           5     Q     THAT IS WHAT I AM ASKING, IF YOU WERE PRESENT AT THAT

           6      CONVERSATION.
.
.
           7     A     I DON'T KNOW IF IT EXISTED.      I AM SORRY.   THAT

           8      CONVERSATION.

           9     Q     HOW LONG DID YOUR MEETING WITH PAVON-REYES LAST
.
,
          10      REGARDING YOUR PLAN T4 INVESTIGATE THE DISAPPEARANCE OF

          11     E NRIQUE CAMARENA?

          12     A     A COUPLE OF HOURS, I GUE55.      I CAN'T RECALL.

          13      SPECIFICALLY.

          14     Q     WHEN YOU SAY A COUPLE OF HOURS, ARE WE TALKING ABOUT

          15      T WO HOURS, FOUR HOURS, OR SIX HOUR53
.,.
          16      A    I WILL SAY THAT WE WILL TALK, NE HAD -- NE WILL MAKE

          17      PHONE CALLS, WE WOULD LEAVE THE OFFICE AND COME BACK.         SO

          18      I T WAS NOT A MEETING WHEREBY YOU SIT DOWN AND TALK FOR TWO

          19      HOURS OR THREE HOURS.     IT WAS -- SO TO BE SPECIFIC IT

          20      WOULD BE VERY HARD FOR ME TO SAY.

          21      Q    DO YOU KNOW ABOUT WHAT TIME YOU GOT TO THE MFJP
.
,
          22      OFFICES?

          23      A    ON THE 9TM?

          24     Q     ON THE 9TH.
~
,
          25     A     I WOULD 5AY ABOUT 4:00 A.M., Td THE BEST OF MY




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                                                                             11-222

          1      RECOLLECTION.

          2     Q     AND ABOUT WHAT TIME DID YOU FINISH YOUR PLANNING

          3      SESSION WITH PAVON-REYES?
,
-
          4     A     I LEFT AFTER ABOUT AN HOUR AND A HALF OR TWO HOURS.

          5      OTHER AGENTS STAYED THERE.      WE HAD PEOPLE AT. ALL TIMES IN

          6      HIS OFFICE.     50 PERSONALLY I WAS THERE POSSIBLY TWO HOURS.
-
,
          7      Q    AND AT NO TIME DURING THE TIME YOU WERE WITH PAVON-

          8      REYES DISCUSSING YOUR PLAN, DID HE TELL YOU ABOUT GOING TO

          9      THE AIRPORT?
.
.
         10      A    TNAT'S CORRECT.

         11      Q    DO YOU KNOW WHETHER HE TOLD ANY OTHER AGENTS ABOUT A

         12      PLAN TO GO TO THE AIRPORT?
-,
         13      A    N0, I DO NOT.

         14      Q    OTHER AGENTS MAY HAVE KNOWN OF THE PLAN?

         15      A     I HAVE NO IDEA, MA'AM.
.
,
         16      Q    NOW, IN ADdITION TO YOURSELF, THERE WERE OTHER DEA

         17      AGENTS THAT ENDED t1P AT THE AIRPORT.      CORRECT?

         18      A    THAT IS CORRECT.

         19      Q     THERE WERE ABOUT THREE OTMER DEA AGENTS?

         20      A    ABOUT THREE WITH ME, POSSIBLY FOUR.

         21      Q     SO THERE WAS A TOTAL OF MAYBE FOUR DEA AGENTS GOING

         22      TO THE AIRPORT?

         23      A     THAT'S CORRECT.

         24      Q     AND YOU WERE IN A CAR WITH COMANDANTE BRISOLO,

         Z5      COMANDANTE ESPINO, AND ASUNCIADO CALVEDA.        CORRECT?




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          1     A     CORRECT..

          2     Q     NOW, COMANDANTE ESPINO, IS THAT ESPINO-VERDIN?

          3     A     TO THE BEST OF MY RECOLLECTION, TNA7 IS FiIM.
-
,
          4     Q     HAVE YOU LOOKED AT PHOTOGRAPHS OF SERGIO ESPINO-

          5      V ERDIN?

          6     A     N0, I HAVE NOT.
,.,
          7     Q     YOU HAVE NOT BEEN SHOWN PHOTOGRAPHS TO CONFIRM YOUR

          8      I DENTIFICATION OF SERGIO ESPINO-VERDIN?

          9      A    THAT'S CORRECT.
-,~
         10      Q    AND YOU WERE IN THE GAR THAT WAS FOLLOWING PAVON-

         11      REYES TO THE AIRPORT.      CORRECT?

         12      A    THAT IS CORRECT.
-,
         13      Q    AND SO YOU HAD ABOUT NINE OR TEN CARS BEHIND YOU

         14      GOING TO THE AIRPORT.      CORRECT?

         15      A    APPROXIMATELY, OR MORE.
r
         16      Q     NOW, WHEN DID YOU LEARN THAT STATE JUDICIAL POLICE

         17      OFFICERS WERE IN THAT GONYOY3

         18      A     I LEARNED THAT BEFORE WE LEFT THE MFJP.

         19      Q    50 BEFORE YOU LEFT, YOU LEARNED FROM PAVON-REYES?

         20      A     THAT IS CORRECT.

         21      Q    THAT HE FiAD REQUESTED ASSISTANCE FROM THE STATE

         22      J UDICIAL POLICE?

         23      A     YES„ MA'AM.

         24      Q     AND BEFORE YOU LEFT, DID YOU MEET THOSE OFFICERS?

         25      A     N0.     I SAW COMANDANTE GONZALE~ AND YOUR DEFENDANT.




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           1     Q     AND WHERE DID YOU SEE THEM?

          2      A     TO THE BEST OF MY RECOLLECTION, I SAW THEM WALKING

           3     AROUND WHEN WE WERE GETTING READY TO FOLLOW COMANDANTE
r,
          4      P AVON.

           5     Q     THIS WAS AT THE MEXICAN FEDERAL JUDICIAL POLICE

          6      OFFICES?
,~,
          7      A     THAT 15 CORRECT.

          8      Q     CAN YOl1 RECALL WHAT DEFENDANT RAUL LOPEZ-ALVAREZ WAS

          9      WEARING?
.
,
          10     A     N0, MA'AM.

          11     Q     WAS HE IN A REGULAR POLICE UNIFORM?

          12     A     N0, MA'AM.

          13     Q     DO YOU RECALL WHAT WEAPON FiE MAY HAVE NAD?

          14     A     N0, MA'AM.

          15     Q     DID YOU SEE ANY OF THOSE AR-15'5 IN HIS ARMS?

          16     A     EVERYONE WAS CARRYING WEAPONS, SO --

          17     Q     1 AM ASKING DID YOU SEE AN AR-15 IN HIS ARMS?

          18      A    I CAN'T RECALL.

          19     Q     THE AR-15 IS A PRETTY BIG WEAPON, ISN'T IT3

          20      A    IT IS LARGE, YES.

          21     Q     AND YOU DO NOT RECALL"WHETHER ME NAD SUCF1 A WEAPON IN

          22     HIS ARMS.       CORRECT?

          23                    MR. CAMPOS:    ASKED AND ANSWERED, YOUR HONOR.

         24                     THE COURT:    SUSTAINED.
., .
          25     Q     BY M5. LEYVA:        DID YOU SEE THE CAR THAT COMANDANTE
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         1     GONZALEZ AND MR. LOPEZ-ALVAREZ BOARDED?

         2     A     N0.

         3     Q     DID YOU SEE WHERE THEY MAY HAVE BEEN IN THE CONVOY?
.
.
         4      A    N0.

         5                    MS. LEYVA:    MAY I HAVE JUST A MOMENT, YOUR

         6      HONOR?

         7                    CPAUSE.~

         8      Q    BY MS. LEYVA:         DID YOU HAVE ANY INFORMATIQN ABOUT

         9      ANYONE ELSE THAT MAY HAVE BEEN WITH MR. LOPEZ-ALVAREZ?

        10      A    I AM SORRY.         I DIDN'T UNDERSTAND.

        11      Q    DO YOU HAVE ANY INFORMATION ABOUT ANY OTHER

        12      I NDIVIDUAL THAT WAS WITH RAUL LOPEZ-ALVAREZ?

        13      A    N0.

        14      Q    HOW MANY PEOPLE FROM THE STATE JUDICIAL POLICE WERE

        15      P ART OF THE CONVOY?

        16      A    I DON'T KNOW.

        17      Q    SO YOUR ONLY INFORMATION WAS THAT COMANDANTE GONZALEZ

        18      AND RAUL LOPEZ-ALVAREZ WERE FROM THE STATE JUDICIAL

        19      POLICE?

        20      A    THEY ARE THE ONLY TWO THAT I SAW.           I DIDN'T SEE

        21      ANYBODY ELSE.
.
,
        22      Q    OKAY.      BEFORE YOU GOT TO THE AIRPORT, ALL OF THE CARS

        23      STOPPED FOR GAS.         CORRECT?                                     I

        24      A    THAT IS CORRECT.
.
.
        25      Q    AND WHEN THE CARS STOPPED FOR GAS, DID YOU GET OUT OF




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        1      THE CAR?

        2      A      N0, I DID NOT.

        3      Q      YOU REMAINED AT ALL TIME53     DID ALL THE CARS STOP FOR

        4      GAS?

        5      A      N0, N4T ALL.     I REMEMBER COMANDANTE PAVON STOPPED FOR

        6      GAS.    WE WAITED FOR HIM.     WE WEREN'T GETTING GAS, BUT HE
.
.
        7      DID GET GAS.

        8      Q      DID THE LINE BEHIND YOU AL50 SLOW DOWN AND WAIT FOR

        9      P AVON-REYES?

       10      A      YES, MA'AM.

       11      Q      NOW, ARE YOU AWARE OF COMANDANTE GONZALEZ'S POSITION

       12      W ITHIN THE STATE JUDICIAL POLICE?

        13     A      NOW?

       14      Q      N0, NOT NOW.     HE IS DEAD.   AT tIiAT TIME?

        15     A      AT THE TIME I THINK HE WAS A COMANDANTE.         I DIDN'T
.
,
        16     K NOW WHETHER HE WAS PRIMER OR SECOND.       PERHAPS I DONUT

        17      U NDERSTAND YOUR QUESTION.

        18     Q      DID YOU KNOW WHAT HIS POSITION WAS WITHIN THE STATE
.
,
        19      J UDICIAL POLICE?

       20      A      I WAS TOLD HE WAS A COMANDANTE.

        21     Q      BUT YOU WERE NOT TOLD WHAT SUPERVISION OR WHAT ROLE
.
,
        22     HE PLAYED WITHIN THE STATE JUDICIAL POLICE?

        23      A     N0.

        24     Q      COMANDANTE COULD BE A GROUP SUPERVISOR OF JUST A
.
,
        25     SMALL SECTION OF THE. WHOLE DEPARTMENT.          CORRECT?
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          1     Q     COULD BE.

          2     Q     AND A COMANDANT€ CAN AL50 BE A HEAD OF AN OFFICE THAT

          3      OVERSEES SEVERAL GROUPS EACH WITH THEIR OWN SUPERVISOR.

          4      CORRECT?

          5      A    COULD BE.

          6     Q     BUT YOU ARE NOT AWARE OF WHAT POSITION COMANDANTE

          7     GONZALEZ EXACTLY HAD?

          8     A     THAT IS CORRECT.

          9     Q     NOW, YOU SAID YOU WERE SURPRISED THAT YOU WERE GOING

         10      T O THE AIRPORT AND WASN'T TOLD WHY.     DIDN'T YOU HAVE A

         11     PLAN TOGETHER WITH PAVON-REYES3

         12      A    N0, WE DIDN'T.

         13     Q     50 YOU JUST ASSUMED THAT IF H~ TOLD YOU TO GO

         14      SOMEWHERE, IT MUST BE RELATED TO ENRIQUE CAMARENA?

         15      A    THAT IS CORRECT.

         16      Q    AND YOU WEREN'T QUESTIONING WHAT WAS GOING ON IN

         17     . TERMS OF INVESTIGATION?

         18      A    THAT IS CORRECT.

         19      Q    AND 50 WERE YOU THEN JUST BASICALLY TAGGING ALONG TO

         20      SEE WHAT WAS DONE?

         21      A    TAGGING ALONG?     Wf WERE WITH THEM TRYING TO FIND OUT
.•,
         22      WHERE AGENT CAMARENA WAS.

         23      Q    BUT THEY WEREN'T TELLING YOU WHERE YOU WERE GOING.

         24      R IGHT?

         25      A    THEY DIDN~T TELL US.     RIGHT.




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        1      Q     BEFORE YOU GOT INTO THE CARS           DID ANYONE MAKE ANY

        2      K IND OF GENERAL ANNOUNCEMENT TO THE GROUPS           "GET IN THE

        3      CARS BECAUSE THIS IS WHERE WE ARE GOING AND ALL OF YOU

        4      FOLLOW IN LINE"?

        5                     MR. CAMPOS:    ASKED AND ANSWERED, YOUR HONOR.

        6                     THE COURT:     OVERRULED.

        7                     THE WITNESS:    COMANDANTE PAVON JUST SHOUTED TO

        8      GET IN THE CARS AND FOLLOW ME.             WE FOLLOWED HIM.

        9      Q     BY MS. LEYVA:      SO NO ONE IN THE WHOLE GROUP TO THE

       10      BEST OF YOUR RECOLLECTION WAS TOLD WHERE YOU WERE GOING?

       11      A     NOBODY QUESTIONED COMANDANTE PAVON.

       12      Q     NOW, WHERE WERE YOU WHEN YOU WERE TOLD THAT YOU WERE
..
       13      TO GET IN THE CAR?

       14      A     I WAS OUTSIDE OF THE OFFICE NEXT TO COMANDANTE PAVON,

        15     THE MFJP OFFICES.
.
.
        16     Q     YOU WERE STANDING -- WHEN YOU SAY OUTSIDE, DO YOU

        17     MEAN IN A CORRIDOR OR OUT IN THE STREET?

        18     A     OUT IN THE STREET.         RIGHT OUTSIDE.

        19     Q     WERE YOU STANDING OUTSIDE ON THE STREET WITH OTHER

        20      AGENTS?

        21     A     AGENTS AND -- YES.
.
,
        22     Q     WERE THERE ANY AGENTS, DEA AGENTS, STILL INSIDE WITH

        23     P AVON-REYES MAKING ANY PLANS?

        24     A     I MAVE NO IDEA.
.
.
        25     Q     THE AGENTS CHAT WENT TO THE AIRPORT, THOSE AGENTS




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.
         1      WERE ALL OUTSIDE WITH YOU ON THE STREET?

         2      A    TO THE BEST OF MY RECOLLECTION, YES.

         3      Q    AND ABOUT WHAT TFME WAS IT THAT PAVON-REYES SAID,

         4     "ALL OF YOU GET IN THE CAR.rr

         5      A    POSSIBLY AROUND 3:00 P.M., CLOSE T0.

         6      Q    YOU WERE TOLD TO GET IN THE CAR.      HOW FAR DID YOU
.
,
         7      HAVE TO GO TO GET INTO CARS?      WHERE WERE THE CARS?

         8      A    THEY WERE PARKED RIGHT THERE IN FRONT OF THE

         9      5IDEWALK.
.
.
        10      Q    YOU HAD TEN CARS LINED UP3

        11      A       THEY WERE ALL OVER THE PLACE, BUT RIGHT IN FRONT,

        i2      BLOCKING TRAFFIC.    YES..
.
.
        13      Q    AND YOU HAD BEfN OUTSIDE ON THE STREET FOR NOW LONG?

        14      A       I CAN'T RECALL.

        15      Q    WAS IT 15 MINUTES, OR WAS IT AN HOUR?
.
.
        16      A       I CAN'T RECALL.

        17      Q       WAS IT TWO HOURS3

        18      A       I CAN'T RECALL.

        19      Q       DO YOU RECALL WHEN YOU LEFT THE OFFICE, THE MFJP

        20      OFFICE, MEETING WITH COMANDANTE PAVON?         DO YOU RECALL

        21      THAT?

        22      A       I RECALL THAT, YES.

        23      Q       AND WHAT LIME WAS THAT?

        24      A       IT HAD t0 BE BEFORE 3:00 P.M., CLOSE TO 3:00 P.M.
.
.
        25      Q       YOU HAD INITIALLY GOTTEN TO THE MFJP OFFICES ABOUT




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                                                                          11-23 Q

          1     4:00 IN THE MORNING.     CORRECT?

          2     A     AROUND THAT TIME.

          3     Q     AT ABOUT 3:00 P.M. YOU WERE STANDING OUTSIDE ON THE

          4      SIDEWALK BEING TOLD TO GET INTO CARS.      CORRECT?

          5     A     THAT IS CORRECT.

          6      Q    QID YOU GO TO LUNCH?
..
          7      A    N0, MA'AM.    I DON'T THINK S0.

          8      Q    FROM 4:00 O'CLOCK UNTIL 3:00 P.M. YOU HADN'T EATEN.

          9      CORRECT?
.
.
         10      A    THAT I5 CORRECT.

         11      Q    AND YOU CAN'T RECALL HOW LONG YOU WERE OUT THERE?

         12      A    THAT IS CORRECT.
.
.
         13      Q    DO YOU KNOW WHEN THE CARS GOT OUT ON THE STREET?

         14      A     I DON'T UNDERSTAND THE QUESTION.

         15      Q    DID THE STREET GET FILLED WITH ALL OF THESE CARS
,..
         16      DURING THE TIME YOU WERE STANDING OUT ON THE SIDEWALK?

         17      A    N0, MA'AM.    I WAS DIRECTED BY COMANDANTE PAVON TO

         18      OBTAIN SOME VEHICLES.     I THEN WENT ACCOMPANIED BY OTHER
.
.
         19      AGENTS AND MFJP FEDERAL AGENTS PERSONNEL TO A RENTAL

         20      OFFICE, RENTED THE VEHICLES, AND THEN WE TOOK TRIPS TAKING

         21      THE VEHICLES TO THE MFJP OFFICE.
,-.
         22      Q    DO YOU RECALL THE TIME YOU WENT AND RENTED THE

         23      VEHICLES?

         24      A     IT TOOK US A LONG TIME.      I WOULD SAY AROUND NOON OR

         25      1:00 O'CLOCK.     IT TOOK US Q COUPLE OF HOURS MINIMUM TO




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         1      OBTAIN THAT AMOUNT OF VEHICLES AND THE PAPERWORK.

         2      Q    50 IT TOOK YOU A COUPLE OF HOURS TO OBTAIN

         3      APPROXIMATELY TEN CARS.        IS THAT CORRECT?

         4      A    THAT IS CORRECT.

         5      Q    AND YOU AND THREE OTHER AGENTS TOOK TURNS BRINGING

         6      THE CARS.     CORRECT?

         7      A    N0.

         8      Q     I AM SORRY.    YOU AND MFJP POLICE OFFICERS ARE THE

         9      ONES THAT TOOK TURNS BRINGING THE CARS.           RIGHTS

        10      A    THAT IS CORRECT.        SOME PEOPLE --

        11      Q    PARDON?

        12      A    SOME OTHER AGENTS, PERSONNEL, ASSISTED ME.            FEDERAL

        13      AGENTS, I GUE55.

        14      Q     HOW FAR AWAY WAS THAT CAR RENTAL AGENCY FROM THE SPOT

        15      WHERE YOU DELIVERED THE VEHICLES?
.
.
        15                    MR. CAMPOS:    OBJECTION.   IRRELEVANT, YOUR HONOR.

        17                    MS. LEYVA:    YOUR HONOR, IT IS RELEVANT TO WHAT

        18      THIS AGENT DID THAT DAY AND THE TIME.         WE DID NOT GET THAT
.
.
        19      INFORMATION.

        20                    THE COURT:    WELL, YOU MAY ANSWER THE QUESTION.

        21                    HOW MUCH MORE DO YOU HAVE OF THIS WITNESS?
,
.
        22                    MS. LEYVA:     I THINK I STILL HAVE ANOTHER 15 OR

        23      20 MINUTES.

        24                    THE COURT:    YOU MAY ANSWER THE QUESTION.
.
,
        25                    THE WITNESS:     I CAN T RECALL.




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        1                     THE COURT:    WE WILL ADJOURN AT THIS TIME AND

        2      TAKE OUR RECESS.       PLEASE KEEP IN MIND, LADIES AND

        3      GENTLEMEN, YOUR DUTY NOT TO DISCUSS THIS CASE WITH EACH
.
.
        4      OTHER OR WITH ANYONE ELSE, AND NAT TO ALLOW ANYONE ELSE TO

        5      D ISCUSS IT WITH YOU AND NOT TO WATCH ANY TELEVISION OR

        6      RADIO BROADCASTS REGARDING THIS TAPE OR READ ANY
r
        7      NEWSPAPERS CONCERNING IT.

        8                     W E WILL RECONVENE TOMORROW MORNING AT 9:30.

        9      KEEP IN MIND THAT WE WILL BE OFF NEXT WEEK.          I MENTIONED
.
.
       10      THAT TO YOU AT THE BEGINNING OF THE TRIAL.          WE WILL NOT BE

       11       I N SESSION ON THIS CASE NEXT WEEK.       YOU MAY BE EXCUSED

        12     NOW.

       13                     CTHE JURY LEFT THE CQURTROOM AND

       14                     PROCEEDINGS IN OPEN COURT.)

        15                    THE COURT:    COUNSEL FOR THE GOVERNMENT, I WANT
.
.
        16      YOU TO ADVISE THE DEFENDANTS OF ALL WITNESSES YOU INTEND

        17     TO GALL TOMORROW, AND DO THAT EVERY DAY.

        18                    MR. GURULE:    YES, YOUR HONOR.
.
r
        19                    THE COURT:    AT THE CLOSE OF THE DAY.

       20                     MR. GURULE:    YES, YOUR HONOR.

        21                    C AT 4:40 P.M. AN ADJOURNMENT WAS TAKEN UNTIL

       22                     WEDNESDAY, AWGUST 10, 1988, AT 9:30 A.M.)

        23

       24             I HEREBY CERTIFY THAT THE FOREGOING IS A CORRECT
~,
        25            TRANSCRIPT ~F THE PROCEEDINGS HAD ON THE RECORD




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         1            I N THE ABOVE-ENTITLED MATTER.

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         4            ~                  •                   DATE




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